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UNITED STATE DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

KEVIN P. CHAVOUS and

DAVID A. CATANIA, individually
and in their capacity as MEMBERS of
the COUNCIL OF THE

DISTRICT OF COLUMBIA

One Judiciary Square

441 Fourth Street, N.W.

Washington, D.C. 20001

and

THE COMMITTEE OF INTERNS
AND RESIDENTS
1925 K Street, N.W. CASE NUMBER

Suite 410
bperts
Washington; Dee. a0une jupGE: Richard W. Ro
preliminary Injunction

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1:01cv00921

Plaintiffs,
DATE STAMP: 04/30/2001

V.

DISTRICT OF COLUMBIA
FINANCIAL RESPONSIBILITY

AND MANAGEMENT ASSISTANCE
AUTHORITY

serve: Alice M. Rivlin, Chair
One-Fhomas-Cirele 44] UMSt. NW,
Suite-900_ ere
Washington, D.C, 20001 For

and

GREATER SOUTHEAST COMMUNITY
HOSPITAL CORPORATION I

serve: Ana Raley, Chief Executive Officer
1310 Southern Avenue, S.E.

Washington, D.C. 20032

and

New Nee Nee Ne ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee
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THE DISTRICT OF COLUMBIA

serve: secretary to the Deputy Corporation
of the Civil Division

and the Office of the Mayor

One Judiciary Square

441 Fourth Street, N. W.

Washington, D.C. 20001,

Defendants.

Pomme? Newer” Nee Nome” Nene Nee Nee Nee” Nee Nee Nee” nee”

Complaint for Declaratory Judgment and Injunctive Relief

Plaintiffs Kevin P. Chavous (“Councilmember Chavous”) and David A. Catania
(Councilmember Catania), individually and in their capacity as members of the Council
of the District of Columbia, by counsel, bring this action seeking declaratory and
injunctive relief to redress the statutory and constitutional violations arising out of efforts
by the Defendant District of Columbia Financial Responsibility and Management
Assistance Authority to privatize D.C. General Hospital.

Jurisdiction and Venue

1. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and
the District of Columbia Financial Responsibility and Management Assistance Act of
1995, Pub.L. 104-8 (HR 1345) § 105 (codified at D.C. Code §§ 47-391.1, et seq.).

2. Venue is proper in this Court under 28 U.S.C. § 1391.

Parties
3. Plaintiffs are competent adults over the age of eighteen years.
4. Plaintiffs are citizens of the United States.

5. Plaintiffs are citizens and residents of the District of Columbia.
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6. Plaintiffs Kevin P. Chavous and David A. Catania are members of the Council
of the District of Columbia (“D.C. Council”) and bring this action in both their individual
and official capacities.

7. The Committee of Interns and Residents is a national union affiliated with the
Service Employees International Union, the largest union of health care workers in the
United States. The Committee of Interns and Residents represents interns and residents
at D.C. General Hospital.

8. Defendant District of Columbia Financial Responsibility and Management
Assistance Authority (the “Control Board”) is an entity within the government of the
District of Columbia, established in 1995 with the passage of the District of Columbia
Financial Responsibility and Management Assistance Act (the “Act”), consisting of five
members appointed by the President of the United States.

9. Defendant Greater Southeast Community Hospital Corporation I is a
Delaware corporation doing business in the District of Columbia.

10. Defendant District of Columbia is a municipal corporation with responsibility
for oversight of the agency of the District of Columbia Department of Health.

Factual Background

11. In 1973, Congress passed the District of Columbia Self-Government and
Governmental Reorganization Act (“Home Rule Act”), which granted greater rights of
self-determination to District citizens and set forth the structural framework of the
District government in the District Charter. Pub.L. 93-198, 87 Stat. 774 (Dec. 24, 1973).
The D.C. Council is the legislative branch of the District of Columbia government, and

all legislative powers of the District of Columbia government are vested in it.
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12. As part of its statutory authority under the Home Rule Act, the D.C.
Council established the District of Columbia Health and Hospitals Public Benefit
Corporation (“PBC”), codified at D.C. Code §§ 32-261.1 and 32-262.1 through 262.20, et
seq. The PBC was established as a non-profit public benefit corporation to provide
comprehensive community-centered health care for the benefit of District of Columbia
residents. The health care functions performed by the D.C. General Hospital and the
community clinics of the Commissions of Public Health of the Department of Human
Services were transferred to the PBC. D.C. Code § 32-261.1.

13. In 1995, Congress passed the District of Columbia Financial
Responsibility and Management Assistance Act of 1995, which created the Control
Board. Provisions governing the Control Board are codified at D.C. Code §§ 47-391.1, et
seq. As set forth in Section 47.392(a), the Control Board may submit recommendations to
the D.C. Council and, under subsection (b), the D.C. Council then has 90 days in which
to approve or reject those recommendations. These recommendations are sometimes
referred to as “Section 207 Recommendations” in reference to the Section number in the
Control Board’s enabling act. The Control Board’s powers, as set forth in Section 47-
392.7, include the authority to issue orders to the Mayor and departments of agencies of
the District of Columbia government, but does not authorize it to give orders to the D.C.
Council or act in the stead of the D.C. Council.

14. As part of the appropriations for the District of Columbia for the fiscal
year ending September 30, 2001, Congress allocated $90,000,000 “‘for the purpose of
restructuring the delivery of health services in the District of Columbia.” H.R. 5633,

106" Cong., 2d Sess. (2000). The appropriations act further provided that, “such
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restructuring shall be pursuant to a restructuring plan approved by the Mayor of the
District of Columbia, the [D.C. Council], the [Control Board], and the Board of Directors
of the [PBC].” Jd.

15. On November 3, 2000, Councilmembers Chavous and Catania, along with
D.C. Council member Sandy Allen, submitted a proposal to develop a comprehensive
urban healthcare campus on the grounds of D.C. General Hospital to address the health
care needs of the residents of the District of Columbia.

16. On December 4, 2000, the Control Board issued a Resolution,
Recommendations and Orders Concerning the Public Benefit Corporation (“Control
Board Resolution’’), purportedly pursuant to its authority under Section 47-391.7(a). A
copy of the Control Board Resolution is attached hereto as Exhibit A. The
“Recommendations” set out in the Control Board Resolution were as follows:

1. The Authority recommends, pursuant to Section 207 of Public
Law 104-8, that the Council, pursuant to its satutory authority
under the Home Rule Act, repeal D.C. Act 13-454, “District of
Columbia Health and Hospitals Public Benefit Corporation
Emergency Amendment Act of 2000;”

2. The Authority recommends, pursuant to Section 207 of Public
Law 104-8, that the Council, pursuant to its statutory authority
under the Home Rule Act, repeal D.C. Act 11-389, codified at
Title 32 of the D.C. Code, §§ 261.1 and 262.1 through 262.20,
et. seq.;

3. The Authority recommends, pursuant to Section 207 of Public
Law 104-8, that the Council work with the Mayor to prepare
and approve a plan to establish an alternative publicly-financed
health care delivery system in the District of Columbia that a)
is consistent with the current multi-year financial plan and
budget for the District of Columbia, b) provides for equivalent
volumes and types of services as currently provided by the
PBC to uninsured District residents, and c) ensures that the
services meet standards of quality and accessibility;
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17.

The Authority recommends, pursuant to Section 207 of Public
Law 104-8, that the Council, pursuant to its statutory authority
under the Home Rule Act, approve and/or enact legislation,
regulations, and reprogrammings, and take any and all other
actions necessary to authorize and implement an alternative
publicly-financed health care delivery system;

The Authority recommends, pursuant to Section 207 of Public
Law 104-8, that the Council, pursuant to its statutory authority
under the Home Rule Act, act to approve the restructuring plan
required by Public Law 106-522, which plan is to be submitted
to by the Mayor to the Committees on Government Reform of
the House of Representatives, the Committee on Governmental
Affairs of the Senate, and the Committees on Appropriations of
the House of Representatives and the Senate; and,

All of the above Recommendations must be enacted by the
Council and approved by the Mayor within 90 calendar days of
the adoption of these Recommendations and Orders by the
Authority.

If the Council and the Mayor fail to adopt these
Recommendations, pursuant to Section 207 of Public Law 104-
8, the Authority will enact and implement them in accordance
with the provisions of Section 207 after consultation with the
appropriate Committees of Congress.

The Control Board Resolution was distributed to the Members of the D.C.

Council on December 6, 2000.

18.

On December 15, 2000, a Request for Proposal (“RFP”) was issued by the

Control Board seeking to “obtain the services of one qualified health care provider or

team of qualified health care providers to provide comprehensive, integrated and

coordinated health care services to the uninsured population of the District of Columbia”.

A copy of the RFP is attached hereto as Exhibit B. The stated closing date for response to

the RFP was January 10, 2001, but was later extended.
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19. The RFP included an “Anticipated Proposal Schedule” setting forth dates
for the events that were to take place prior to the implementation of the selected contract.
Those events, as listed in the RFP, included submission of the contract to both the Mayor
and the D.C. Council for review prior to the contract being finalized.

20. On January 30, 2001 Greater Southeast Community Hospital Corporation
I (“Greater Southeast”) presented its proposal to the Control Board. A second proposal
was submitted by Urban Healthcare Associates, LLC on February 5, 2001. The
committee designated to assist with the RFP process recommended the acceptance of the
proposal submitted by Greater Southeast.

21. Once Greater Southeast was recommended, the Control Board moved
forward in negotiating a contract with Greater Southeast, refusing to allow the Council or
its representatives to participate any further in the contracting process. It was not until
last week that the D.C. Council was even made aware of the terms of the contract.

22. On March 6, 2001, the D.C. Council unanimously adopted Resolution 14-
55, titled the “Sense of the Council on the District of Columbia Health and Hospitals
Public Benefit Corporation and D.C. General Hospital Emergency Resolution of 2001.”
A copy of Resolution 14-55 is attached as Exhibit C. In that Resolution, the D.C.
Council expressed its many concerns regarding the proposal submitted by Greater
Southeast and the impact that a contract arising out of that proposal would have on the
health care services in the District of Columbia.

23. On April 12, 2001, the D.C. Council approved a Fiscal Year 2001
supplemental Appropriation Act which, inter alia, provided $21 million in additional

funding in order to fund the PBC through the end of the fiscal year.
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24. Greater Southeast submitted a written contract to the Control Board on
April 12, 2001. A copy of the contract was transmitted to Mayor Williams on April 13,
2001. A copy of the transmittal letter to Mayor Williams is attached as Exhibit D.

25. Alice Rivlin, Chairman of the Control Board, wrote to Mayor Williams on
April 18, 2001, regarding the contract submitted by Greater Southeast. In that letter, Ms.
Rivlin stated that “it is essential that this proposed contract and the enabling legislation
are approved before May 1, 2001.” A copy of that letter is attached as Exhibit E.

26. Mayor Williams provided a copy of the contract submitted by Greater
Southeast to the D.C. Council on April 23, 2001. On that same date, Mayor Williams
submitted to Linda Cropp, Chairman of the D.C. Council, proposed legislation entitled
the “Health Care Privatization Emergency Amendment Act of 2001” providing for, inter
alia, the abolishment of the PBC and providing the Mayor with the authority to contract
for the delivery of medical services to the District of Columbia’s uninsured residents. A
copy of that submission is attached as Exhibit F.

27. The D.C. Council rejected the contract submitted by Greater Southeast by
unanimous vote on April 27, 2001.

28. Upon information and belief, the Control Board ignored the Council’s
vote that the contract be rejected and executed the contract with Greater Southeast on
April 30, 2001.

29. The effective date of the contract is May 1, 2001, at which time Greater
Southeast will immediately begin the privatization of public health in the District of

Columbia.
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Count One
The Control Board Unlawfully Exceeded the

Scope of its Statutory Authority

30. Paragraphs 1 through 29 are incorporated by reference.

31. The Control Board violated Section 47-392.7(a) in issuing the Control Board
Resolution.

32. While Section 47-392.7(a) gives the Control Board the authority to submit
recommendations to the D.C. Council, it does not allow the Control Board to issue orders
to the D.C. Council. While titled “Recommendations,” the Control Board Resolution
actually contained orders to the D.C. Council to perform certain specific actions,
including repeal of existing legislation, while also ordering the D.C. Council, in a very
broad and non-specific directive, to prepare and approve an as yet undetermined plan for
an alternative publicly financed health care delivery system.

33. Section 47-392.7 provides that the D.C. Council shall have 90 days in which
to adopt or reject the recommendations of the Control Board.

34. The Control Board Resolution, however, in paragraph (6) of the
“Recommendations,” stated that all of the recommendations “must be enacted by the
Council and approved by the Mayor within 90 calendar days of the adoption of these
Recommendations and Orders by the Authority.” In paragraph (7) of the
Recommendations, the Control Board further states that, if the D.C. Council and the
Mayor fail to act as directed by the Control Board, the Control Board would “enact and
implement” the recommendations.

35. The Control Board does not have the statutory authority to order the D.C.
Council to enact or repeal legislation, nor does it have the authority to enact or repeal

legislation by itself. As such, the Control Board exceeded its statutory authority,
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violating Section 47-392.7, in issuing the Control Board Resolution. The Control Board
Resolution, therefore, must be declared null and void ab initio and any actions the
Control Board purports to taken pursuant to it enjoined.

36. Further, the Control Board lacks the statutory authority to enter into this
contract without the approval of the D.C. Council. Congress amended the Home Rule
Act in 1995 to require that any contract involving expenditures in excess of $1,000,000
during a 12-month period be submitted to the D.C. Council by the Mayor and approved
by the D.C. Council. Pub.L. 104-8 (HR 1345) § 304(a)(3)(codified at D.C. Code § 1-
1130). The Control Board lacks the statutory authority to enter into a multi-year, $85
million contract such as that proposed by Greater Southeast. Not only has the D.C.
Council not approved the contract submitted by Greater Southeast, the D.C. Council
unanimously rejected the contract when the Mayor submitted it to them.

37. The Control Board lacks any statutory authority for entering into or
implementing the contract submitted by Greater Southeast. Any attempts by the Control
Board to enter into or implement the contract exceed its statutory authority. As such, the
Control Board must be enjoined from doing so.

38. As conceded by the Control Board, in the April 23, 2001, letter from
Chairman Alice Rivlin to Mayor Williams, legislation to, inter alia, repeal the PBC and
reorganize the Department of Health would have to be enacted by the D.C. Council prior
to the implementation of the Greater Southeast contract.

39. Any attempt by the Control Board to enact the legislation necessary for the
implementation of the Greater Southeast contract would exceed the Control Board’s

statutory authority. As such, the Control Board must be enjoined from doing so.
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40. Permitting the Control Board to enter into and implement the contract with
Greater Southeast would result in immediate and substantial harm. If Greater Southeast
begins the privatization of D.C. General as contemplated in its contract, irreparable harm
will begin immediately. Councilmembers Chavous and Catania will have their statutory
right to approve or reject the contract ignored. The constituents of Councilmembers
Chavous and Catania will suffer the loss of available and affordable medical care.

41. Permitting the Control Board to enter into and implement the contract with
Greater Southeast would also result in irreparable harm to the resident physician
members of the Committee of Interns and Residents currently practicing at D.C. General.
The privatization of D.C. General, as contemplated in the Greater Southeast contract will
interrupt the three year contract currently in place between the District of Columbia and
the members of the Committee of Interns and Residents, interrupting and potentially
discontinuing the interns’ and residents’ graduate medical education. D.C. General
operates the only publicly funded graduate medical program within the District of
Columbia. The contract with Greater Southeast will terminate publicly funded support of
medical education in the areas of general dentistry, surgery, pediatrics, and subspecialties
such as cardiology, neurology and gastrointerology. The patient population currently
served by these interns and residents will suffer irreparable harm if these programs are
discontinued.

Count Two

The Actions of the Control Board
Are Unconstitutional

42. Paragraphs 1 through 41 are incorporated by reference.
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43. Councilmembers Chavous and Catania have a constitutionally protected right
to cast unimpeded votes on issues of public importance. Brewer v. D.C. Financial
Responsibility and Mgt. Assistance Auth., 953 F. Supp. 406, 408 (D.D.C.), aff’d., 132
F.3d 1480 (D.C. Cir. 1997). The quality and availability of health care services to the
citizens of the District of Columbia is clearly such an issue.

44. The Control Board, through its Control Board Resolution and in its attempts
to enter into and implement the contract with Greater Southeast, has violated the
constitutionally protected rights of the Plaintiffs.

45. The actions of the Control Board, made up of Executive Branch appointees, in
abrogating the rights and duties of the D.C. Council, a legislative body, violate the
Separation of Powers required under the Constitution.

46. Because the actions taken and intended by the Control Board are
unconstitutional, the Control Board Resolution must be declared null and void ab initio
and the Defendants must be enjoined from entering into and implementing the Greater
Southeast contract.

Count Three
Defendants Greater Southeast and The District of Columbia

Must be Enjoined from Acting to Enter into or Implement
The Greater Southeast Contract

47. Paragraphs 1 through 46 are incorporated by reference.

48. For the reasons stated above, the Greater Southeast contract is unlawful and
must not be implemented. As such, Greater Southeast and the District of Columbia,
acting by and through the District of Columbia Department of Health, must be enjoined

from acting in furtherance of that contract.
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Relief Sought

WHEREFORE, for the reasons stated above, Plaintiffs respectfully demand

judgment and relief as follows:

(1) that the Court enter judgment declaring that the actions of the Control Board
entering into the Privatization Agreement and enacting the enabling
legislation were ultra vires and violated the constitutional rights of
Councilmembers Catania and Chavous, making the contract illegal and,
therefore, void;

(2) that the Court issue a temporary restraining order and preliminary injunction
precluding the Defendants from taking any action to implement the contract
with Greater Southeast;

(3) that the Court award Plaintiffs all costs and reasonable attorneys’ fees and
expenses arising from this action; and

(4) that the Court award Plaintiffs such other and further relief, as appropriate.

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Dated: // / By: iy eA

Elizabeth B. Sandza, Esq, "an Bar #415283)
John M. Collins, Esq. (D.C. Bar #440356)
David M. Ross (D.C. Bar #461733)
LeBoeuf, Lamb, Greene & MacRae, LLP
1875 Connecticut Avenue, NW

Washington, DC 20009-5728

(202) 986-8000

Counsel for Plaintiffs

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EXHIBITS
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COUNCIL OF THE DISTRICT OF COLUMBIA
441 4th Street, N.W.
Washington, D.C. 20001

MEMORANDUM URGENT

To:

From:

Date:

Subject:

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Members of the Council vie L
é ‘A5
Phyllis Jones, Secretary to the C oo feb A M2
December 6, 2000 OFFICE Oy
Vide, GERES

Section 207, Resolution, Orders and Recommendations on the Public Benefit
Corporation, (Sec. 207, 13-1)

Notice is given that the attached Resolution, Orders and Recommendations on
the Public Benefit Corporation from the Authority was received in the Office of
the Secretary on December 5, 2000. Copies are available in Room 714, the
Legislative Services Division.

TITLE: "Resolution, Orders and Recommendations on the Public Benefit
Corporation", (Sec. 207, 13-1)

INTRODUCED BY: Chairman Cropp

Retained by the-Council with comments from the Committee on Human Services.

ce: General Counsel
Legislative Services Division

“VT

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District of Columbia Financial Responsibility
and Management Assistance Authorit

) Washington, D.C. Recen ie
December 5, 2000 00 PEN -S PIN. :42

By Hand Delive

The Honorable Linda Cropp Of mc:
Chairperson

Council of the District of Columbia

One Judiciary Square

441 — 4" Street, N.W., 7" Floor

Washington, D.C. 20001

The Honorable Anthony Williams
Mayor, District of Columbia

One Judiciary Square

441 — 4" Street, N.W., 11" Floor
Washington, D.C. 20001

Re: Resolution, Recommendations and Orders
on the Public Benefit Corporation

» Dear Chairperson Cropp and Mayor Williams:

This letter is to transmit the enclosed Resolution, Recommendations and Orders
concerning the D.C. Health and Hospitals Public Benefit Corporation.

Please note that the District of Columbia Financial Responsibility and
Management Assistance Authority transmits the Resolution, Recommendations and
Orders to the Mayor and Council of the District of Columbia pursuant to its authority
under Section 207 of Public Law 104-8, as amended. Specifically, the document contains
Recommendations to the Council pursuant to Section 207(a) - (c) and Orders to the
Mayor, the Director of the D.C. Department of Health and the Chief Financial Officer of
the District of Columbia pursuant to Section 207(d).

If you have any questions, please feel free to contact me at (202) 504-3400.

A GEE uM

rancis S. Smith
Cc: John Koskinen, CA “Executive Director

} Dr. Natwar Gandhi, CFO

441 4th Street, NW, © Room 570 * Washington, DC 20001 * (202) 504-3400
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District of Columbia Financial Responsibility
and Management Assistance Authority
Washington, D.C.

(“AUTHORITY”)

RESOLUTION, RECOMMENDATIONS
AND ORDERS CONCERNING -
THE PUBLIC BENEFIT CORPORATION

WHEREAS, the mission of the District of Columbia Health and Hospitals Public
Benefit Corporation (the “PBC”), including D.C. General Hospital (D.C. General”), is to
provide comprehensive community-centered health care to residents of the District of
Columbia;

WHEREAS, the PBC and D.C. General are operating in a manner inconsistent
with the multiyear financial plan and budget of the District of Columbia in that the PBC
and DC General are generating, and are projected to continue to generate, operating
deficits in excess of $64 million in Fiscal Year (“FY”) 2001,

WHEREAS, the Chief Financial Officer of the District of Columbia (the “CFO”)
found that:

“At its current rate of spending, PBC will exhaust its $45.3 million FY
2001 subsidy by the middle of March 2001. If money is set aside to
maintain PBC’s clinics throughout the fiscal year, D.C. General Hospital
will be forced to close even sooner, perhaps by as early as two months
from today. In either case, [the CFO] will be unable to redirect funds from
any source to continue PBC operations unless a plan to restructure PBC is
approved by Congress.” (The CFO’s Nov. 14, 2000 Memorandum
attached as Exhibit A);

WHEREAS, the CFO also projects that the PBC is currently deficit spending in
excess of $6 million per month over its authorized appropriation and at this rate of
spending will require in excess of $64 million in FY 2001 and in subsequent years may
well require subsidies in excess of its legally appropriated funding level;

WHEREAS, there is now agreement by all concerned parties that the continued
expenditure of funds at this rate by the PBC and D.C. General will necessitate the closure
of the PBC and D.C. General and loss of the health care services provided by them to the
residents of the District of Columbia;

WHEREAS, a delay in addressing these spending pressures could affect the
ability of the District government to adhere to the overall FY 2001 District of Columbia
Budget and Financial Plan;

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| ) WHEREAS, the District of Columbia Appropriations Act, 2001, Pub. L. 106-522
requires:

“That no appropriated amounts and no amounts from or guaranteed by the
District of Columbia government (including the District of Columbia
Financial Responsibility and Management Assistance Authority) may be
made available to tha.'PBC] (through reprogramming, transfers, loans, or
any other mechanism) which are not otherwise provided for under this
heading until a restructuring plan for D.C. General Hospital has been
approved by the Mayor of the District of Columbia, the Council of the
District of Columbia, the Authority, the Chief Financial Officer of the
District of Columbia, and the Chair of the Board of Directors of the [PBC]
....” (Pub. L. 106-522, H.R. 5633, 106" Cong., 2° Sess., pg. 17 (Nov. 22,
2000)).

WHEREAS, the District of Columbia Appropriations Act, 2001, Pub. L. 106-522
further requires:

“That notwithstanding any other provision of law, to augment the District
of Columbia subsidy for the District of Columbia Health and Hospitals
Public Benefit Corporation (PBC), the District may transfer from other
A) non-Federal funds appropriated under this Act to the Human Support
Services appropriation under this Act an amount not to exceed
$90,000,000 for the purpose of restructuring the delivery of health services
in the District: Provided further, That such restructuring shall be pursuant
to a restructuring plan approved by the Mayor, the Council, the Authority,
and the Board of Directors of the PBC: Provided further, That— ,

(1) the restructuring plan reduces personnel levels of D.C. General
Hospital and of the PBC consistent with the reduction in force set forth in
the August 25, 2000, resolution of the Board of Directors of the PBC
_ regarding personnel structure, by reducing personnel by at least 500 full-
time equivalent employees, without replacement by contract personnel;

(2) no transferred funds are expended until 10 calendar days after the
restructuring plan has received final approval and a copy evidencing final
approval has been submitted by the Mayor to the Committee on
Government Reform of the House of Representatives, the Committee on
Governmental Affairs of the Senate, and the Committees on
Appropriations of the House of Representatives and the Senate; and

(3) the plan includes a certification that the plan does not request and does

not rely upon any current or future request for additional appropriation of

Federal funds.” (Pub. L. 106-522, H.R. 5633, 106" Cong., 2° Sess., pg. 13
) (Nov. 22, 2000)).
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WHEREAS, the Mayor of the District of Columbia (the “Mayor”’), the Council of
the District of Columbia (the “‘Council”), and the Authority (collectively referred to as the
“Parties”) are jointly and diligently working to restructure and privatize certain services
currently provided by the PBC and D.C. General by March 1, 2001, just in advance of the
deadline for the exhaustion of the PBC’s subsidy identified by the CFO;

WHEREAS, the process leading up to the restructuring and privatization of
health care celivery hy the PBC and D.C. General Hospital involves a complex contract
bidding procedure which could easily be delayed past the subsidy exhaustion deadline
identified by the CFO;

WHEREAS, the Authority anticipates that such a delay is possible, even likely,
and deems it prudent to plan to act immediately to assure the uninterrupted delivery of
health care services in the interim, while allowing the restructuring and privatization
process to continue; and,

WHEREAS, in order to be able to act to assure the uninterrupted delivery of
health care services in conformity with Federal and District law, including the FY 2001
D.C. Appropriations Act, the federal Anti-deficiency Act, and federal appropriations law,
the Authority must act now to preserve its options in the event that the PBC restructuring
and privatization process is not successfully completed prior to the exhaustion of the
PBC’s subsidy.

NOW, THEREFORE BE IT RESOLVED THAT:

RECOMMENDATIONS

1. The Authority recommends, pursuant to Section 207 of Public Law 104-8,
that the Council, pursuant to its statutory authority under the Home Rule Act, repeal D.C.
Act 13-454, “District of Columbia Health and Hospitals Public Benefit Corporation
Emergency Amendment Act of 2000” (attached hereto as Exhibit B);

2. The Authority recommends, pursuant to Section 207 of Public Law 104-8, that
the Council, pursuant to its statutory authority under the Home Rule Act, repeal D. C. Act
11-389, codified at Title 32 of the D.C. Code, §§ 261.1 and 262.1 through 262.20, et.

seq.;

3. The Authority recommends, pursuant to Section 207 of Public Law 104-8, that
the Council work with the Mayor to prepare and approve a plan to establish an alternative
publicly-financed health care delivery system in the District of Columbia that a) is
consistent with the current multi-year financial plan and budget for the District of
Columbia, b) provides for equivalent volumes and types of services as currently provided
by the PBC to uninsured District residents, and c) ensures that the services meet
standards of quality and accessibility,

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4. The Authority recommends, pursuant to Section 207 of Public Law 104-8,
that the Council, pursuant to its statutory authority under the Home Rule Act, approve
and/or enact legislation, regulations, and reprogrammings, and take any and all other
actions necessary to authorize and implement an alternative publicly-financed health care
delivery system;

5. The Authority recommends, pursuant to Section 207 of Public Law 104-8,
that the Council, pursuant to its statutory authority under the Home Rule Act, act to
approve the restructuring plan required by Public Law 106-522, which plan is to be
submitted to by the Mayor to the Committees on Government Reform of the House of
Representatives, the Committee on Governmental Affairs of the Senate, and the
Committees on Appropriations of the House of Representatives and the Senate; and,

6. All of the above Recommendations must be enacted by the Council and
approved by the Mayor within 90 calendar days of the adoption of these
Recommendations and Orders by the Authority.

7. If the Council and the Mayor fail to adopt these Recommendations,
pursuant to Section 207 of Public Law 104-8, the Authority will enact and implement
them in accordance with the provisions of Section 207 after consultation with the
appropriate Committees of Congress.

ORDERS

It is further ORDERED, that, during the pendency of these Recommendations
before the Council and the Mayor and until further Order of the Authority, the Authority:

l. Directs the Mayor to, exercising authority under Title 1, Chapter 2 of the
District of Columbia Code,- immediately prepare and submit a Reorganization Order to
the Council by December 19, 2000, establishing an alternative publicly-financed health
care delivery system in the District of Columbia consistent with the Recommendations
issued hereunder and is a) consistent with the current multi-year financial plan and
budget for the District of Columbia, b) provides for equivalent volumes and types of
services currently provided by the PBC to uninsured District residents, and c) ensures that
the services meet standards of quality and accessibility;

mn Directs the Mayor and the PBC to eliminate 500 full-time equivalent
employees (“FTEs”) in accordance with the FY 2001 D.C. Appropmiations Act, P.L. 106-
522, and identify those health care services to be reduced and those to be eliminated to
achieve the 500 FTE reduction (with supporting utilization data for the services to be
reduced or eliminated and for the services to be retained). The Mayor and the PBC must:
a) submit to the Authority by December 19, 2000, the 500 FTE positions identified for
elimination, b) begin implementation of the personnel reductions and elimination of
services by January 19, 2001, and c) complete implementation of the elimination of 500
FTE and reduction and elimination of services previously identified, by January 31, 2001;
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3. Directs the PBC to comply with all appropriation law requirements and be
vigilant in not violating the strictures of the Anti-deficiency Act, 31 U.S.C. 1341, et. seq.;

4. Directs the Mayor to authorize and approve contracts, personnel actions,
expenditures, regulations, and reprogramming of funds, and take any and all other actions
necessary to implement an alternative publicly-financed health care delivery system,
including establishing by the dates identified in Order No. 2 above, a mechanism’ to
secure services currently provided by the PBC and implementing changes that may be
required with regard to emergency medical services and transportation.

5. Directs the CFO to identify to the Authority, the Mayor and the Council,
by December 19, 2000, the funding resources and available sources needed to implement
these Recommendations and Orders and the cost of the contracts necessitated by the final
restructuring and privatization process, consistent with the FY 2001 D.C. Appropriations
Act, P.L. 106-522.

Adopted this 4" day of December, 2000.

COS. Ih RAs

Alice M. Rivlin .
Chair

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EXHIBIT
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Nactwar M. Gandhi ak x * 2
Chief Financial Officer aaa A 30 S7
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MEMORANDUM >. =
TO: The Honorable Anthony A. Williams

GOVERNMENT OF THE DISTRICT OF COLUMBIA
Office of the Chief Financial Officer

Mayor
District of Columbia

The Honorable Linda W. Cropp
Chairman
Council of the District of Columbia

Dr. Alice M. Rivlin

Chairman

District of Columbia Financial Responsibility
and Management Assistance Authority

Julius W. Hobson, Jr.
Chairman
Public Benefit Corporation

Natwar
Chief Fin

- November 14, 2000

Urgent Need for Action in Regard to PBC

At our November 3, 2000-retreat I expressed my concern that unless decisive action is
taken soon, the Public Benefit Corporation (PBC) will run out of cash. It is with the
greatest urgency that I write to you now to reiterate that concern about the need for

prompt action.

At its current rate of spending, PBC will exhaust its $45.3 million FY 2001 subsidy by
the middle of March 2001. If money is set aside to maintain PBC’s clinics throughout
the fiscal year, D.C. General Hospital will be forced to close even sooner, perhaps by as
early as two months from today. In either case, I will be unable to redirect funds from
any source to continue PBC operations unless a plan to restructure PBC is approved by

Congress.

441 4th Street, N.W,, Suite 1150N, Washington, D.C. 20001 202/727-2476 = www.decfo.com
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Urgent Need for Action in Regard to PBC
November 14, 2000
Page 2

Because as many as 60 days would be needed to make alternative care arrangements for
patients who would be affected if the hospital shuts its doors, a decision or4ow to
proceed must be made immediately. Unfortunately, our options are limited. Fiscal
constraints imposed by Congress are complicated by the need to act during the post-
election recess period.

Under the FY 2001 appropriations act, Congress imposed conditions on any inter-
appropriation transfer of funds to PBC. These conditions require the District to have an
agreed upon restructuring plan for PBC that eliminates, at a minimum, 500 full time
equivalent positions at PBC; does not contemplate any additional expenditure of federal
funds; and provides Congress with 10 days prior notice of any inter-appropriation transfer
of funds.

No such plan has yet been formulated. Congress is expected to be in recess until
December 5, 2000. It is anticipated that Congress will adjourn again shortly thereafter
until late January or early February 2001, past the point at which PBC’s cash would be
exhausted. It is therefore imperative that any plan to restructure PBC be in place
for Congress to consider upon its return from recess on December 5.

I also believe it would be prudent to formulate a contingency plan for closure of D.C.
General Hospital in the event a plan to restructure PBC cannot be agreed upon in a timely
manner.

In conclusion, decisive action must be taken now to ensure adequate, continued delivery
of public health care services in the District.
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EXHIBIT
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Y) ENROLLED ORIGINAL
AN ACT cei
D.C. ACT 13-454 Colombia
we 2001 Supp.

IN THE COUNCIL OF THE DISTRICT OF COLUMBIA

To amend, on an emergency basis, the Health and Hospitals Public Benefit Corporation Act of
1996 to ensure that changes that would eliminate or decrease the services formally
provided by the District of Columbia General Hospital and the components of the
Commission on Public Health at the time of the transfer of management and control of
the hospital and those components to the District of Columbia Health and Hospitals
Public Benefit Corporation be submitted to the Council for a 45-day period of review;
and to amend An Act Making appropriations for the government of the District of
Columbia and other activities chargeable in whole or in part against the revenues of such

© District for the fiscal year ending June 30, 1938, and for other purposes to repeal a
provision that gives the Mayor supervision of the D.C. General Hospital to resolve a
potential conflict in statutory authority.

BE IT ENACTED BY THE COUNCIL OF THE DISTRICT OF COLUMBIA, That this
act may be cited as the "District of Columbia Health and Hospitals Public Benefit Corporation
Emergency Amendment Act of 2000".

Sec, 2. The Health and Hospitals Public Benefit Corporation Act of 1996 is amended by
adding a new section 207a to read as follows:

"Sec. 207a. Council approval.

" Notwithstanding any other law, any proposed action by the Public Benefit Corporation
to (1) transition D.C. General Hospital from a full-service, acute-care hospital to a community-
access hospital; or (2) remove or terminate the operation of the Level-1 trauma center currently
located at D.C. General Hospital, shal] be submitted to the Council for a 45-day period of
review, excluding Saturdays, Sundays, legal holidays, and days of Council recess. If the Council
does not approve or disapprove the proposed action, in whole or in part, by resolution within
this 45-day review period, the proposed action shall be deemed approved.".

Sec. 3. Section 1 of An Act Making appropriations for the government of the District of
ry Columbia and other activities chargeable in whole or in part against the revenues of such District

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ENROLLED ORIGINAL

for the fiscal year ending June 30, 1938, and for other purposes is amended by striking the
paragraph that states the following:

"For the following hospital and sanatoria, which, on or after July 1, 1937, shall be under
the directiun and control of the Health Department of the District of Columbia and subject to the
supervision of the Board of Commissioners:".

Sec. 4. Fiscal impact statement.

This act shall have no fiscal impact because it is only a technical amendment clarifying the
existing law.

Sec. 5. Effective date.

This act shall take effect following approval by the Mayor (or in the event of veto by the
Mayor, action by the Council to override the veto) and approval by the Financial Responsibility
and Management Assistance Authority as provided in section 203(a) of the District of Columbia
Financial Responsibility and Management Assistance Act of 1995, approved April 17, 1995 (109
Stat. 116; D.C. Code § 47-392.3(a)), and shall remain in effect for no longer than 90 days, as
provided for emergency acts of the Council of the District of Columbia in section 412(a) of the

District of Columbia Home Rule Act, approved December 24, 1973 (87 Stat. 788; D.C. Code §
1-229(a)).

Council of the District of Columbia

Cur. G. WU
Mayor ‘
District of Columbia

APPROVED: October 24, 2000

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December 15, 2000

Dear Prospective Bidder:

The Mayor, the Council of the District of Columbia, the District of Columbia
Financial Responsibility and Management Assistance Authority (“Authority”), and the
Board of Directors of the Health and Hospital Public Benefit Corporation (“PBC”) are
working together to ensure that the Government of the District of Columbia provides
quality health care services to low income and uninsured residents served by the PBC.

In order to achieve this goal, the Government of the District of Columbia is
inviting and encouraging the broadest participation in a request for proposal process by
qualified providers to assist us in providing accessible and high quality care. The
attached Request for Proposal No. DCFRA 00-R-039 (“RFP”) is intended to obtain
through a competitive process a qualified provider or team of providers to deliver
comprehensive, integrated and coordinated health care services to low income and
uninsured District residents.

We are committed to constructing a relationship with a private provider that is
based upon mutual accountability, adherence to sound business practices, and an
unwavering commitment to high quality health care services for District residents.

Additional information regarding the RFP is enclosed, including directions for
obtaining responses to any questions you may have about this process. We welcome
your consideration.

Sincerely,
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Kon Tp. ve CLI L A SME
Alice M. Rivlin, Chair tida W. Cropp, Chairman + ”

The District of Columbia Financial Council of the District of Columbia
Responsibility and Management
Assistance Authority

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Anthony A. Williams, Mayor Thus Hobson, Jr., Chairrhyn
District of Columbia District of Columbia Health
and Hospitals
Public Benefit Corporation

Enclosure
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District of Columbia Financial Responsibility
and Management Assistance Authority

Washington, D.C.
ISSUANCE DATE: DECEMBER 15, 2000
CLOSING DATE: JANUARY 10, 2000

SUBJECT: REQUEST FOR PROPOSAL NO. DCFRA 00-R-039 FOR
COMPREHENSIVE, INTEGRATED AND COORDINATED HEALTH CARE

SERVICES FOR THE UNINSURED POPULATION OF THE DISTRICT OF
COLUMBIA

TO WHOM IT MAY CONCERN:

The District of Columbia Financial Responsibility and Management Assistance Authority
(“Authority”) is seeking proposals from qualified healthcare providers (“Offerors”’) in response
to Request for Proposal No. DCFRA 00-R-039 to obtain the services of one qualified health care
provider or team of qualified health care providers (“Contractors ””) to provide comprehensive,
integrated and coordinated health care services to the uninsured population of the District of
Columbia. The selected Contractor will be required to provide primary healthcare, specialty

healthcare, inpatient services, emergency/urgent care and public school healthcare. In addition,
the selected Contractor must demonstrate that it can:

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Provide an integrated health care delivery system;

Supply an appropriate number and mix of health care facilities, professionals and other
personnel;

Deliver health care services in geographic locations that are reasonably accessible to the

uninsured population and/or make other arrangements that will ensure timely access to
needed services;

Meet appropmiate licensure, certification and/or national accreditation standards;
Demonstrate an effective and appropnate quality assurance/improvement program;
Deliver services in a high quality, cost-effective manner;

Demonstrate excellent customer services/patient services capabilities including

appropriate mechanisms for measuring and raising patient satisfaction and for identifying
and resolving patient complaints and grievances;

Demonstrate experience in providing health care services effectively to low income
populations with diverse cultural backgrounds;

Establish linkages between uninsured persons and primary care providers to the
maximum extent possible with the aim of preventing illness, improving health status and
ensuring the timely delivery of appropriate health care services

Assist the Department of Health in enrolling eligible persons in Medicaid, Medicare,
CHIP or other programs that offer health care coverage;

441 4th Street, NW. © Room 570 ° Washington. DC 20001 © (202. 504-3400
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@ Supply the Authority with timely, accurate and sufficiently detailed data, reports and
analyses regarding uninsured patients and the health care services they receive; and data
regarding patient identities, demographic characteristics, place of residence, costs,
utilization and other information in computer readable files and

@ Build the capacity to enroll uninsured persons in a prepaid, high quality, integrated
delivery system that will link individuals into a primary care system that emphasizes
prevention, meets routine care needs and coordinates with a supportive network of
emergency, specialty and hospital resources.

This Request for Proposal (“RFP”) consists of this cover letter and pages.3 through pages 60.

This RFP does not obligate the Authority to award a contract. The Authority will not pay any
cost incurred by any Offeror in the preparation and submission of a proposal pursuant to this
RFP. The Closing Date for submission of a proposal in response to this RFP is 01/16/2001.

Your firm is invited to submit a proposal for the above work, including the fees you propose for
the specified health care services and for related administrative services. If your firm submits a
proposal, it must immediately inform the Authority if you discover a conflict of interest that
might preclude you from undertaking this project.

All Offerors who have contacted the Authority to request the RFP will be mailed a solicitation
package via U.S. mail on or about the issuance date. Other Offerors who contact the Authority
to request the RFP after the issuance date will be mailed a solicitation package via U.S. Mail
within two (2) business days of request.

For a proposal to be responsive, an Offeror must submit an original and twenty (20) copies of
each proposal. In addition to submitting paper copies, Offerors should submit the proposal on a
diskette in Microsoft Office or compatible applications. The proposal must be received no later
than 2:00 P.M. (Eastern Standard Time), on the Closing Date indicated above. The proposal
(and any modifications thereto) must be submitted in a sealed envelope marked with the name

and address of the Offeror marked “Proposal in Response to Solicitation No. DCFRA 00-R-
039” and addressed to:

District of Columbia Financial Responsibility and
Management Assistance Authority

441 Fourth Street, NW Suite 570N

Washington, DC 20001

Attn: Alex Peacock, Senior Procurement Manager

The Authority will hold a pre-bid conference on 12/20/2000. Your organization is limited to no
more than two participants at the pre-bid conference. In order to reserve a spot to attend, you
must submit a letter with the names of the persons who will be attending from your organization.
The letter must be faxed to the attention of Mr. Alex Peacock at (202) 504-3431 no later than
12:00 noon on 12/19/2000. The pre-bid conference will be held as follows:
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Date: December 20, 2000
Time: 10:00 AM
Location: District of Columbia Government

441 4" Street, N.W.
Conference Room, 1030S
Washington, D. C. 20001

In addition, the Authority will provide a tour of one or more of the existing District health care
facilities that are currently used to provide health care to the District’s uninsured population.

This facilities tour will be held on 12/21/2000 beginning at 10:00 a.m. and starting at the
following location

D.C. General Hospital

1900 Mass. Ave. S.E.
Washington, D.C. 20001

Any questions regarding this RFP must be directed in writing to Mr. Alex Peacock by not later

than 12:00 noon on 12/22/2000, at the Authority address listed above or by facsimile at (202)
504-3431.

Sincerely,

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Contracting Officer
Filed 04/30/01 Page 340f224 as

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SECTION I. INFORMATION AND INSTRUCTIONS
CONCERNING RFP NO. DCFRA 00-R-039

1. INSTRUCTIONS TO OFFERORS

Offerors must follow the instructions contained herein and must supply all information as
required. Failure to comply with these instructions may serve to disqualify a proposal.

Offerors must set forth full, truthful, and complete information required by this RFP (including

any Appendices). Making false statements in proposals is punishable by criminal penalties as
provided in 22 D.C. Code 22-2514.

2. ACCEPTANCE PERIOD

The Authority reserves the right to reject any proposal as non-responsive if it offers less than one

hundred and eighty days (180) for acceptance (less than a 180-day validity period) by the
Authority.

3. EXPLANATIONS TO PROSPECTIVE OFFERORS

Any prospective Offeror desiring any explanation or interpretation of this RFP must make its

request in writing directed to Mr. Alex Peacock, Senior Procurement Manager, at the following
address:

District of Columbia Financial Responsibility and
Management Assistance Authonty

441 Fourth Street, NW Suite 570N

Washington, D.C. 20001

Telephone: (202) 504-3400

FAX: (202) 504-3431

Any information given to a prospective Offeror concerning this RFP will be furnished to all
other prospective Offerors as an amendment to the RFP if in the Authority’s judgement, that
information is necessary in submitting offers or if the lack of that information would be
prejudicial to any other prospective Offerors. Oral explanations and/or instructions given by
persons other than as indicated herein will not be binding on the Authonty.

4, EXAMINATION OF RFP

Offerors are expected to examine this RFP and all instructions and appendices to this RFP.
Failure to do so will be at the Offeror's risk.
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5. PROPOSAL IDENTIFICATION

The original and twenty (20) copies of a proposal must be submitted in a sealed envelope
conspicuously marked "Proposal in Response to Solicitation No. DCFRA 00-R-039". The
technical proposal must be bound separately from the cost proposal and each must be properly
_ marked to identify the RFP number and the subject of the solicitation. Faxed proposals will not
be accepted and will be disqualified.

6. SUBMISSION OF PROPOSALS

To be considered, proposals must be received at the Authority no later than 2:00 PM on

01/16/2001. Offerors mailing proposals should allow sufficient time to guarantee timely receipt
of their proposals.

Proposals must be delivered to the DCFRA offices. Receipt by or delivery to the Auhority’s
office building will not be sufficient to meet the deadline. Proposals received after the
submission deadline will be disqualified and not reviewed or accepted. Disqualified proposals
will not be returned to the Offeror.

Each individual Offeror or consortium of Offerors shall submit only one proposal in which an
Offeror is identified as the Prime Contractor. If an Offeror submits more than one response, the
Authority will evaluate only the first proposal received. A proposal submitted by a consortium
of Offerors must identify one party as the prime contractor and all other parties as
subcontractors. The Authority will conduct business only through the prime contractor. Nothing
herein precludes an individual Offeror from membership in multiple consortia.

To be considered responsive, Offerors must submit a complete response to the RFP using the
format specified in Section III of this RFP. There are two (2) components to a complete
proposal—the technical proposal and the cost proposal. Offerors may include appendices to
each of these components if the total submission including appendices does not exceed 125
pages. Twenty (20) copies of the technical and cost proposal must be submitted in sealed
envelopes and clearly marked with the identification number of the RFP, the Offeror’s name and
address, and the due date and time for receipt of proposals. The technical and cost proposals
must be submitted separately and Offerors may not include or indicate pricing in the technical
proposal. All pages in the technical and cost proposals must be numbered either consecutively

from beginning to end or consecutively by sections. All pages in the technical proposal must
have a font size of no less than 12.

Both the technical and cost proposals of the successful Offeror must remain valid for the greater

of one hundred eighty days or through the effective date of the operational contract resulting
from this RFP whichever is greater.

The contents of the proposal of the successful Offeror will become contractual obligations on the
part of the Offeror if a contract is entered into with the Offeror as a result of this RFP.
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CO) 7, LATE PROPOSAL

A. Any proposal received by the DCFRA after the exact date and time specified in this
solicitation will not be accepted, except as delineated below:

1. It was sent by registered or certified mail not later than the fifth calendar day prior to the
date specified for receipt of offers (e.g. an offer submitted in response to this RFP

requiring receipt of offers by the 10th of the month must have been mailed by the 5th or
earlier); or

2. It was sent by mail and it is determined by the Authority that the late receipt was
due solely to mishandling by the Authority after receipt at the Authority; or

3. Itis the only proposal received by the Authority.

B. Any modification of a proposal, except a modification resulting from the Contracting

Officer's request for "best and final" offers, is subject to the conditions in sub-paragraphs
A.1., A.2. and A.3. above.

C. Any modification resulting from the Contracting Officer's request for "best and final" offers
that is received after the time and date specified in the request for “best and final” offers will
not be considered unless the late receipt is due solely to mishandling by the Authority after

O timely receipt.

D. The only acceptable evidence to establish:

1. The date of mailing of a late proposal or modification is to send the proposal or
modification either by registered or certified mail with a postmark on the wrapper or on
the original receipt from the U.S. Postal Service. If neither postmark shows a legible
date, the proposal or the modification shall be deemed to have been mailed late. (The
term "postmark” means a printed, stamped, or otherwise placed impression that it is
readily identifiable without further action as having been supplied and affixed on the date
of mailing by employees of the U.S. Postal Service); and

2. The time of receipt of a proposal at the Authority is the time-date stamp by the

Authority on the proposal wrapper or other documentary evidence of receipt maintained
by the Authority.

E. Notwithstanding subparagraphs A., B., C and D. of this provision, a late modification of an
otherwise accepted proposal, which makes its terms more favorable to the Authority, may be
considered at any time it is received and may be accepted.

F. A proposal may be withdrawn in wniting by an Offeror or its authorized representative,
provided it is withdrawn prior to the RFP closing date.
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8. FAILURE TO SUBMIT AN OFFER

Recipients of this RFP who do not respond with an offer should not return this RFP. Instead,

they should advise the Authority by letter or by postcard whether they want to receive future
solicitations for similar requirements.

It is also requested that such recipients advise the Authority of the reason for not submitting a
proposal in response to this RFP. Ifa recipient does not submit an offer and does not notify the
Authority that it wishes to receive future solicitations, the recipient may be removed from the”
Authority’s applicable Offerors’ Mailing List.

9. REJECTION OF PROPOSALS

The Authority reserves the right to reject any and all proposals received in response to this RFP.
Additionally, the Authority reserves the right to waive any informality or irregularity in
proposals received if it is determined by the Authority that the best interest of the Authority will
be served by doing so. Offerors may be excluded from any further consideration for failure to
comply with the specifications of this RFP.

10. ANTICIPATED PROPOSAL SCHEDULE

@ Proposal Issued 12/15/2000
@ Offeror’s Conference 12/20/2000
@ Facility Tour 12/21/2000
# Answers provided to Offerors 12/27/2000
@ Proposals Due 01/16/2001
# Oral Presentations if needed 01/22/2001
@ Contractor Selected 01/24/2001
@ Letter Contract Executed if needed 01/28/2001
@ To Mayor 01/31/2001
@ To City Council 02/01/2001
@ Public Bnefings 02/08/2001
@ Contract Finalized 02/28/2001
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@ Readiness Review 02/28/2001

@ Program Start 03/13/2001

11. PRE-BID CONFERENCE

A pre-bid conference will be held on 12/20/2000 at 10:00 AM at 441 4" Street, N.W. Conference
Room 1030S, Washington, D.C., 20001. Attendance at the conference is not mandatory,
however the Authority strongly encourages potential Offerors to attend. The pre-bid conference .
will be the only opportunity for oral questions and discussions related to the specifications,

definitions or omissions in this RFP to be addressed verbally by the Authority and District
officials.

Written questions may be submitted to the Contracting Officer up until 12:00 PM on 12/22/2000.
Potential Offerors may also ask questions at the pre- bid conference. Questions asked at the pre-
bid conference should also be submitted in writing to the Authority at the end of the pre-bid
conference. Additional questions may be submitted to the Authority up until 12:00 PM on
12/22/2000 via our website at “dchealthrfp@dcfra.com”. The Authority will record all questions
asked during the conference. The Authority will provide official written responses to all
questions submitted in writing and asked at the pre-bid conference. Answers provided at the pre-
bid conference will not be considered official until verified in writing by the Authority. Official
written responses will be posted on our website at www.defra.gov, mailed or faxed to every

potential Offeror. The Authority will not be responsible for lost or misdirected mail or improper
addresses or fax numbers.

12. PROTESTS

Any interested party may protest this solicitation, and the award, or proposed award hereunder.
The protest must be filed in writing within ten (10) days after the basis of the protest is known
(or should have been known) with the Authority's Executive Director, 441 Fourth Street NW,
Suite 570N, Washington, D.C. 20001.

13. INCURRED EXPENSES

Costs incurred by any Offeror in preparing written proposals and/or in making oral presentations,
if requested whether or not submitted and/or presented by an Offeror and/or whether or not

received by the Authority, shall be the responsibility of the respective Offeror and shall not be
reimbursed in any manner by the Authority.

14, ACKNOWLEDGMENT OF AMENDMENTS

Offerors must acknowledge receipt of any amendments to this RFP (i) by identifying the
amendment number and date in the space provided on the amendment and (ii) by signing and
returning the amendment. The Authority must receive the acknowledgment by the date and time
specified for receipt of offers. An Offeror’s failure to acknowledge receipt of an amendment

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may result in rejection of the offer.

15. ERRORS AND OMISSIONS

Offerors will not be allowed to take advantage of errors or omissions in the RFP specifications.

16. WITHDRAWAL OF PROPOSALS

Offerors may withdraw and resubmit revised proposals or withdraw proposals completely at any
time up to the proposal submission deadline. Withdrawal notices must be submitted in writing to
the Contracting Officer and must clearly identify the proposal as being withdrawn. The ~
Authority reserves the right to reject any such revisions with or without review.

17. DISCLOSURE OF PROPOSAL IDEAS

Proposals will be held in confidence by the Authority and except for the selected proposal will
not be revealed to or discussed with competitors. All material submitted with a proposal
becomes the property of the Authority and may be returned only at the Authority’s option.
Proposals submitted to the Authority may be reviewed and evaluated by any person (other than
competing Offerors) at the discretion of the Authority. The Authority has the right to use any or

all ideas presented in any proposal. Selection or rejection of proposal does not affect this nght of
the Authority to use any or all ideas presented in any proposal.

18. OFFEROR’S AFFIDAVIT

Each offeror is required to submit with its proposal an affidavit stating that neither it, nor its
agents, nor any other party acting on its behalf , has paid or agreed to pay, directly or indirectly,
to any person, firm, or corporation, any money or valuable consideration for assistance in

procuring or attempting to procure, the contract herein referred to, and further agreeing that no
such money or reward will be paid hereafter.

Each Offeror must certify that it is not currently under suspension or debarment by the District
of Columbia, the Authority, any other municipal or local governmental unit of any state or
territory of the United States, any state, or the federal government.

19. AUTHORIZATION TO SUBMIT PROPOSAL

An authorized officer and/or employee of the Offeror must sign the proposal. The signature
represents a binding commitment by the Offeror to provide such services offered to the
Authority should it be determined to be the most responsive Offeror.
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20. CLARIFICATIONS AND REVISIONS

The Authority may ask Offerors to clarify in writing portions of their technical proposals at any
time prior to award. If such clarification is requested, the Offeror will be given reasonable time
in which to formulate a response.

21. ORAL PRESENTATIONS

At the Authority’s discretion, Offerors who submit responses to this RFP may be required to -
make an oral presentation of their proposal for the purpose of explaining or clarifying any
unusual or significant elements related to the proposal. Offerors shall not be permitted to alter or
amend their proposals, or conduct negotiations during the oral presentation process. The
Authority reserves the right to require and conduct oral presentations with only those Offerors
who have submitted proposals determined by the Authority to have a reasonably high probability

of being selected for award. The Authority may require essential personnel proposed by the
Offeror to participate in oral presentations.

22. CANCELLATION OF THE RFP
The Authority may cancel this RFP, in whole or in part, at any time.

23. ACCEPTANCE OF TERMS AND CONDITIONS

By submitting a proposal in response to this RFP, an Offeror accepts the terms and conditions set
forth in this RFP.

24. ECONOMY OF PREPARATION

Proposals should be prepared simply and economically, providing a straightforward, concise
description of the Offeror’s proposal to meet the requirements of this RFP. Elaborate brochures
or other unnecessary presentations beyond those sufficient to present a complete response are not
desired and may be construed as an indication of the Offeror’s lack of cost consciousness.

Elaborate artwork, expensive paper and bindings, and expensive visual presentation aids are
neither necessary nor encouraged.

25. ELIGIBLE OFFERORS

To be eligible to bid on this RFP, respondents must be qualified health care providers or
managed care organizations that can (a) demonstrate their ability to provide an integrated health
care delivery system, (b) obtain the appropmiate licensure, certification or accreditation as
required by District of Columbia regulations, (c) develop and maintain a high quality delivery
system and establish and maintain a well designed quality improvement program, (d) deliver
excellent customer service, (e) provide a timely and reliable data system that allows for accurate
tracking and trending of patient utilization and cost data (f) provide assurances of their financial

strength and ability to undertake this project, and (g) meet all of the other requirements stated

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above and elsewhere in this solicitation. For purposes of this RFP, qualified heaith care
providers include:

Hospitals and Physician Hospital Organizations (PHOs)

Health Maintenance Organizations (HMOs)

Management Service Organizations (MSOs)

Administrative Service Organizations (ASOs)

Other entities with the ability to provide or arrange for the delivery of health care Services.

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The Authority would prefer to contract with one entity for these services. However, the
Authority will accept bids from multiple parties provided that the roles of the particular parties
are clearly described and delineated, the necessary degree of coordination of responsibilities and
activities among the parties is demonstrated in the RFP, and one of the parties is identified as the
prime contractor. The Authority will only negotiate with the prime contractor.

26. PRIME CONTRACTOR

The successful Offeror (the “Contractor’) shall be responsible for all services as described in this
RFP. The Offeror selected for a contract award will be considered the prime contractor. The
prime contractor will be responsible for all assigned contract performance, including any
subcontracted tasks and functions. If subcontractors are to be used, the proposal must identify
the subcontractors and must include specific designations of the scope of work that the
subcontractors are to perform. A proposal also must include copies of any agreements to be
executed with any subcontractors in the event of a contract award. The Contractor's performance

shall be monitored by the Contracting Officer’s Technical Representative (“COTR”) designated
in the contract.

27. LEGAL STATUS OF OFFEROR

Each proposal must show the name of the Offeror and whether it is a corporation, joint venture,
or partnership (indicating the type of partnership). Offerors must demonstrate evidence that they
are eligible to enter into a contractual agreement and that their Articles of Incorporation,
partnership or joint venture agreement are properly filed with the District of Columbia DC
Recorder of Deeds or Superintendent of Corporation (Department of Consumer and Regulatory
Affairs) of the District of Columbia, as applicable.

In the event the Offeror is a corporation not incorporated in the District of Columbia, the Offeror
must show proof that it is registered as a foreign corporation with the District of Columbia

Department of Consumer and Regulatory Affairs and that is it legally qualified to do business in
the District of Columbia.

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C) 28. RESTRICTION ON DISCLOSURE AND USE OF DATA

Offerors who include proprietary data in their proposal that they do not want disclosed to the
public or used by the Authority or the District except in the procurement process shall:

A. Mark the title page with the following legend:

"This proposal includes proprietary data that shall not be disclosed outside the Authority
and the District of Columbia government and shall not be duplicated, used, or disclosed .
in whole or in part for any purpose other than to evaluate the proposal. If, however, a-
contract is awarded to the Offeror as a result of or in connection with the submission of
this data, the Authority and the District shall have the nght to duplicate, use, or disclose
the data to the extent consistent with the Authority and the District needs in the
procurement process. This restriction does not limit the Authority's, or the District’s right
to use, without restriction, information contained in the data if it is obtained from another
source. The data subject to this restriction is contained in sheets (insert numbers or other
identification of sheets)."

B. Mark each sheet of data you wish to restrict with the following legend:

"Use or disclosure of data contained on this sheet is subject to the restriction on the title
page of this proposal.”

@ 29. RETENTION OF PROPOSALS

All proposal documents shall be retained by the Authority and will not be retumed to the
Offeror.

30. DUPLICATION OF COSTS

By submitting a proposal, an Offeror represents and certifies that any costs for the performance
of the contract are not duplicative of any charges against any other Authority contract, District
government contract, or any other District government source.

31. DUAL COMPENSATION

If a Contractor employee or, subcontractor is involved in two or more projects, at least one of
which is supported by District funds, the Contractor, any Contractor employee or any
subcontractor may not be compensated for more than 100 percent of expended time during any
part of the period of dual involvement.

32. SIGNATURE OF OFFEROR

Each proposal must be signed by the person(s) legally authorized to sign contracts on behalf of

© the Offeror and must show the full business address and telephone and fax numbers of the
Offeror.

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33. TECHNICAL PROPOSAL AND COST PROPOSAL COMPONENTS OF
FULL PROPOSAL

In making its proposal, the Offeror shall submit both a Technical Proposal and a Cost Proposal
as separate components of its full Proposal. These components shall be separated from each
other and shall conform to requirements stated elsewhere in this RFP.

34. CONTRACT TERM

The term of the contract commences upon execution of a contract by the authorized parties. The
duration of the contract will be for an initial period of five years with renewal for up to two (2)

additional two (2) year terms at the discretion of the Authority or its successor organization or
designee.

35. CONTRACT AWARD

The Authority expects to award a contract to the Offeror whose proposal is considered, in the
sole judgment of the Authority, to be most responsive to the objectives of this RFP. The
Authority may make an award with or without an oral presentation and may or may not request a
"best and final" offer from the Offeror. Therefore, all proposals should be fully responsive. The
Authority reserves the right not to award a contract.

The Authority expects the contract to be awarded pursuant to this RFP to have an Initial Term
that will begin with the date of the contract award and end on September 30, 2005 renewal for up
to two (2) additional two (2) year terms at the discretion of the Authority or its successor

organization or designee. The contract will include provisions allowing early termination for
specified reasons.

The Authority reserves the right to obtain services outside the contract in the event the

Contractor fails to deliver any or all of the services as requested and as required within the terms
herein described.

36. CONTRACT TYPE

The contractor will be reimbursed using a flexible budget approach for both Administrative
Services and Health Care Services. The contract type is known generally as a " Fixed Price
Incentive Based Redetermination" contract. Each month during the term of the contract, the
Contractor will receive a monthly, prepaid allotment of funds that will consist of (a) a Monthly
Administrative Services Fee and (b) a Monthly Health Care Services Fee. These fees will be
adjusted on an ongoing basis to reflect the performance of the Offeror against specified
performance requirements, measured savings or excesses in the Health Care Services Budget and
any other adjustments specified in Section II. The Offeror will not be required to submit patient
bills for payment purposes but will be required to document the health care services delivered to
eligible uninsured patients by means of monthly electronic submission of detailed, patient-
specific data (i.e., "dummy" UB-92 and HCFA 1500 claims) and related reports and analyses.
This information must be submitted on a monthly basis to the Authority in the formats and at the

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level of detail required by the Authority. The Actual Cost of health care services provided to the
Target Population will be priced and compared to the Total Health Care Services Budget
component of the Total Budget, which shall consist of the Monthly Administrative Services
Budget and the Monthly Health Care Services Budget, multiplied by the number of months in the
contract period. Various financial rewards, penalties, efficiency, and program adjustments will
be made based on the performance of the Contractor. Section I of this RFP provides a further

explanation of the Cost Methodology to be used to establish and adjust the budgets during the
contract periods.

37. AUTHORITY REPRESENTATIVES

Upon award, the Contracting Officer will advise the Contractor, in writing, of those persons from
whom the Contractor may take direction and to whom the Contractor must submit reports, etc. A
Contracting Officer's Technical Representative (COTR) will be designated and will assist the
Contracting Officer in monitoring the performance of the Contractor. Neither the COTR, nor a
Contract Administrator, nor anyone other than the Contracting Officer shall have authority to
issue any modifications under the contract, either technical or otherwise, which may constitute a
change to the terms, conditions, price or delivery schedule of the contract.

38. IDENTIFICATION NUMBER

The District of Columbia has implemented an automated program to create a vendor database.
The system is the Data-Universal Numbering-System (D-U-N-S) which is a numbering system
designed and maintained by the Dun and Bradstreet Corporation. All Offerors (except
individuals) are required to submit their D-U-N-S number as part of their offers. Since D-U-N-S
numbers are not assigned to individuals, individuals must submit their social security numbers
with their proposals.

In order to ensure that you submit a valid D-U-N-S number, we encourage you to contact a Dun
& Bradstreet Office. If a number has not been previously assigned to your firm, you must obtain
one. Dun and Bradstreet will not charge you for the number assignment and does not require
credit rating information. In order to receive a D-U-N-S number, please use a telephone
directory to obtain the telephone number for a local Dun & Bradstreet office or call the Dun and
Bradstreet Customer Service office at 1-800-999-3867, Ext. 7770.

39. ALTERNATE PROPOSALS

If an Offeror wishes to submit a proposal on terms that it believes to be more advantageous to the
Authority, considering price and other factors, the Offeror may submit, in addition to a
responsive proposal, an alternate proposal reflecting such advantages. However, the primary
proposal must be directly responsive to this solicitation and must first be evaluated and

determined by the Authority as being responsive before consideration is given to an Offeror's
alternate proposal.

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40. READINESS REVIEW

The Authority may require a readiness review if it determines such review will be in the best
interest of the District of Columbia. The successful contractor must cooperate with this review

and make available to the District any staff, documents and all other materials to facilitate the
completion of the review process.

41. OFFEROR’S LIBRARY

The District will make available an Offeror’s library containing additional information that may ~~

be of assistance to the Offerors. A list of the materials contained in the Offeror’s library is found
in Appendix A.

42. CERTIFICATE OF NON-COLLUSION
By submission of a proposal, the Offeror certifies in connection with this procurement that:

A. The price of the proposal has been arrived at without collusion with any other Offeror or
with any competitor as potential competitor except those included as subcontractors;

B. Unless otherwise required by law, the price in the proposal has not been knowingly

disclosed directly or indirectly to any other Offeror or to any competitor as potential
competitor except those included as subcontractors

C. No attempt has been or will be made to induce a person or firm to submit or not to submit
a separate proposal; and

D. The Offeror has reviewed the solicitation and assumes responsibility for all services
being requested. The Authonty assumes no responsibility for any omission of any type.

E. The person signing the proposal is fully informed regarding the accuracy of the
statements contained in this Section 42 certification and that the statements are accurate.

43. CONTRACT PROVISIONS
The following provisions, among others, will be included in the contract awarded hereunder:
1. Representations and Certifications

All Representations and Certifications included in the proposal and the RFP are

incorporated as a part of this contract and will remain in effect and in full force for the
duration of the contract.

2. Organizational Conflicts of Interest

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Section 1:

As an independent contractor of the Authority, the Contractor's primary responsibility
and allegiance is to the Authority. Therefore, the Contractor shall take special care to
avoid even the appearance of a conflict of interest in its dealings with the Authority. The
Contractor shall provide the Authority with a list of past professional relationships with

any of the principal contractors, subcontractors, and consultants that participated in the
Project.

Section 2:

An organizational conflict of interest exists when the nature of the work to be performed
under an Authority Contract may:

A. result in an unfair competitive advantage to the Contractor, or

B. impair the Contractor's objectivity in performing the contract work.

Section 3:

The Contractor warrants that, to the best of the Contractor's knowledge and belief, there
are no facts or circumstances which could give rise to an actual or potential conflict of
interest or that the Contractor has disclosed all such information, if any.

Section 4

The Contractor agrees that if an actual or potential organizational conflict of interest is
discovered after award of the contract to the Contractor, the Contractor will make a full
disclosure in writing to the Contracting Officer. This disclosure shall include a
description of actions, which the Contractor has taken or proposes to take, after
consultation with the Contracting Officer, to avoid, mitigate, or neutralize the actual or
potential conflict.

Section 5

The Authority may terminate this contract for convenience, in whole or in part, if it
deems such termination necessary to avoid a conflict of interest. If the Contractor
becomes aware of a potential conflict of interest after contract award to the Contractor
and does not immediately disclose it to the Authority, or if the Contractor misrepresents
or misrepresents relevant information to the Contracting Officer, the Authority may
terminate this contract for default, debar the contractor from any/all future Authority or

District contracting, or pursue such other remedies as may be permitted by law or the
contract.

Section 6

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The Contractor agrees to insert in any subcontract or consultant agreement hereunder,
provisions which shall conform substantially to the language of this paragraph B.

3. Recovery of Debt Owed the District

The Offeror hereby agrees that the District of Columbia or the Authority may use all or any
portion of any consideration or refund due to the Offeror under this contract to satisfy in whole
or in part, any debt due to the District of Columbia.

4. Invoicing for Payment

The Contractor shall bill and shall be paid in advance for the Administrative and Health Care
Services that are required in this RFP and the resulting contract. Specifically, the Contractor shall
submit invoices for these services not later than forty-five (45) days before the first (1) day of
each month during each Contract Period. Contractors will be paid not later than the first (1°) day
of each month for which a proper invoice has been received on a timely basis. Invoices must be
submitted in original and three (3) copies and must be signed by an officer or principal of the
Contractor and must certify that the amounts being billed are correct and proper. Invoices must
contain the name of the contractor, the address, the telephone number, contract number, the task
order number, the purchase order number, the period of performance, the Federal ID number, the
D-U-N-S number, the address to which payment must be mailed, and must clearly indicate the
charges for which the Contractor is seeking payment. Invoices will be paid by the fifth (5) day
of each month following receipt of a proper invoice. All charges must be in accordance with the
costs as awarded. Invoices failing to comply with these requirements may result in a delay of
payment to the Contractor.

Invoices must be submitted in wniting to:

District of Columbia Government

Department Of Health

825 North Capitol Street, N.W.

Washington, D.C. 20001

Attn: Contracting Officer Technical Representative

A copy of the invoice shall be sent to the Authority’s Chief Financial Officer at DCFRA, 441
Fourth Street, NW, Suite 570, Washington, DC 20001. The Contractor is cautioned that services
performed in excess of the amount authorized, as a result of this RFP and resultant contract will
not be paid. The Contractor must carefully monitor costs incurred in the performance of the
contract and advise the Contract Administrator, the COTR, and the Contract Officer when
reaching 75% of the total authorized amount of the contract. The Authority shall not be

responsible for rendering payment under the Contract. Payment shall be the responsibility of the
District of Columbia government.

5. Authority Rights in Data

All information and documentation supplied to the Contractor by the Authority or by the District,

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or technical reports and memoranda produced by the Contractor in the performance of this
Contract, shall be the sole property of the Authority and the District of Columbia. The
Contractor retains ownership of intellectual property and personal documents used in the
performance of this contract (except to the extent created or generated as a result of this
contract). All data produced by the Contractor are works made for hire and are the sole property
of the Authority and the District. The Contractor shall not publish or reproduce such data in
whole or in part or in any manner or form, or authorize others to do so, or make any other use of
such data, without the written consent of the Authority until such time as the Authority or the
District may have released such data to the public.

6. Confidentiality

All information obtained or developed during contract performance and all conversations
between the Authority or the District and the Contractor with regard to the contract shall be held
confidential by the Contractor, and shall not be disclosed to a third party in the absence of a
written waiver by the Authority and the District, except as may be required by law.

7. ° Press Releases and Other Public Announcements

The Contractor shall not issue any press releases or make other public announcements of any sort
with respect to the subject matter of this contract without prior written permission of the
Authority and the District.

8. Termination by Default

The Authority may by wnitten notice of default to the Contractor, terminate the whole or any part
of this contract in any one of the following circumstances:

(a) If the Contractor fails to make delivery of the supplies or to perform the services
within the time specified in this contract or any extension thereof;

(b) If the Contractor fails to perform any of the other provisions of this contract, or so
fails to make progress as to endanger performance of this contract in accordance with its
terms and in either of these two circumstances does not cure such failure within a period
of 10 days (or such longer period as the Contracting Officer may authorize in writing)
after receipt of notice from the Contracting Officer specifying such failure.

c). If this contract is terminated as provided in this section, the Authority in addition to any
other rights provided in this clause, may require the Contractor to transfer title and
deliver to the Authority or District, in the manner and to the extent directed by the
Contracting Officer, all data, documentation, and other information as the Contractor has
specifically produced or specifically acquired or obtained for the performance of this
contract; and the Contractor shall, upon direction of the Contracting Officer, protect and
preserve property in the possession of the Contractor in which the Authority or District
has interest. Payment for completed deliverables accepted by the Authority or District

shall be at the contract price. The Authority or District may withhold from amounts

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otherwise due the Contractor such sum as the Contracting Officer determines to be
necessary to protect the Authority or District against loss because of default, outstanding

damages the Authority or District may incur, or outstanding liens or claims of former lien
holders.

d). If after notice of termination of this contract under the provisions of this clause, it is
determined for any reason that the Contractor was not in default under the provisions of
this clause, or that the default was excusable under the provisions of this clause, the rights
and obligations of the parties shall be determined as if the notice of termination had been
issued for a Termination for Convenience of the Authority.

The rights and remedies of the Authority provided in this clause shall not be exclusive and are in
addition to any other rights and remedies provided by law or under this contract.

If the Authority elects its option under this provision, the Authority, at its discretion may provide
for the purchase of improvements on a cost less accelerated depreciation basis.

9, Indemnification

The Contractor shall indemnify and hold harmless the Authority and the District and all their
officers, agents and servants against any and all claims or liability arising from or based on, or as
consequence of or result of, any act. omission or default of the Contractor, its employees, or its
subcontractors, in the performance of this contract regardless of whether or not any damage

resulting from Contractor's act, omission or default is caused in part by the Authority or the
District.

Monies due or becoming due the Contractor under this contract may be retained by the Authority
or the District as necessary to satisfy any outstanding claim the Authority or the District may
have against the Contractor regardless of whether or not any damage resulting from the

Contractor's act, omission, or default is caused in part by the Authority or District. Offerors may
propose the maximum liability that they are willing to accept.

10. Taxes

The Authority and the Government of the District of Columbia are exempt from, and will not
pay, Federal Excise Taxes and D.C. Sales and Use Tax.

11. Changes

The Contracting Officer may, at any time, make changes in this contract within the general scope
hereof by written order only. Any claim for adjustment to the contract pursuant to a change
requested under this paragraph must be asserted within ten (10) days from the date the change is
offered; provided, however, that the Contracting Officer, if he determines that the facts justify
such action, may receive, consider and adjust such claim asserted at any time prior to the date of
final settlement of the contract. If the parties fail to agree upon the adjustment to be made, the
failure to agree shall be considered a dispute. The decision of the Authority’s Contracting

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Officer is considered final and the contractor may pursue whatever remedies it may have in

court. Nothing in this contract shall excuse the Contractor from proceeding with the contract as
changed.

12. Termination for the Convenience of the Authority

The Authority may terminate performance of work under this contract in whole or in part if it
determines that termination is in the Authority's interest. Delivering a Notice of Termination to
the Contractor shall effect termination. In the event of termination, the Contractor shall be paid

for work satisfactorily performed, but no payment shall be made for work not performed. The
Contractor shall:

a. Place no further subcontracts or orders (referred to as subcontracts in this clause)

for materials, services, or facilities, except as necessary to complete the continued portion
of the contract.

b. Terminate all subcontracts to the extent they relate to the work terminated.

c. Assign to the Authority or District, as directed by the Contracting Officer, all rights, title
and interest of the Contractor under the subcontracts terminated, in which case the
Authority or District shall have the night to settle or pay any termination settlement
proposal arising out of those terminations.

d. With approval or ratification to the extent required by the Contracting Officer, settle all
outstanding liabilities and termination settlement proposals arising from the termination
of subcontracts. The approval or ratification will be final for purposes of this clause.

e. As directed by the Contracting Officer, transfer title and deliver to the Authority or the
District (i) the fabricated or unfabricated parts, work in process, completed work,
supplies, and other materials produced or acquired for the work terminated, and (it) the
completed or partially completed plans, drawings, information, and other property that, if
the contract has been completed, would be required to be furnished to the District.

13. Assignment

The Contractor may not assign its rights and obligations under this contract in whole or in part.
At any time, The Authority may assign all its nghts and obligations under this contract to the

District of Columbia whereupon the Authority will be no longer a party to or liable under this
contract.

14. Waiver of Rights
The failure of the Authority to insist upon strict performance of the terms and conditions of this

contract, or to exercise any rights or remedies, shall not be construed as a waiver of its mghts to
any exercise of such nghts, or to rely on any such terms or conditions at any time thereafter.

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15. Insurance

At all times during the contract performance, the Contractor shall carry insurance of the types

and in the minimum amounts required by law and present evidence thereof to the Contracting
Officer prior to contract award.

16. Performance Bond

If the Authority determines that it is in the best interest of the District to do so, it may require the
successful Offeror to have in place sufficient financial reserves to ensure against any unexpected
changes in the contractor’s financial condition. This financial assurance may take the form of a
restricted cash reserve or a performance bond equal to the value of two months of the Monthly
Administrative Budget and two months of the Monthly Health Services Budget.

17. Contractor’s Working Files

The Contractor must maintain working files on all work performed under this contract. The

Contracting Officer can require that the Contractor provide the Authority or the District with all
such information.

18. Notices

Notices provided for herein, unless expressly provided for otherwise in this contract shall be in
writing and may be delivered personally or by placing them in the U.S. mail, first class and
certified, return receipt requested, with postage prepaid and addressed as follows:

If to the Authority:

District of Columbia Financial Responsibility

and Management Assistance Authority

441 Fourth Street, N.W., Suite 570N

Washington, D.C. 20001

Attention: Contracting Officer (Contract No. )
Tel: 202-504-3400

If to the District:

District of Columbia government
Department of Health

825 North Capitol Street, N.E.
Washington, D.C. 20001

Attention: Contracting Officer Technical Representative (Contract No. )
Tel: 202-442-5999

If to the Contractor:

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Firm Name

Street Address

City, State Zip Code
Attention: Point of Contact
Tel: Number

19, Financial Standards

Offerors’ should provide the following financial information:

@ Provide audited financial statements for the three most recent fiscal years for which
statements are available. The statements must include a balance sheet, statement of
revenue and expenses, and a statement of cash flows. Statements must include the
auditors’ opinion, the notes to the financial statements and management letters
submitted by the auditor to the Offeror. If no audited financial statements are
available explain the reason and submit unaudited financial statements.

@ Provide unaudited financial statements for the period between the last month covered

by the audited statements required above and the month before the proposal is
submitted.

@ Include an analysis and evaluation of future financial condition and stability.
@ Provide lines of credit that are available.

@ The Offeror should explain how it will fund development and start-up costs

The Offeror should provide any other information that it believes would be important to DCFRA
in evaluating the Offeror's ability to meet the RFP requirements. This is optional information.
Offerors are cautioned to provide information not covered elsewhere, but which would be of
significant interest to the Authonty.

Offerors must include the financial information delineated above for all partners and
subcontractors included in the response. Offerors must present information that establishes their
possession of the financial resources and protections that are commensurate with the financial
responsibilities, opportunities and risks that are inherent in this project.

20. Subcontracting

The Contractor shall advise the Contracting Officer before awarding any subcontracts above
twenty-five thousand dollars ($25,000). All subcontracts above twenty-five thousand dollars
($25,000) with the exception of individual provider contracts that were not presented in the
original response to this RFP are subject to the approval of the Contracting Officer.

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The selected Contractor shall include in all subcontracts a provision that requires the
subcontractor to look solely to the Contractor for payment for services rendered to the uninsured
population.

21. Audit and Records

At any time before final payment and three (3) years thereafter, the Authority may audit the
Contractor’s invoices and all payments and reimbursements, patient-specific UB-92 and HCFA
1500 data, listing of patients, performance records, cost records, proposals, reports and all other
information and data pertaining this contract. The Authority may reduce any payment by an
amount(s) determined to constitute unallowable payments.

22. Independent Contractor

In performing work under this contract, the Contractor is acting solely as an independent
contractor and not as an employee or agent of the Authority. Specifically, the Contractor is
forbidden from representing itself to third parties as an Authority employee or agent, including
District of Columbia government officials and employees, determining Authority policy;
independently interpreting Authority policies or regulations on behalf of the Authority;
purporting to issue orders or take other action on behalf of the Authority; and preparing
documents on Authority letterhead. The Contractor shall include a comparable provision in any
subcontract entered into in connection with this Agreement.

23. Appropriation of Funds

The Authority’s and District’s liability under this contract is contingent upon the future
availability of appropriated funds with which to make payment for contract purposes. The
Authority’s and District’s liability for the payment hereunder shall not arise unless and until such
appropriation shall have been provided. The Authority shall have no liability to make any
payments under this contract and shall not be liable for any breach hereof by the District or the
Contractor or any of its subcontractors.

24. Drug Free Workplace (July 1990)

1. Definitions used in this clause are as follows:
"Controlled substance” means a controlled substance as defined in schedules I through V of
Section 202 of the Controlled Substances Act (21 U.S.C. 812) and as further defined in the
regulation at 21 CFR 1308.11 - 1308.15.
"Conviction" means a finding of guilt (including a plea of no contest) or imposition of
sentence, or both, by any judicial body charged with the responsibility to determine

violations of the Federal or State criminal drug statutes.

"Criminal drug statute” means a Federal or Non-Federal criminal statute involving the
manufacture, distribution, dispensing, possession, or use of any controlled substance.

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"Drug-free workplace" means the site(s) for the performance of work done by the Contractor
in connection with a specific contract at which employees of the Contractors are prohibited
from engaging in the unlawful manufacture, distribution, dispensing, possession, or use of a
controlled substance.

"Employee" means an employee of a Contractor directly engaged in the performance of work
under a Government contract. "Directly engaged" is defined to include all direct cost
employees and all other Contractor employees who have other than a minimal impact or
involvement in contract performance.

"Individual" means an Offeror/Contractor that has no more than one employee including the
Offeror/Contractor.

._ The Contractor, if other than an individual, shall, within 30 calendar days after award agree
to:

a). Publish a statement notifying such employees that the unlawful manufacture, distribution,
dispensing, possession, or use of a controlled substance is prohibited in the Contractor's

workplace and specifying the actions that will be taken against employees for violations
of each prohibition;

b). Establish an on going drug-free awareness program to inform such employees about:

1. The dangers of drug abuse in the workplace;
ll. The Contractor's policy of maintaining a drug free workplace;
ili. Any available drug counseling, rehabilitation and employee assistance

programs; and

IV. The penalties that may be imposed upon employees for drug abuse
violations occurring in the workplace,

c). Provide all employees engaged in the performance of the contract with a copy of the
statement required by subparagraph 2(a) of this clause;

d). Notify such employees, in writing, of the statement required in subparagraph 2(a) of this
clause that as a condition of continued employment on this contract, the employee will
abide by the terms of the statement; notify the employer in writing of the employee’s
conviction for a criminal drug statue for a violation occurring in the workplace no later
than five (5) calendar days after such conviction.

e). The Contractor should notify the Contracting Officer, in writing, within ten (10) calendar
days after receiving notice under subdivision 2(a) of this clause, from an employee or

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otherwise receiving actual notice of such conviction. The notice shall include the position
and the title of the employee;

f). Within 30 calendar days after receiving notice under subdivision 2(a) of this clause of a
conviction, take one of the following actions with respect to any employee who is
convicted of a drug abuse violation occurring in the workplace,

(i) Take appropriate personnel action against such employee up to and
Including termination; or

(ii) | Require such employee to satisfactorily participate in a drug abuse
assistance or rehabilitation program approved for such purpose by a ©
Federal, State or local health, law enforcement or other appropriate
agency.

g). Make a good faith effort to maintain a drug-free workplace through implementation of
subparagraphs B.1 through B.6 of this clause.

3. The Contractor, if an individual, agrees by award of the contract or acceptance of a purchase
order, or a task order, not to engage in the unlawful manufacture, distribution, dispensing,
possession or use of a controlled substance in the performance of this contract. In addition to
other remedies available to the Government, the Contractor's failure to comply with the
requirements of paragraph (B) or (C) of this clause may render the Contractor subject to

suspension of contract payments, termination of the contract for default, and suspension or
debarment.

25. Employment Agreement:

For all bids or proposals over $ 100,000, except those in which the Offeror is located outside the

Washington Metropolitan area and will perform no work in the Washington Metropolitan area,
the following certification is required:

The Offeror recognizes that one of the primary goals of the District government is the ©
creation of job opportunities for bona fide District residents. Accordingly, the
bidder/Offeror agrees to pursue the District's following goals for utilization of bona fide
residents of the District of Columbia with respect to this contract and in compliance with
Mayor’s Order 83-265. (1) at least fifty-one percent of all jobs created are to be
performed by employees who are residents of the District of Columbia and (2) at least
fifty-one percent of apprentices and trainees employed shall be residents of the District of
Columbia registered in programs approved by the D.C. Apprenticeship Council. The
Offeror also agrees to notify all prospective subcontractors, prior to execution of any
contractual agreements, that the subcontractors are expected to implement Mayor’s Order
83-265 in their own employment practices. The Offeror understands and will comply
with the requirements of the Volunteer Apprenticeship Act of 1978, D.C. Code Section
36-401 et.seg. and the First Source Employment Agreement Act of 1984., D.C. Code 1-
1161 et seq.

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© 26. Hiring of District Residents:

All new employment resulting from this contract or subcontracts hereto, as defined in Mayor’s
Order 83-265 and implementing instructions, shall include the following basic goals and

objectives for utilization of bona fide residents of the District of Columbia‘in each project’s labor
force:

(a) at least fifty-one (51) percent of all jobs created are to be performed by employees
who are residents of the District of Columbia.

(b) at least fifty-one (51) percent of apprentices and trainees employed shall be
residents of the District of Columbia registered in programs approved by the
District of Columbia Apprenticeship Council. The Contractor shall negotiate an
Employment Agreement with the District of Columbia Department of
Employment Services for jobs created as a result of this contract. The
Department of Employment Services shall be the contractor’s first source of
referral for qualified applicants, trainees and other workers in the implementation
of employment goals contained in this clause.

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CO) SECTION II. SCOPE OF SERVICES

GENERAL INFORMATION FOR THE OFFEROR: UNINSURED HEALTH CARE
ACCESS

A. Introduction

The District of Columbia Financial Responsibility and Management Assistance Authority
(“Authority”), is seeking proposals from qualified healthcare providers (“‘Offerors”’) in response
to Request for Proposal No. DCFRA-00-R-039 to obtain the services of a qualified healthcare
provider (“Contractor”) to provide comprehensive, integrated and coordinated health care
services to the uninsured population of the District of Columbia. The selected contractor will be
required to provide primary healthcare, specialty healthcare, in-patient services,
emergency/urgent care and public school healthcare. In addition, the selected Contractor must
demonstrate that it can:

@ Provide an integrated health care delivery system,

¢ Supply an appropriate number and mix of health care facilities, professionals and other
personnel;

@ Deliver health care services in geographic locations that are reasonably accessible to the
OC) uninsured population and/or make other arrangements that will ensure timely access to
needed services;

Meet appropriate licensure, certification and/or accreditation standards;
Demonstrate an effective and appropriate quality assurance/improvement program;
Deliver services in a high quality, cost-effective manner,

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Demonstrate excellent customer services/patient services capabilities including
mechanisms for measuring and raising patient satisfaction and for identifying and
resolving patient complaints and grievances;

@ Establish linkages between uninsured persons and primary care providers to the
maximum extent possible with the aim of preventing illness, improving health status and
ensuring the timely delivery of appropriate health care services

@ Assist the Department of Health in enrolling eligible persons in Medicaid, Medicare,
CHIP or other programs that offer health care coverage;

Supply the Authority with timely, accurate and sufficiently detailed data, reports and
analyses regarding uninsured patients and the health care services they receive; and

Build the capacity to enroll uninsured persons in a prepaid, high quality, integrated
delivery system that will link individuals into a primary care system that emphasizes
prevention, meets routine care needs and coordinates with a supportive network of
emergency, specialty and hospital resources

C) The Contractor will be evaluated on the aforementioned items along with the proposed business
structure, ability to control utilization, past performance and its proposed price.

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The Authority intends to make a single award to one Contractor or Consortium as a result of this
RFP,

B. Purpose

This RFP provides interested parties with sufficient information to enable them to prepare and
submit proposals for consideration by the Authority to satisfy its need to identify and select a
vendor that is qualified to assume responsibility for the delivery of health care services to the
subset of the uninsured population of the District of Columbia currently receiving services .
through the Public Benefit Corporation (PBC). The Authority encourages interested Offerors to
submit proposals following the specific instructions contained in Section III this RFP

C. Background

The District of Columbia is a city of contrasts. It is characterized by wide disparities in wealth
and poverty, by racial divides, by deficiencies in the availability of health resources and by
differences in health status. With a resident population of 519, 000,' the District ranks first in
average annual pay, in personal income and in the number of physicians per 100,000 population.
At the same time, it ranks last or near last for the number of outpatient visits, children in
poverty’, and in infant mortality rates.’ Despite having many physicians and eleven (11) acute
care hospitals (including one public hospital) within 69 square miles, the District’s health care
statistics are alarming. A large percentage of District residents do not have access to primary
and preventive care. The premature death rate in the District, a measure of the health of the

population that reflects the potential years of life lost before age 65 was more than double the
national average in 1995.

In February 1995, the Blue Ribbon Panel on Health Care Reform Implementation identified
significant concerns with the health care delivery system in the District of Columbia. As part of
its report, the Panel stated that “The District of Columbia is faced with a crisis; the crisis
threateris the public health, the economic viability, and long term future of the City”. ‘ The report
further identified several indicators of the health crisis facing the District. These included
increasing HIV/AIDS rates; high levels of communicable diseases such as TB, STDs and
hepatitis; the highest premature mortality rates in the nation; and excessive use of expensive
hospital and specialty services. The most dramatic disparity in health status and health resources
is seen in the poorest and most vulnerable citizens of the District. In part, the creation of the
Public Benefit Corporation was seen as an opportunity to improve health care services for the
poor and underserved in the District.

In August 1996, the D.C. City Council formed the District of Columbia Health and Hospitals
Public Benefit Corporation (PBC) in order “to provide comprehensive, community-centered

' US Census 7/1/99

2 Health Forum, Hospital Statistics

> Health Forum, Hospital Statistics, 1999

* Final Report of the Mayor’s Panel on Health Care Reform Implementaton, February 1995.

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health care to residents of the District and assume the functions and personnel of the D.C.
General Hospital and Commission on Public Health Community Clinics.” The mission of the
PBC was “‘to be a community oriented leader in the delivery of comprehensive, high quality cost
effective and timely medical care, with a special community commitment to ensuring care for the
District of Columbia’s underserved and indigent.” At the time, it was thought that the
establishment of the PBC would reduce expenditures, promote economy, and increase the
efficiency with which health care services would be provided to the residents of the District of
Columbia. In passing this legislation the D.C. City Council demonstrated its commitment to
ensuring that the residents of the District have access to high quality, comprehensive, ©
community-centered health care and medical services, regardless of the ability of those residents -
to pay for health care services.

Unfortunately, it is now five years later and the District is still facing a serious health crisis.
According to the Healthy People 2010 Plan for the District of Columbia,” many of the conditions
that were present during the health crisis in 1995 continue to be of concern today. Concurrent
with this health crisis, the District is also facing severe fiscal stresses within the hospital
environment. According to the District of Columbia Hospital Association only four of the
District’s eleven acute care hospitals reported positive operating margins in 1999.° This financial
weakness is caused by various factors including the presence of excessive and duplicative
hospital facilities; decreased admissions and lengths of stay pursuant to the presence of managed
care; increasing substitution of community-based care for hospital-based services; and by
stringent payment policies adopted by Medicare, Medicaid and private payers. Nowhere are the
fiscal pressures more evident than at the Public Benefit Corporation’s D.C. General Hospital.

As the comerstone of the public safety net, D.C. General Hospital, and the eight PBC
neighborhood health centers (NHCs) have served the uninsured and underserved of the City for
more than 188 years. Over the years, as public and private health insurance expanded and
covered more of the population, the demand for services at D.C. General declined. Today, on
average, just over 150 of its beds are occupied, and according to the Hospital’s own records, the
emergency room has seen a 40 percent decrease in visits involving the most serious trauma
during the past five years. The average length of stay (ALOS) at D.C. General exceeds the
national average for most services, even when adjustments are made to restrict the comparison to
hospitals treating similar populations.

Based on statistics provided by D.C. General Hospital, it provides approximately 52,000
emergency room visits, about 90,000 ambulatory clinic visits and 10,000 total hospital
admissions annually. Approximately 40 % to 50% of those visits are for the uninsured. The
remaining patients seen on-site at D.C. General have insurance through Medicare, Medicaid or
another third party payer. An additional 100,000 visits are provided by the neighborhood health
centers. A comprehensive list of the services provided, the specific utilization of these services,
and payer status of the patients is included as Appendix B. The D.C. General physical plant has
also declined because resources have not been available to maintain it. Independent reports have

5 The District of Columbia Health People 2010 Plan. A Strategy for Better Health. Government
of the District of Columbia, September 2000
© District of Columbia Hospital Association. Financial Indicators 1999.

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estimated the cost of repairing and updating the hospital at close to $100 million dollars, and the
actual cost could be substantially higher. The decline in patient volumes, the tightening of
reimbursements by payers and the relatively high operating costs of D.C. General have produced
large annual operating deficits. The expected continuation of these factors makes it unlikely that
the PBC can survive in its current form.

In addition to the health care services provided by D.C. General and the PBC neighborhood
health clinics, primary care services are provided to the poor through a network of private not-
for-profit health clinics across the District. These private clinics perform two vital functions’
within the safety net—first, they are direct providers of care; and, second, they serve as an entry
point for the uninsured into the larger health care system for hospitalization and ancillary care
services. Many of the patients seen by these clinics are referred to D.C. General for hospital and
ancillary care services.

The private acute care hospitals in the District are also a vital part of the health care safety net.
Approximately two-thirds of the hospitalizations required for the uninsured are provided by these
hospitals. At least one of the private hospitals is increasing the amount of services it provides to
the uninsured without the incentive of Disproportionate Share Hospital payments. Although
D.C. General Hospital handles the largest number of uninsured admissions, the private acute care

hospitals within the District collectively provide approximately 8,000 uninsured admissions each
year.

Recognizing that a major public health and financial crisis is imminent, the PBC Board of
Directors, the DCFRA, the City Council and the Mayor’s Office have worked diligently together
to determine the most feasible option for addressing the continuing fiscal problems of the PBC,
while at the same time preserving the safety net for the uninsured. After reviewing several
,options, the parties decided to use this RFP process to identify a vendor capable of providing the
health care services that are currently being provided to the poor and the uninsured by D.C.
General Hospital and the PBC clinics.

D. Target Population

This RFP is targeted to the subset of the approximately 80,000 uninsured residents of the District
of Columbia that are currently served by the PBC and who are expected to continue to rely on
the Contractor for their health care. In 1999, the PBC provided 4016 inpatient hospital
admissions, 31,720 emergency room visits, approximately 91,000 hospital based ambulatory care
and specialty care visits, and approximately 76,000 community-based outpatient (NHC) visits to
the uninsured population.

D.C. General Hospital and the NHCs have traditionally served both insured and uninsured
patients. The Contractor can reasonably expect some proportion of this clientele of insured
patients to use it for services. This RFP, however, proposes to compensate the Contractor only

for services delivered to the uninsured D.C. resident meeting eligibility criteria established by the
Authority.

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E. Cultural and Linguistic Competence

A cultural and linguistically competent system of care acknowledges and incorporates, at all
levels, the importance of cultural and language, the cultural strengths associated with people and
communities, the assessment of cross-cultural relations, vigilance towards the dynamics inherent
in cultural and linguistic differences, and the expansion of cultural and linguistic knowledge. To
that end, policies and procedures are designed and implemented that facilitate staff and providers
continuously working and relating to others effectively and efficiently in cross cultural situations
to ensure the adaptation of services to meet the consumer’s culturally and linguistically unique
needs, Offerors will develop a cultural competency plan based on the following assumptions:

@ Only culturally competent practitioners and administrators working within culturally
competent system of care can ensure both culturally competent assessment and
provision of appropriate services;

@ ‘Cultural, ethnic, and linguistic diversity enhances the personal and professional
experiences of all stakeholders;

@ Services must be geographically, temporally, physiologically, culturally, and
linguistically accessible;

@ Culturally specific data on prevalence, incidence, utilization and outcomes must
guide system level service design,

@ The imperatives of safety and permanence are common to all populations;

@ There may be a significant diversity of response to treatment modalities among
ethnically diverse individuals,

@ Acommunity based, Culturally Competent, prevention and early intervention focused
system of care facilitates high quality, cost-effective outcomes.

Offeror will function according to a Cultural Competence philosophy through which the Offeror
will monitor and evaluate cultural appropriateness of outreach and interventions, identify
opportunities for improving effectiveness and access, establish initiatives to accomplish agreed
upon improvements, monitor resolution of problem areas. Offeror’s Cultural Competence
philosophy is an ongoing process that must span every aspect of program operations and unite
organizations, members, and providers in a continuous upward spiral of culturally competent
planning action, and evaluation. ,

F. Services to be Performed by the Contractor

The District is committed to ensuring that a comprehensive system of integrated, high quality,
affordable health care is available to the uninsured. As such proposals that do not clearly
provide for a comprehensive and well-integrated system of care based on the above list of
services will be considered unresponsive and will be disqualified from consideration for award.
Offerors will be asked to offer and deliver both the health care services and the administrative
services identified below. As part of their response, Offerors must identify how and where they
will provide each of the services included in the project. Offerors are encouraged to provide at
least some of the services on site at the D.C. General campus. Offerors should also include in
their response what if any capital investments they plan to make to any PBC facility or new

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facility on the D.C. General campus. The cost anticipated for capital improvements will not be
considered in the Authority's evaluation of the Offerors proposal and is requested for
informational purposes only. The Authority at its discretion may negotiate a capital budget with
the successful Offeror separate and apart from this RFP. The Authority may also negotiate or
arrange leases or other use arrangements of existing PBC facilities on behalf the Contractor. The
selected Contractor will be reimbursed for any capital expenditures that are approved by the
Authority and incurred by the Contractor in the performance of this contract in the event the
contract is terminated prior to the end of its scheduled term.

1. Health Care Services

Offerors will be asked to bid and deliver all of the following health care services:

@ Community Based Primary Care Services

Offerors are asked to address the manner in which they will ensure that the target population
will have access to a primary care home. The response should clearly describe the approach
(es) the Offeror will use to identify how the contractor will identify the target population and
assist them in selecting a primary care provider. If the Offeror determines that it is not
practical to expect most uninsured patients to select a primary care provider, the Offeror must
describe how they will assign a primary care provider to the individual members of the target
population. If the Offeror intends to assign patients to PCPs, the Offeror must describe the
process that will be used to allow the target population to change primary care providers.
The response should also clearly articulate what provider types will be considered primary
care providers. If specialty providers will be used as primary care providers, Offerors must
describe how they will identify such specialists and any requirements these providers must
meet to be designated as primary care providers.

Offerors must describe their plans for maintaining and managing the eight (8) neighborhood
health centers that are currently managed by the PBC or their plans for substituting
altemative sources of care for some or all of these health centers These ambulatory care
clinics provide approximately 76,000 visits annually. The name, location, service array and
staffing pattern for each neighborhood health center is found in Appendix D. Earlier this
year, the Bureau of Primary Health Care performed an assessment of the neighborhood
health centers. A copy of the assessment report can be found in the Bidder’s Library.
Offerors are asked to describe how they will arrange and facilitate appropriate referrals for
inpatient and ancillary services needed by individuals using the Neighborhood Health
Centers or their successors. Offerors should also address their strategy for ensuring that
persons who are referred for inpatient and ancillary services will be returned to the referring

health center, and to the appropriate primary health care provider, for follow-up and ongoing
services.

The District is committed to improving health outcomes for the residents of the District.
Therefore, Offerors are asked to describe how they will ensure that primary and preventive
care services are available to the target population. Additionally, Offerors should describe
how they will ensure that needed health care services are available at the most appropriate

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level of care. The Authority expects the Offerors (and the selected Contractor) to concentrate
a substantial degree of energy on strategies to increase the use of primary care services and to
reduce the frequency of inappropriate hospitalizations.

Inpatient Hospital Services

The Offeror should demonstrate the ability to provide the inpatient hospital services that are
required by the Target Population. In particular, Offerors must describe in detail the ways in

which they will ensure the availability and accessibility of services to the residents of Wards .

5, 6, and 7. Patients hospitalized at DC General come largely from Ward 5—zip codes
20002, 20018, 20017 (19.24%), Ward 6—zip codes 20003, 20020 (27.82%) and Ward 7—
zip codes 20019 (28.11%). Appendix E shows D.C. General inpatient and outpatient
volume by Ward by zip code. During calendar year 1999, the PBC had a total of 10,503
discharges, with an average daily census of 164 and an average length of stay of 10.06 days
for surgical, 6.04 days for non-surgical, and 11.41 days for ICU/CCU patients. Of those
discharges, 4,016 were for uninsured patients. These 4,016 uninsured patients included
2,947 self-pay and 1,069 charity patients. The following table gives the age and sex of
patients discharged from DC General for calendar year 1999.

Ages Female Male Unknown Total
0-17 812 756 1,568
18-34 1,250 1,144 7 2,411
35-54 1,458 2,750 2 4,210
55-64 413 696 1,108
65-74 318 309 627
75+ 395 278 673
All 4,656 5,932 9 10,597

Offerors are directed to Appendix F for information regarding the most common discharge
and outpatient diagnoses at DC General Hospital. Appendix G provides data regarding D.C.
General's distribution of patients by "diagnosis related group" (DRG) over the January —
June, 2000 period.

Offerors must be able to demonstrate their ability to provide all needed services required
during an inpatient hospitalization and must document the support services they intend to
make available for the care and support of the hospitalized patients. Offerors must also
describe how they will facilitate the return of hospitalized patients to the primary care system
upon discharge from the hospital.

Emergency Room Services

The Offeror must be able to demonstrate the ability to provide comprehensive emergency
room care. Offerors should also specifically identify the level of emergency room services
they will provide (i.e., Level 1 trauma, Level 2, Level 3, etc.) At a minimum, the Offeror

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must be able to provide Level 3 emergency room services. If the Offeror does not provide
Level 1 or Level 2 emergency room services, the Offeror must describe how it will ensure
that Level 1 and Level 2 emergency room services will be available on a timely basis to
uninsured patients when they are needed. The description should include referral and
transfer arrangements the Offeror would negotiate to support necessary Level 1 and Level 2
emergency services. Additionally, the Offeror should identify mechanisms for payment for
required Level 1 and Level 2 trauma care that is not provided on site. The Offeror is
financially responsible for these services.

Offerors should also describe how they will ensure that necessary follow-up care is provided
to patients who are treated and released from emergency room care. The description should
include how the Offeror will ensure that all patients receive follow-up care at the most
appropriate level.

According to available data, DC General provided 52,000 emergency room visits for fiscal
year 2000. Of the 52,000 visits, 31,720 were for uninsured patients. According to PBC
officials, approximately fifty percent of all emergency room visits could have been treated in
a primary care setting. D.C. General also treated 821 "code yellow" emergency room visits
in 1999. Of that number, 366 were uninsured (according to DCHA information gathered by
the utilization and scope of service workgroup of the PBC transition task force).

Ambulatory Care Services (includes all ambulatory surgery services, laboratory services,
radiology, and other diagnostic services: a list of current ambulatory care services provided
by the PBC may be found in Appendix H.

The Offeror must describe how they will ensure the provision of all specialty and
subspecialty services provided by D.C. General Hospital. Under the requirements of this
RFP, Offerors are responsible for providing, at minimum, the same types and levels of
services that are currently available at DC General. Appendix | provides information
regarding the types of visits and the associated utilization and payer status of all clinic
services provided on site at DC General Hospital. In FY 2000, there were 91,056 ambulatory
care clinic visits at D.C. General.

Offerors should also be aware that there are fourteen (14) private, not-for-profit clinics that
provide primary care services to the uninsured population in the District of Columbia.
Currently, up to two-thirds of the uninsured receive primary care services through this
network of not-for-profit clinics. These clinics serve approximately 19,000 people. Many of
the uninsured seen through this network are referred to the PBC for necessary inpatient
admissions and ancillary care. Offerors must describe the methods they will use to ensure
proper coordination with the private, not-for-profit clinics in the treatment of uninsured
patients, including the ways in which they will facilitate patient referrals for patients
historically seen by the PBC. The referral process should not only describe how patients will
be referred for inpatient and ancillary services, but should also describe how these patients
will be referred back to the source provider upon discharge or when the ancillary services
have been completed.

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In order to ensure that the selected Contractor has or will have the capacity to meet the needs
of the target population, Offerors are required to include in their response information about
their current staffing mix, including numbers and types of medical staff (including
physicians, by specialty and board certification status); nurses (RNs, LPNs, etc.); and related
credentialing requirements. Offerors should also include a staffing plan that delineates how
they will increase staff to meet the additional care delivery and administrative burdens that
will arise out of the requirements of this RFP. The Authority may elect to conduct a review
of the Offeror's facilities to determine the capacity of the Offeror to provide needed services
to the target population. Offerors should make their facilities and staff available if the
Authority it is determined that, a review is needed.

School Health Services

The School Health Program is currently administered by the PBC under a Memorandum of
Understanding between the PBC and DOH. The Contractor selected as a result of this RFP
will be required to assume responsibility for continuing this program in the schools. For your
convenience the following items can be reviewed in the Offeror’s Library:

a). Memorandum of Understanding between the Department of Health and the PBC;

b). The Immunization of School Students Act of 1979 (D.C. Law 3-20; D.C. Code, sec. 31-
501;

c). The Student Heaqith Care Act of 1985 ( D.C. Law 6-66; D.C. Code sec. 31-2401;

d). The District of Columbia Public School Nurse Assignment Act of 1987 (D.C. Law 7-45;
D.C. Code, sec. 31-242; and

e). The Administration of Medication by Public School Employees Act of 1993 (D.C. Law
10-55; D.C. Code, sec. 31-2431 ct seq)

The School Health Program must be available to all students enrolled in 147 Distnct of
Columbia public schools including 4 self contained schools and public charter schools.
Regulation requires that school health programs provide twenty (20) hours of nursing each
week. The school health program should focus on preventive services. At a minimum, the
school health program should provide basic health services such as review of immunization
status, basic health screenings, administer medications, and comprehensive education and
prevention programs for smoking, nutrition, pregnancy, HIV/AIDS, substance abuse and
mental illness. The Contractor will also be responsible through the School Health Program
to identify and refer to care all pregnant students in their first trimester of pregnancy. School
health nurses are also responsible for implementing effective referrals into the larger health
care system when a health need is identified. Through the school health program, the selected
contractor will promote the health of students, identify and prevent health problems and
injuries and ensure a safe and healthy environment for students.

Offerors should describe in their response how they will effectively manage the school health
program. Offerors should specifically describe how they will facilitate or coordinate services
between the school health program and community based providers, hospitals and manged
care organizations for those students that are enrolled in Medicaid and receive care through
one of the Medicaid HMOs. This requirement is not meant to exclude those students who are

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enrolled in HMOs or seeing other providers from participating in the school health program.

Instead, its aim is to ensure that the primary care provider is included in health care planning
for the student.

The Contractor must employ staff that possess adequate training and competence to perform
the duties to which they have been assigned. The Offeror should describe how they will
ensure that their proposed staffing pattem is consistent with the requirements of the MOU
and District Law for the school health program. Also, describe on-going training programs
and competency standards that you will implement to determine staff's ability to perform the ~
duties to which they are assigned. If the Offeror determines that current staffing is not in
compliance with these requirements, the response should include a staffing plan that
describes how the Offeror will bring school health staffing into compliance.

The Offeror should also describe how they will facilitate a strong partnership with the D.C.
Public School administration. The Offeror's response should address how the school health
program will embrace parental involvement in the school health program.

The Authority is interested in collecting utilization and other relevant data from the school
health program. The Memorandum of Understanding, found in the Offeror’s Library
contains a listing of reports required for this program. Accordingly, Offerors should describe
how they will track and trend appropriate utilization data on the school health program.

Dentistry

The PBC currently provides comprehensive diagnostic, preventive, therapeutic, and
emergency dental services to adults and children on an inpatient and outpatient basis. These
dental services are provided at D.C. General Hospital and at all of the Neighborhood Health

Centers except the Health Services for Children with Special Needs and the Woodridge
Clinics. The current dental program provides:

a). Twenty-four hour emergency maxillofacial services, including structures, by a team
of maxillofacial surgeons and dental staff;

b). Comprehensive general denistry services to medically compromised patients with
special needs and patients referred for oral health poblems;

c). Diagnostic, preventive and therapeutic periodontal services,

d). Comprehensive pediatric dental services for all children;

e). Ambulatory adult and pediatric anesthesia during complex dental procedures;

f). Maxillofacial prosthodontics for patients requiring oral facial reconstruction and
prosthesis;

g). Endodontic services necessary to support the restorative treatment of patients; and
h). Comprehensive dental services for oncology.

The department is staffed by two oral and maxillofacial surgeons, one pediatric dentist, one
maxillofacial prosthodontist, one registered dental higienist and five dental assistants. The
dental department staffing is bolstered by five oral and maxillofacial surgeons and four

pediatric dentists. All dentist and dental hygienists are licensed in the District of Columbia

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and are board eligible or board certified in specialties relevant to their duties within the
dental program.

Offerors should describe in detail how they will provide the dental benefit. The description
should specifically address services they will offer, staffing patterns and location of dental
services for the uninsured health care program.

Other Miscellaneous Health Care programs funded by block grants including WIC,
HIV/AIDS and Maternal Child Health programs.

Offerors will also be required to manage the following block grant or other health care
programs:

WIC program

DOH/HIV

Maternal Child Health Program
Day Care Program

Program descriptions for the block grant programs identified above can be found in the
Offeror’s library.

D.C. General Hospital also provides a pharmaceutical program for uninsured patients seen in
the ambulatory care program or the Neighborhood Health Centers who require
pharmaceuticals but are unable to pay for them. The cost of this program is estimated to be
$1 million annually. If the District chooses to purchase pharmaceuticals for this population,
Offerors will be asked to administer the pharmaceutical program but will not be responsible
for assuming the cost of drugs purchased for this population.

Mental Health and Substance Abuse Services

The Offeror is not responsible either programmatically or financially for mental health care
services for the uninsured population. However, it is critical that individuals that have
mental health care issues receive coordinated care between the uninsured health program and
the Commission on Mental Health or its successor entity. Additionally, the Offeror should
describe how it will ensure timely access to care for those individuals within the uninsured
population needing substance abuse treatment services.

The Offerors are invited to propose arrangements with DOH APRA whereby the Offeror will
provide the substance abuse component of this program. If this option is chosen, Offerors
should describe in detail how they will coordinate these services with APRA.

It is highly likely that some individuals within the target population will also be dually
diagnosed with substance abuse, mental health, developmental delay, and other conditions.
The Offeror should fully describe how they will coordinate services for this special needs
population to ensure the availability and accessibility of necessary health care services.

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The following health care services are not the financial responsibility of the Offeror:

@ Corrections
@ Long Term Care
@ Long Term Rehabilitation

Although Offerors are not financially responsible for these services, the selected contractor
will be responsible for developing and implementing a coordination plan for these services .
that ensures timely access to care for long term care and long term rehabilitation. The
contractor will also be responsible for coordinating care with the Contractor selected by the
Department of Corrections to manage health care services for the incarcerated population and
ensure an appropriate continuum of care for these individuals upon release from custody.

Administrative Services

The Offeror must describe the manner in which it will deliver the following administrative
services:

@ Enrollment and Eligibility

The Contractor will be required to enroll uninsured persons in a health care program
designed to provide them with a direct linkage to primary care, ready access to emergency
care, and timely access to secondary and tertiary health care. The Offeror must develop a
data base regarding these persons that will include the person's name, age, Sex, date of birth,
social security number, place of residence, other relevant available demographic information,
and detailed cost and utilization data. The Offeror will be required to issue ID cards or use
other mechanisms to facilitate the access of uninsured patients to needed services and the
appropriate tracking of their utilization of services. When an uninsured person presents at
the contractor's site, the contractor will determine the individual’s eligibility for participation
in the program using criteria established by DOH. If the individual meets eligibility criteria,
the contractor will enroll the individual into the program. The Contractor will also be
responsible for enrolling into the program any individual that is referred from another
provider across the city. Only bona fide District of Columbia residents will be admitted into
the program and determined eligible to receive health care services through this program.

The Authority expects the Contractor to facilitate the identification of third party resources
available to persons who are uninsured. These resources may be Medicaid, Medicare or any
other third party resource. The Contractor will be expected to develop a process of notifying
the Authority when a participant in the uninsured health program gains insurance through
Medicaid, Medicare or some other payer.

The District currently assigns DHS eligibility workers to the PBC to screen applicants for
eligibility for human service programs. These workers collect and enter eligibility
information into the ACEDS system. The Authority anticipates that these workers will be

assigned to the Contractor to perform the eligibility determination functions required by this
program.

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Offerors should describe the process they will use to enroll and disenrol/ participants in the
health care program.

Non-District of Columbia Residents

The uninsured health care program Contractor will not be financially responsible for
uninsured persons who are not residents of the District of Columbia. Offerors should

describe how they intend to ensure that each person served by the program is a résident of the .

District of Columbia.
Provider Network

Offerors must demonstrate their ability to provide sufficient physicians, including both
primary care and specialty physicians; other licensed health professionals, such as certified
registered nurse practitioners, physicians’ assistants and registered nurses, and appropriate
inpatient and outpatient facilities to ensure that uninsured persons have access to necessary
health care services. Offerors should include with their bid, in a format of their own
choosing, a clear depiction of the numbers, types and locations of the providers and facilities
they will make available and the relation between this supply of providers and the number
and location of the uninsured population they will be called upon to treat. Maps that identify
particular wards and zip codes and show the availability of health care resources to the
residents of those areas would be especially helpful.

Customer/Patient Services

Offerors must provide uninsured persons with access to information regarding the uninsured
health care program. Offerors should describe how they plan to supply information to
individuals who present at or call their site. Offerors should be able to collect data about the
number ‘and types of calls received. Offerors must demonstrate that they will have
patient/customer service programs designed to maintain and/or improve patient satisfaction
and address patient complaints and grievances in an expeditious and fair manner.

Coordination with Medicaid

Offerors must include with their proposal a plan to identify Medicaid eligible persons and
facilitate their enrollment in the Medicaid program. The District expects that the successful
contractor will aggressively identify those individuals who are eligible for Medicaid and
assist them in moving from the uninsured program to the Medicaid program. The ability of
the Offeror to assist and work closely with the DOH in enrolling eligible persons in
Medicare, Medicaid, CHIP or other programs that provide health care coverage is a key
aspect of the project. In addition, this activity will protect the Contractor from financial

losses because it will reduce the burden on the budget provided to the Contractor for health
care services.

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@ Maintenance of Effort

The District expects all providers, including Offerors, to continue to provide their current
level of uncompensated care and to apply reasonable uncompensated care policies to all
persons who request health care services. The Contractor will be given more specific criteria
regarding eligibility for payment made under this program prior to the effective date for anty
contract resulting from this RFP. Thus, the Contractor that is selected pursuant to this
contract will néed to be able to demonstrate that it has equalled or exceeded the prior year’s
level of uncompensated carein order to receive full payments under this program. In their
response, Offerors must acknowledge their acceptance of this provision.

It is important to ensure that the Contractor is not burdened by an unexpected increase in the
proportion of uncompensated care services that it delivers relative to the share formerly
provided by D.C. General and the public clinics. Therefore, at the end of each contract
period, the Authority will review data reflecting the level of uncompensated care provided to
the uninsured population served by all of the providers in the District. The Authority, at its

discretion, may redistribute public funds and/or adjust the budget for this program based
upon this review.

The Contractor must maintain and consistently apply uncompensated care policies that
reflect and respond to the ability of patients to pay for their health care services. Offerors
must include with this response a copy of their uncompensated care policies.

Management Information System

Offerors must describe the management information system they will use for this program.
The District will require the successful contractor to track the eligibility, enrollment, and
utilization of all services through the uninsured health care program. Offerors must be
prepared to provide the District with complete, detailed, patient-specific UB-92, HCFA 1500
and demographic data in a computerized format on a monthly basis. The Offeror should
describe its ability to provide the District with monthly, quarterly and annual reports that
document the use and cost of services, in total and by type; key patterns of use, cost, and
illness; and important trends. The Offeror will need to be able to track and demonstrate
improvements in the quality of care; the accessibility of care; the availability: of specialty,
ancillary and other services; and enrollment in Medicaid have all improved under this
program. The District is committed to ensuring that the dollars appropriated to this program
follow and are expended on the uninsured. Accordingly, the successful contractor must be
able to identify each uninsured person who receives a service under this program. It is not
necessary for an Offeror to acquire a new information system to accommodate this program.
However, an Offeror's must be able to provide the data referred to above if it chooses not to
implement a new data capacity.

Prior Authorization/Utilization Management

The selected Contractor shall operate a well-defined utilization management system that
ensures adequate control over high cost and high-risk services. This system must be

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compatible with and should promote timely access to necessary medical care. Offerors
should describe any services that will require prior authorization or approval and include
timeframes and standards for response to request for services requiring authorization. The
Offeror should also identify and include with their response criteria that will be used to
determine medical necessity. The Offeror should implement a case management program
and include a comprehensive description of it in the response. All criteria used must be
consistent with national guidelines, industry standards or promulgated by professional
medical associations or other expert committees. The Offeror should also describe how they
will ensure the availability of second opinions when there is a question concerning a
diagnosis or treatment.

The Authority is committed to ensuring that the uninsured population has access to necessary
health care services of high quality that are provided at the most appropriate level of care.
Therefore, the Authority may develop a prior authorization and utilization management
function within the Government.

Offerors should describe in their responses how they will assure that uninsured persons
receive necessary health care services at the most appropriate level of care.

Quality Improvement

Offerors must describe their quality improvement program. Annual quality improvement
plans should include at least one study that addresses the needs of the uninsured or the needs
of this program. At a minimum, the contractor must be able to demonstrate that it will
routinely assess and improve the appropriateness and quality of care delivered, and that it
will undertake efforts to ensure that the safety net system has been preserved through
implementation of this program. The Offeror must also describe clinical efforts that will be
undertaken to impact on health outcomes of the target population. At a minimum, the
Offeror should address strategies and activities it will take consistent with the goals of
Healthy People 2010. Additionally, the contractor must demonstrate that ancillary, specialty

care and hospitalization services needed by the uninsured are available to the uninsured on a
timely basis.

The Contractor will be required to establish a process to address complaints and grievances.
Offerors should describe how they will implement this requirement.

As part of its oversight of this program, the District intends to conduct periodic quality
reviews through an outside vendor. The annual quality reviews will evaluate accessibility,
availability, utilization and program costs. The quality assurance services will be designed to
ensure that the health care services provided to uninsured patients are appropriate and of high
quality; that the uninsured population has sufficient access to needed services and is not
underserved; and that persons with chronic health care problems, such as diabetes, heart
disease, HIV/AIDS and hypertension are identified and provided with appropriate preventive
and follow-up care whenever and to the fullest extent possible.

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@ Reporting Requirements

The Contractor will be required to submit reports and information to be specified by the
DCFRA. The Authority will specify the reporting periods and the due dates of all data
reports. The Contractor may be subject to financial penalties for failure to submit accurate
data in accordance with report submission timeframes.

The Contractor must have the capacity to transmit large amounts of data to the DCFRA via_
telephone or Internet. This data will include "dummy" claims data (i.e., HCFA 1500s and

UB-92s on a monthly basis) and client demographic data and may include service
authorization data. As such, the contractor must have the ability to collect, sort, query,
report, store and transmit all such information for each member served.

The Contractor must supply data to the Authority in formats that will permit the Authority to
measure the cost, utilization and types of services being provided. Contractors may be
subject to financial penalties for failure to comply with specified formats or for failure to
provide the Authority with access to data as specified by the Authority.

As specified above, the District will require the successful Offeror to track the eligibility,
enrollment and utilization of all services through the uninsured health care program.
Offerors must be prepared to provide the District with complete, detailed, patient-specific
UB-92, HCFA 1500 and demographic data in a computerized format on a monthly basis. The
Offeror should describe its ability to provide the District with monthly, quarterly and annual
reports that identify the persons served using social security numbers or other unique
identifiers and document the use and cost of services, in total and by type; show, key patterns
of use, cost, and illness; and identify important trends.

The Contractor shall submit reports according to the following timelines:

a. Annual reports shall be submitted within sixty (60 ) days following the last day of the
contract period;

b. Semiannual reports shall be submitted thirty (30) days following the last day of each
six-month period; ,

c. Quarterly reports shall be submitted thirty (30) days following the end of the
preceding quarter or by April 30, July 30, October 30, and January 30, assuming the
contract period coincides with the calendar year; and

d. Monthly reports shall be submitted thirty (30) days following the end of each month.

Failure to submit timely, accurate and comprehensive reports may result in reductions in the
Administrative Services Fee.

A list of required reports is included as Appendix J

@ Performance Standards

The Authority will hold the contractor responsible for the following performance standards and

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others mentioned or implied elsewhere in this RFP. These performance standards will be
evaluated periodically to determine the need for adjustments or revisions of the standard.

Element Standard | Corrective Action/
Sanction
Preventive health exams for persons with diabetes, | 85% Corrective action
hypertension, heart disease, etc. plan first quarter
then sanctions
80% of pregnant women begin prenatal care during the first | 80% Corrective action
thirteen (13) weeks of pregnancy plan for first two
quarters, sanction
thereafter
Referrals for specialty and ancillary care initiated outside | 95% Sanction
contractor’s facility completed within 2 weeks of referral
Reports are submitted in required format within timeframes | 95% Sanction after first
established by the Authority quarter
Reduction in inappropriate ER use 10% Corrective action
plan
Reduction in inappropmiate hospitalizations 10% Corrective action
plan
Achieve 10% increase in primary care visits 10% Corrective action
plan
Contractor obtains contracting authority approval for all} 100% Sanction
subcontracts above specified amounts
Primary care providers identified for uninsured persons 95% Corrective action
plan
Maintain health care services in geographic locations that are| 100% Sanction
reasonably accessible to the uninsured population
Uninsured persons are screened for their eligibility for Medicaid | 100% Sanction
and other third party resources
Requirements of block grant programs met 100% Sanction
Partnerships or coordination agreements completed with DC| 100% Corrective action
Public Schools, Commission of Mental Health, Department of plan
Corrections
Submission of annual quality improvement plan 100% Corrective action
plan
Complaints and grievances resolved to the satisfaction of the | 95% Correction action
patient and within reasonable timeframes plan

@ Any other administrative services directly requested or implied by other sections of this RFP

F.

Cost Proposal

The District of Columbia intends to pay for the administrative and health care services that are

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OC) specified in this RFP in a manner that will encourage them to be delivered on a high quality,
cost-effective basis. Accordingly, the structure of the methodology that will be used to pay the
Contractor is as follows:

1.

The Contractor will be required to provide the Administrative Services and the
Health Care Services described earlier in this Section.

The Total Budget for the First Contract Period will consist of (a) the Total
Administrative Services Budget, which will be established by multiplying the .
Monthly Administrative Fee (MAF) by the number of months in the First
Contract Period and (b) the Total Health Care Services Budget, which will be> ©
established by multiplying the Monthly Health Care Fee (MHCF) by the number
of months in the First Contract Period. The First Contract Period shall be defined
as the period extending from the Effective Date of the contract that is issued
pursuant to this RFP through the immediately following December 31, or through
the date that would create a First Contract Period equal to twelve (12) months.
The Second Contract Period shall be the twelve month period beginning
immediately after the end of the First Contract Period; and the Third, Fourth and
any subsequent contract periods shall respectively consist, unless specified
differently by the Authority, of the twelve month periods immediately following
the previous contract period.

The Offerors are required to propose the monthly dollar amount, exclusive of the
Incentive or Penalty Adjustment referred to below, that they are willing to accept
as payment if full for the Administrative Services that they are required to offer in
response to this RFP. This amount, which may be modified pursuant to
discussions and negotiations with the Offeror, including the submission of "best
and final" offers, will be known as the Monthly Administrative Fee. In the First
Contract Period, the MAF will be stated as an aggregate amount (e.g., $100,000
per month); however, in subsequent contract periods, as the data base supporting
this project becomes more robust, the Monthly Administrative Fee may be
converted from an aggregate amount into a "Per Member Per Month" (PMPM)
amount. The Total Administrative Services Budget for any contract period will
be the MAF multiplied by the number of months in the contract period. The
payment that will be made to the Contractor for Administrative Services during
any contract period will consist of:

a. A monthly payment of eighty-five percent (85%) of the agreed-
upon MAF; plus

b. An Administrative Services Reward or Penalty Adjustment

The Administrative Services Reward Adjustment will be a positive amount equal
to as much as fifteen percent (15%) of the Monthly Administrative Fee that is
agreed-upon by the Contractor for the contract period. The Administrative
Services Penalty Adjustment will be a negative amount equal to as much as
fifteen percent (15%) of the Monthly Administrative Fee that is agreed-upon by

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the Contractor for the contract period. The Authority will determine whether an
Administrative Services Reward or Penalty Adjustment is warranted based on the
performance of the Contractor in meeting the Administrative Services
requirements that are established in the contract. The relevant performance
requirements are generally described elsewhere in this RFP and will be
established more specifically by the Authority prior to the issuance of a contract.

The Administrative Services Reward or Penalty Adjustment, if any, will be
determined on a periodic basis (e.g., quarterly or semi-annually) depending on the
Contractor's performance in the previous time period that is the subject of the
adjustment. The adjustments will be paid to the Contractor on a lump-sum basis
or through an increase in the MAF in an upcoming contract period.

4. The Offerors are required to propose the monthly dollar amount, exclusive of the
Efficiency Adjustment and the Program Adjustment described below, that they
are willing to accept as payment for the Health Care Services they are required to
offer in response to this RFP. This amount, which may be modified pursuant to
discussions and negotiations with the Offerors, including the submission of "best
and final" offers, will be known as the Monthly Health Care Fee (MHCF). In the
First Contract Period, this amount will be stated as an aggregate amount (e.g., $3
million per month); provided, however, that in subsequent contract periods, as the
data base supporting this project becomes more robust, the Monthly Health Care
Fee may be converted into a "Per Member Per Month" (PMPM) amount. The
Total Health Care Services Budget for any contract period will be the MHCF
multiplied by the number of months in the contract period. The payment that will

be made to the Contractor for Health Care Services during any contract period
will consist of:

a. A monthly payment of ninety-five percent (95%) of the agreed-
upon MHCF;, plus
A Health Care Services Efficiency Adjustment; plus

C. A Health Care Services Program Adjustment.

53 The five percent (5%) difference between the agreed-upon MHCF and the
monthly payment will be used by the Authority to create a Contingency Fund that
will be available to fund budget excesses, extraordinary cost items, special
projects, studies, analyses or other activities that are judged by the Authority, in

its sole discretion, to be appropriate and consistent with the aims and objectives of
this project.

6. The Health Care Services Efficiency Adjustment (HCSEA) will be determined as
follows:

a. A specific time period of consecutive months, to be known as an
“Assessment Period", will be defined by the Authority. An
Assessment Period (AP) may be a Contract Period or a different

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period of time (e.g., a calendar quarter) specified by the Authority.
The computations described below pertain to any particular
Assessment Period.

b. The Health Care Services actually provided will be valued by
multiplying the number of medically necessary services rendered
by the related Fee Schedule

€. The resulting amount, plus a reasonable adjustment for "Incurred
But Not Reported Claims" (IBNR), will be the Health Care
Services Actual Cost ("Actual Cost").

d. The MHCF multiplied by the number of months in the contract
period will be the Total Health Care Services Budget ("THCSB").

e. The Total Health Care Services Budget will be compared to the
Actual Cost.

f. If the Actual Cost is less than the THCSB, the Contractor will
receive a positive Efficiency Adjustment: specifically, the MHCF
for the next time period will be reduced by fifty percent (50%) of
the first twenty-five percent (25%) difference, and by seventy-five
percent (75%) of any additional difference, between the Actual
Cost and the THCSB, thereby permitting the Contractor to share in
the savings.

g. If the Actual Cost exceeds the THCSB, the Contractor will receive
a negative Efficiency Adjustment: specifically, the MHCF for the
next time period will be increased by twenty-five percent (25%) of
the first twenty-five percent (25%) difference, and by fifty percent
(50%) of any additional difference, between the Actual Cost and
the THCSB, thereby requiring the Contractor to bear a portion of
the excess.

h. The Health Care Services Efficiency Adjustment may be applied to
the MHCF at any time when the Authority determines that the
Actual Cost for any time period has differed substantially from the
Total Health Care Services Budget for that time period after
reasonable adjustment for the expected impact of “Incurred But
Not Reported Services" (IBNR). The Efficiency Adjustment will
be made for the time period needed to recognize the savings or
excess from the previous period.

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1. The Health Care Services Efficiency Adjustment may be applied to
the MHCF at any time when the Authority determines that the
Actual Cost for any time period has differed substantially from the
Total Health Care Services Budget for that time period after
reasonable adjustment for the expected impact of "Incurred But
Not Reported Services" (IBNR).

Ts The Health Care Program Adjustment (HCPA) will be an additional amount,
equal to as much as five percent (5%) of the Total Health Care Services Budget .
for any contract period, that will be paid to the Contractor if. the Authority -
determines that the Contractor has met or exceeded the Health Care Services
requirements of the contract. The Health Care Program Adjustment, if any, will
be determined on a periodic basis (e.g., semi-annually) depending on the
Contractor's performance in the previous time period that is the subject of these
adjustments. The adjustments will be paid to the Contractor on a lump-sum basis
or through an increase in the MHCF in a future time period.

8. In the Cost Proposal, the Offeror must propose the Fee Schedule amounts that it
will accept as the bases for the assignment of cost values in the computation of
the Actual Cost of the Health Care Services that are provided to the Target
Population. The Fee Schedule amounts that are proposed (a) must not exceed
ninety-five percent (95%) of the provider's Medicaid payment rates for the
particular Contract Period unless the provider is a hospital in which case the fee
schedule proposed on behalf of the hospital must not exceed the Standard Rate
specified below. and (b) must be stated on the same basis as the Medicaid fee
schedule that is applicable to the providers for each type of health care service
specified below. These amounts may be modified by the Authority, pursuant to
discussions and negotiations with the Offeror, including the submission of "best
and final" offers, prior to the award of the contract. The proposed Fee Schedule
amounts must conform to the following instructions:

a. Inpatient Hospital Services: The Offeror must propose the dollar amount
that it will accept as the "Standard Rate" per inpatient discharge. The
Standard Rate that is offered can be different by hospital or uniform across
all hospitals that will be used by the Contractor but shall not exceed
$ 5900.00. The Standard Rate shall be inclusive of all hospital services
except for the professional services of physicians unless the Offeror
specifies that the professional services of physicians are included in the
Standard Rate and provides information about the amount of physician
compensation that is included in the Standard Rate. The Standard Rate
shall be equal to the cost value that the Offeror would assign to an
inpatient discharge with a relative weight of 1.0. The Casemix Index is
computed as the (Sum of the number of discharges multiplied by their
associated DRG weights) divided by the number of unweighted
discharges. The Contractor will be required to assign each discharged
patient to a "diagnosis related group" (DRG). The cost value of any

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particular inpatient hospital discharge will be computed by multiplying the
Standard Rate by the applicable DRG weight. The DRG Grouper that will
be used for the classification of inpatient discharges will be the same DRG
Grouper used by the Medicaid program and the relative weights to be
applied to the various DRGs will be those specified for use by the
Medicaid program for the particular time period. The Actual Cost of all of
the inpatient hospital services provided during any time period for which
these services are measured will be equal to the sum of the cost values
assigned in the manner specified above to each of the inpatient discharges
that occurred during the time period. a basis of cost determination for
each hospital. . .

a. Emergency Room (ER) Services: The Offeror must propose the
ER dollar amount (in the form of the percentage of the Medicaid
fee schedule) that it will accept as the cost value of ER services.

b. Ambulatory Surgery Services: The Offeror must propose the
ambulatory surgery dollar amount (in the form of the percentage of
the Medicaid fee schedule) that it will accept as the cost value of
ambulatory surgery services.

c. Community-Based Primary Care Clinic Services: The Offeror
must propose the community-based primary care clinic ambulatory
surgery dollar amount (in the form of the percentage of the
Medicaid fee schedule) that it will accept as the cost value of
community-based primary care clinic services.

d. Physician Services: The Offeror must propose the percentage of
the Medicaid Physician Fee Schedule that it will accept as the cost
value to be assigned to services provided by physicians. If, for
example, the Medicaid fee for a particular physician service were
$55.00, and the Offeror proposed and the Authority accepted 90%,
the cost value to be assigned would be $49.50.

e. Specialty Clinics: The Offeror must propose the specialty clinics
dollar amount (in the form of the percentage of the Medicaid fee
schedule) that it will accept as the cost value to be assigned to
services provided by physicians.

f. Other Health Care Services: The Offeror must propose the dollar
amount(s) (in the form of the percentage of the Medicaid fee
schedule) that it will accept as the cost value to be assigned to
these other health care services.

g. School Health Services: The Offeror must propose the dollar

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amount(s) that it will accept as payment in full for these health
care services.

9. In addition to specifying the Fee Schedule amounts that would be accepted as the
cost values of the Health Care Services provided under the contract, the Offeror
must specify in its Cost Proposal the dollar amounts that it would accept as the
Total Budget, including both the Total Administrative Services Budget and the
Total Health Care Budget, for the First Contract Period. At this time, the number
of months that will be included in the First Contract Period is uncertain, but may
be less than twelve, so the Offeror must specify the per month amount that it
would accept as its Total Budget/Month during the First Contract Period. The
Total Budget that the Offeror would accept for the First Contract Period will then
be determined by the Authority on the basis of the following formula:

Total Budget = (A/30 days) x B

where
A= The number of days in the First Contract Period and
B= The Per Month Amount that the Offeror is willing to accept as its

Total Budget/Month for the First Contract Period

If the number of months that are included in the First Contract Period is less than
nine (9), the Authority may apply a seasonality adjustment to reflect the expected
variation in health care expenses during the year. If a seasonality adjustment is to
be made, it will be specified before award of the contract. The First Contract
Period will not be longer than twelve (12) months.

The Offeror's Cost Proposal must also specify the Total Budget it will accept for
the Second Contract Period, the Third Contract Period and the Fourth Contract
Period, based on the following assumptions:

a. The provisions of this Section will be in force during these contract
periods

b. Each of these contract periods will consist of twelve (12) months

C. If any of these contract periods consists of less than or more than

twelve (12) months, the Total Budget/Month for that contract
period will be computed and the Total Budget for the contract
period will be established according to the following formula:

Total Budget = Total Budget/Month x Number of Months in the
Contract Period

The Offeror's Cost Proposal for each Contract Period must specify the Total

Budget, including the Total Administrative Services Budget and the Total Health
Care Services Budget, broken down by type of Health Care Service and program,

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10.

in the format specified below. As noted above, the Offeror's Cost Proposal must
be separated from the Offeror's Technical Proposal.

The Offeror's Cost Proposal must present the Total Budget that the Offeror will
accept for the First Contract Period. The presentation should provide the Total
Budget that the Offeror will accept and the other information requested below in
the aggregate across all of the types of health care programs covered in this RFP
(i.e., for Items 10 b., 1-8 below) combined, and separately for each of the types of
programs, in the following format: |

Total Budget/Month for First Contract Period

All Program Types

a. Total Administrative Services Budget/Month $
b. Total Health Care Services Budget/Month $
(1) Inpatient Hospital Services

(2)

(3)

(a) Standard Rate Per Discharge = $
(b) Assumed Casemix Index =
(c) Assumed Number of

Discharges/Month =
(d) Amount Per Month

(a) x (b) x (c)= So
ER Services
(a) Cost Amounv/ER Visit = $

(b) Assumed Number of ER Visits =
(c) Amount Per Month

(a) x (b) = $

Note: Offerors are encouraged but not required to submit information

showing their assumed distribution of ER visits across the ER revenue
codes.

Ambulatory Surgery
(a) Cost Amount/Visit

$
(b) Assumed Number of Visits $
(c) Amount Per Month $

Note: Those ambulatory surgery occasions when a patient receives more
than one surgical procedure should be counted as a single ambulatory
surgery visit. Offerors are encouraged but not required to submit

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(4)

(5)

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information showing their assumed distribution of visits across the eight
Medicare Ambulatory Surgery Categories (ASCs).

Physician Services

(a) Acceptable Percentage of Medicaid Fee
Schedule =

(b) Primary Care Physicians (PCPs)

Cost Amount Assumed Number Amount
Per Visit of Visits/Month Per Month
$ $

(c) Specialty Care Physicians (SCPs)

Cost Amount Assumed Number Amount
Per Visit of Visits/Month Per Month
$ $

(d) Other Physicians (e.g., hospital-based physicians)

Cost Amount Assumed Number Amount
Per Visit of Visits/Month Per Month
$ $

(e) All Physicians

Cost Amount Assumed Number Amount
Per Visit of Visits/Month Per Month
$ $

Note: The All Physicians entries should reflect the combination of
the entries for the PCPs, SCPs and Other Physicians.

Clinics

Cost Amount Assumed Number Amount
Per Visit of Visits/Month Per Month
$ $

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(6) Other Health Care Services
Amount Per Month $
(7) School Health Services

Amount Per Month §$

(8) Dental Health Services
Amount Per Month $

(9) Total Health Care Services Budget/Month
(This amount should equal the sum of the
Amount Per Month entries for Items 1-7 above
and should equal the Amount/Month entry for

10(b) above) $
c. Total Budget/Month for First Contract Period
Equals Item 10 a. + Item 10 b. $
11, The Offeror must also present in its Cost Proposal the Total Budget Per Month
that it will accept in the aggregate across all of the types of health care programs
covered in this RFP in the Second, Third and Fourth Contract Periods. The
Authority will multiply these amounts by the number of months in those Contract
Periods to establish the Total Budget that the Offeror will accept for each of these
contract periods. The following format should be used for this presentation:
Contract Total Administrative Total Health Total Budget % Over
Period Services Care Services Per Month Prior
Budget/Month Budget/Month Period
Second $ $ $
Third $ S $
Fourth $ $ $

The Offeror is permitted but is not required to provide more detail (e.g., by type
of health care program and/or by type of Health Care Service) regarding these
budget amounts for these Contract Periods. This additional information would be
helpful if the Offeror expects significant changes to occur in the proportions of
the Health Care Services budget that will be accounted for by its various
constituent elements (e.g., inpatient) and if the Offeror can also supply a brief
description of its rationale for these expected changes.

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SECTION III. INFORMATION REQUIRED FROM OFFERORS
This section provides instructions for preparing the submission, both technical and cost
proposals. Any proposal not responding fully to the requirements of this RFP may be
disqualified as non-responsive. Before the technical and cost proposals are reviewed, each
proposal will be reviewed to determine if all the mandatory requirements are present. Any
proposal not meeting the mandatory requirements may be disqualified.

A. Mandatory Requirements

@ Proposals must be received on or before 2:00 01/16/01 at the location specified in
SectionlofthisRFP.

# Acomplete response must be submitted using the format outlined in the paragraphs
that follow.

@ The transmittal letter must contain the signature of an official or employee with the
legal authority to bind the Offerors to the commitments made in the proposal.

@ The Offerors must meet all regulatory requirements necessary to perform the services
required under the contract.

@ Proposals must contain a table of contents listing all sections, figures and tables

@ Proposals must follow the format below:
Tab 1: Executive Summary
Tab 2: Corporate Background and Experience
Tab 3: Key Administrative Positions and Staffing Plan
Tab 4: Compliance with Scope of Work/Work Plan
Tab 5: Supporting Documentation
Tab 6: Cost Proposal
B. Transmittal Letter
The transmittal letter must be written on the Offeror’s official business letterhead and must bear

an original signature by an individual with legal authority to bind the Offeror . The transmittal
letter must also include the following information:

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12.

13.

Offerors are required to respond to this cost proposal using the methodology and
formats stated above. However, Offerors are invited to propose modifications
and/or alternative methods that they believe may better satisfy the objectives of
this RFP. Proposed modifications of the cost methodology may be submitted as
supplementary material and do not require duplicate submission of the other
material in the proposal.

Offerors should describe their experience in managing the care and controlling the
cost of services needed by uninsured or low income populations. Offerors should
describe the cost management methods they have used in the past and intend to -
apply in this project, as well as any new efforts they plan to implement in support
of the budgets they propose in their response.

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A statement to certify that the Offeror organization is not currently under
suspension or debarment by the District of Columbia any other state or the federal
government. ,

© Identification of the person who will serve as the primary contact for the
Authority’s Contracting Officer, that person’s address, telephone, FAX number
and e-mail address.

e A statement that acknowledges and agrees to abide by the procurement rules and
procedures, contract terms and conditions and all other rights reserved by the
Authority as specified in the RFP. Partial acceptance must clearly be indicated
with justifications provided.

e Offerors must also comply with all relevant licensure, certification and
registration requirements.

e A statement certifying that the prices in the proposal have been arrived at
independently and without consultation, communication or agreement for the
purposes of restricting competition; that the prices quoted in the cost proposal
have not been disclosed by the Offeror, and will not be disclosed prior to the
submission date; and that no attempt has been made by the Offeror to induce any
other person or firm to submit or not submit a proposal for the purpose of
restricting competition.

e If the Offeror proposes subcontractors, a statement that the prime contractor
accepts full responsibility for the performance of any partners or subcontractors.

© The Offeror’s assurance that the proposal shall remain in full force and effect for
at least one hundred eighty (180) days from the proposal due date specified in the
RFP or through the effective date of the operational contract resulting from this
RFP. All prices proposed by the Offeror must be firm for six months from the
due date of the proposals.

C. Volume I: Technical Proposal

This section includes instructions for preparing the technical proposal. Offerors must review the
instructions carefully to ensure adherence to RFP requirements. Failure to fully comply with
RFP requirements will result in disqualification.

Executive Summary

The executive summary should introduce the Offeror to the Authority in succinct and clear
terms. The Offeror should highlight the Offeror’s key strengths and provide an overview of the
Offeror’s ability to meet the requirements of the RFP. The executive summary should highlight
and summarize the contents of the Offerors response. Additionally, the executive summary
should provide sufficient information to ensure the Offeror's understanding of the District’s

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needs that generated the RFP, the District’s objectives in requesting the services, and the nature
and scope of the work involved. The response should clearly demonstrate the Offeror’s intent to
ensure that all care provided under this RFP is culturally and linguistically appropriate.
Additionally, the Offeror should discuss how they will ensure that residents of Wards 5, 6, and 7
have access to necessary health care services. The Offeror should also demonstrate its
understanding and knowledge of:

@ The economic, ethnic, racial, social, special needs, cultural, linguistic and community
climate in the project area;

Socioeconomic and physical and behavioral health issues of the target population;
@ The health care needs of the target population;
@ The importance of input from the community and advocacy groups

@ The importance of developing an integrated and coordinated health care delivery system
for the target population

@ The importance of outreach to the target population
@ The role of the private primary care safety net for the target population

@ The differences if any between the Medicaid population and the population served
through this RFP.

Background and Experience

The Offeror should describe the history and relevant experience of the Offeror and any
partners or subcontractors. Offerors should provide complete information on the ownership of
the company (names and percent of ownership), date the company was established; and the date
the company began operations. This same information should be provided for subcontractors.
Additionally, Offerors should provide the corporate address and the address of the business
entity if different from the corporate address. Corporate by-laws, articles of incorporation and
annual reports for the most recent three-(3) years should be included as an attachment to the
response to this RFP. The Offerors should provide the same information for all subcontractors.
The Offeror should demonstrate its financial ability to undertake a project of this size and to
minimize financial risk to the District. If the Offeror is a new corporation created to respond to
this RFP, the Offeror must submit the financial information requested above for each of the
partner/owners of the new corporation.

Offerors should describe experience they have had in serving populations the same or similar to
populations served through this RFP, including individuals with serious mental illnesses and/or
developmental disabilities, persons who are homeless, persons with addictions, and persons who
are dually diagnosed (mental health and any co-occurring condition). Offerors should also

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describe any experience in working with providers serving the population identified above. For
each experience identified, Offerors should provide:

Offerors should also describe any special techniques, skills or abilities that the Offeror considers
critical to accomplish the requirements outlined in this RFP. Offerors must be able to
demonstrate prior experience as described above or offer detailed explanation of the

qualifications or past experience that prepared the Offeror to assume responsibility for the scope
of work requested by this RFP.

Key administrative positions and staffing plan

This section should include a description of the Offeror’s current organizational structure and
proposed organizational structure for this project. Offerors must demonstrate that the proposed

organizational structure is comprehensive enough to include all of the functions required under
this RFP.

Offerors should identify Board of Directors, for both the Corporate and Local entity, and
describe the role of board members in governance and policy making. This section must include
information on how the Offeror plans to include consumers, persons in recovery and families in
the decision making process.

Offerors should identify the name and position of the person to negotiate the contract with The
Authority. Additionally, the Offeror should identify the name and position of the account
manager or the person who will have ultimate responsibility and accountability for the contract.

In this section Offerors should include the proposed project team, organization charts, names of
proposed key staff, job descriptions of key positions and resumes of all key staff, including
relevant licensure, registration or certification possessed. If individuals are not currently on staff,
the Offeror should indicate the time frame for hiring staff into key positions. For purposes of
this RFP, key positions are identified as:

@ Project manager or equivalent
@ Medical/Clinical Director
¢ Chief Financial Officer/Financial Director

Statement of Work

The District of Columbia is seeking a contractor who can provide a comprehensive and
integrated system of medical and health care services to the target population. Offerors should
be aware that responses will be evaluated on whether or not the Offeror demonstrates through
their response the ability to develop and implement a comprehensive, integrated and coordinated
system of care. Offerors who are not able to demonstrate a comprehensive, integrated and

coordinated system of care will be disqualified as unresponsive to the RFP and will not be
considered for award.

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SECTION VI. EVALUATION AND SELECTION PROCESS

A. EVALUATION COMMITTEE

The selection committee will be comprised of individuals selected by the Authority to evaluate
the responses. The selection committee will use a point formula during the review process to
score proposals that meet the mandatory criteria. Each member of the selection committee will
first score technical requirements by each of the criteria described. The full committee will then
convene to review and discuss these evaluations and combine the individual scores to arrive ata ~
composite technical score for each contractor. At this point, contractors with ‘an unacceptably ©
low technical score will be eliminated from further consideration.

Only contractors meeting the mandatory criteria will have their proposals evaluated and scored
for both technical qualifications and price. The following represents the principal selection
criteria, which will be considered during the evaluation process.

B. TECHNICAL QUALIFICATIONS: (Maximum Points - 500)

1. Offerors Qualifications (Maximum Points - 150)

@ The Offeror’s past experience and performance on comparable contracts
@ The Offeror’s knowledge and understanding of the needs of the Authority

a Offeror’s Proposed Personnel and Organizational Structure (100)

@ The quality of the contractor's professional and management personnel assigned to
support this service. The Authority will give up to fifty (50) preference

3. Approach (Maximum Points - 250)

@ Offeror’s compliance with requirements of the RFP and ability to fulfill the scope of
work,

C. PRICE

After the composite technical score for each contractor has been established additional points
will be added to the technical score based on the price bid. The maximum score for price will be
assigned to the contractor offering the lowest total all-inclusive maximum price. Offerors who
propose the most cost-effective use of funds will also receive higher points for the cost portion of
the response. Appropriate fractional scores will be assigned to other offerors.

D. EVALUATION CRITERIA

The evaluation criteria set forth below are arranged in descending order of importance.

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# Cost Proposals— The District will look favorably on those Offerors that propose
solutions that are most likely to hold expenditures within the agreed-upon budget, which
are realistic and which offer advantages relative to the cost proposals of other bidders.
Cost and price realism will be used to evaluate the Offeror’s proposals.

@ Work Statement—The Committee will evaluate the degree to which the Offeror’s
response meets the goals and objectives of the District in issuing this RFP. Preference
will be given to those proposals that maintain some level of service delivery on-site at the.
current location of D.C. General. Additionally, Offerors who propose to offer the full
range of services requested by this RFP will receive preference.

@ Key Administrative Positions and Staffing—Offerors will be evaluated on the sufficiency
of the proposed staffing to meet the needs of the target population. The staffing plan will
also be evaluated to determine that the proposed staffing is realistic and obtainable.
Additionally, the District will award preference to those Offerors agreeing to offer
positions to current employees of the PBC who meet position requirements and to those
Offerors who commit to the First Source Agreement requirements. (Appendix K).

@ Background and Experience—Offerors will be evaluated on the extent to which the
Offeror’s previous experience and organizational structure lends itself to meeting the
purpose of the RFP.

E. EVALUATION PROCESS

The Committee will evaluate each technical proposal using the evaluation criteria set forth
above. The Committee may request discussion with the Offeror regarding its proposal; if so,
these discussions will be documented and become part of the technical proposal. Only those
Offerors whose technical proposals are deemed reasonably acceptable for selected of award and
who are determined "responsible" shall be considered "Qualified Offerors.” Accordingly, if the
Committee, with the concurrence of the Project Officer, determines at any time that an Offeror is
not reasonably acceptable, or the Project Officer determines an Offeror not to be responsible, that
Offeror will be notified and the financial proposal will not be reviewed.

Following the completion of the technical evaluation of all Offerors, including discussions, the
Committee will rank each qualified Offeror’s technical proposal prior to reviewing sealed cost
proposals. The Committee may then enter into discussions after reviewing the cost proposals.
Cost and price realism will be used to evaluate the Offeror’s proposals. Cost and price realism is
reflected in the difference between an Offeror's proposed costs and the Authority's determination
of most probable costs that would be incurred by the solicitation's requirements. Differences
between the proposed costs and most probable costs may reflect an attempt to buy-in or a lack of
understanding of the requirements. Lack of cost realism may be reflected in the results of the
overall] evaluation.

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Then, if it is determined to be in the best interest of the District, the Authority may invite
Offerors to make final revisions to their technical and/or financial proposals through submission
of a Best and Final Offer.

The Committee shall recommend the Offeror whose overall proposal provides the most

advantageous offer to the District considering price and the evaluation criteria set forth in the
RFP.

The Authority will notify all Offerors of the outcome of the solicitation.

F. DISCUSSIONS

The Evaluation Committee may enter into discussions with qualified or potentially qualified
Offerors may be asked to participate in face to face discussions with the Committee concerning
their proposals. Discussions may also be conducted by telephone, mail, E-mail, or facsimile
transmission at the discretion of the Authority.

G. BEST AND FINAL OFFERS

When it is deemed in the best interest of the District, the Authority may permit qualified Offerors
to revise their initial proposals by submitting a Best And Final Offer (BAFO). The Authority
shall notify each qualified Offeror of the scope of the requested BAFO (Technical and/COST)
and shall establish a date and time for the Offeror’s submission. The Authority may consult with
and seek the recommendation of the Evaluation Committee dunng the BAFO process.

H. DEBRIEFING OF UNSUCCESSFUL OFFERORS'

The Authority at its own discretion may grant unsuccessful Offerors a debriefing meeting upon
their written request to the Authority.

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APPENDIX

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APPENDIX A CONTENTS OF OFFEROR’S LIBRARY

10.

. BPHC REPORT ON NEIGHBORHOOD HEALTH CLINICS

DHHS/HRSA PHYSICAL ASSESSMENT OF NEIGHBORHOOD HEALTH
CENTERS

REPORTS OF PBC TRANSITION TASK FORCE

@ UTILIZATION AND SCOPE OF SERVICE
@ FINANCIAL
¢ MODELS

CAMBIO REPORTS

CFO’S REPORT

MEMORANDUM OF UNDERSTANDING (PBC/DOH)

THE IMMUNIZATION OF SCHOOL STUDENTS ACT OF 1979
THE STUDENT HEALTH CARE ACT OF 1985

THE DISTRICT OF COLUMBIA PUBLIC SCHOOL NURSE ASSIGNMENT
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APPENDIX B
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Organizational Plan for Provision of Patient Care
PBC Regulation No. 106.08

General Surgery/Trauma (22N/S, 23S)

Intensive Care, Adult (SICU, MICU, CCU)

Internal Medicine and Oncology (43 N, 52 N/S)

Locked Ward (44N)

Matcmal/Child Health (Labor and Delivery, OB2, Nursery, Peds, NICU)
Substance Abuse (Unit 42 N)

Post Anesthesia Care Unit

Patient Services Departments :

Ambulatory Care Clinics (hospital-based medical, surgical, pediatric, obstetrics and gynecology,
podiatry, and specialty clinics)

Ambulatory Surgery

Anesthesiology

Audiology

Cardiac Catheterization Lab

Community Health Centers (including pediatrics, obstetrics and gynecology, medicine, dental,
and podiatry clinics)

Dental Clinic (hospital-based)

Diagnostic Center

Dialysis: Hemodialysis

Dietary Department

EEG Laboratory

Emergency Care Center- Level ] Trauma

HIV Center - now known as the Phoenix Center

Heart Station

Medicine

Neurology/Neurosurgery

Nuclear Medicine

Obstetrics and Gynecology

Ophthalmology

Orthopedics

Pathology and Laboratory Services

Pediatrics

Pharmacy

Physical Medicine and Rehabilitation

Psychiatry

Quality Management and Utilization Review

Radiology

Renal Dialysis Unit

Respiratory Care

Organizational Plan for Provision of Patient Care

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DCHH-PBC

INSTALL MODEL PATIENT CARE DOCUMENTATION

CODE

ALG

BOR

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Prepared for DCHH-PBC
AppSpec, Inc.
Confidential

09/27/00

HOSPITAL SERVICE

DESCRIPTION

Allergy/Immunology
Ambulatory Surgery
Audio logy

Border Baby

Cadaver

Cardiology

Cath Lab

Cardiac Care

CSH Conversion Recs
Community Health Clinic
Dental Hygiene
Dentistry
Dermatology
Diagnostics

Dialysis
Developmental Peds
EEG

Emergency Room
Endocrinology

Otolaryngolagy

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DCHH-PBC
INSTALL MODEL PATIENT CARE DOCUMENTATION

CODE DESCRIPTION
FAM Family Practice
GAS Gastrorentorology
GYN Gynecology
HEM Hematology
HND Ortho Hand Surgery
HSC HSCSN
HSS : Heart Station
IFD Infectious Diseases
HIS Infectious Health
LAB Laboratory

© MED Internal Medicine
MIC Medical Intensive Care
MTR Trauma
NBN Newbom Nursery
NEP Nephrology
NEU Neurology
NIC Neonatal Intensive Care
NRS Neurosurgery
NUC Nuclear Medicine
NUT Nutrition
OBS Obstetric

C) Prepared for DCHH-PBC XVI

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From:

DCHH-PBC
INSTALL MODEL PATIENT CARE DOCUMENTATION

CODE DESCRIPTION
occ Occupationa] Therapy
OMS Oral Surgery

ONC Oncology

OPH Ophthalmology

OPS Outpatient Surgery
ORT Orthopedics

OSV ‘. Observation

PCH Psychology

PCU Pulmonary Care

PDE Pediatric Dentistry
PED Pediatrics

PIL Pulmonary Function Lab
PHT Physical Therapy
PLS Plastic Surgery

PMR Physical Med/Rehab
POD Podiatry

PSY Psychiatry

RAD Radiology/Imaging
REC Recreational Therapy
RHE Rheumatology

RON Radiation/Oncology
RSP Peds Respigam
Prepared for DCHH-PBC Xvi

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DCHH-PBC
INSTALL MODEL PATIENT CARE DOCUMENTATION

CODE DESCRIPTION

SIC Surgical Intensive Care
SOs Social Services

SPE Speech

SUB Substance Abuse

SUR General Surgery

THS Cardio-Thorasic Surgery
TRA - Inpatient Trauma

URO Urology

Prepared for DCHH-PBC XVII

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APPENDIX C
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APPENDIX D
ocT=16-00 See 1,01-cv-00921-RWR Document 1 JFled-04/30/01 Page 128,6f 2241/54 Jor-$47

Organizational Plan for Provision of Patient Care

(> PBC Regulation No. 106.08

COMMUNITY SERVICES PROVIDED MD staff | AP staff RN ste! | LPN/NA | BT
HEALTH CENTER
Aoams Morgan, Ward 1 2250 Medica], Dental, Nutrition, 1.6MD 4MW 2 1NA
Chmmplain St, NW, M-F, 8:15am~ | OB/Gyn, Bilinguel Staff and Social 5 DDS
4:45 p.m. ' Services
Anacostia (Ward 6) 1328 W. Street, Dental, Medical, OB/GYN, 3 MD INP 4 3 LPN
NW Miawifery, Nutrition (WIC), 1 DDS 2MW INA
Hours: M, W, F Pedietrics, Pharmacy, Social
8:)Sa.m. 0 4:45 p.m. and T, TH 8:15 Services, Supplemental Food
a.m. to 8:45 p.m. and Saturday, 9 am Program
to I p.m.
Benning Heights (Wasd 7) Denwil, Laboratory, Medical, 4.8 MD 3.5 INA
46" and Benning Road, SE Nutrition (WIC) OB/GYN, 1DbDSs
Hours: 8:15 aum. to 4:45 p.m. Pediatrics, Social Services and
Supplemental Foods Program
Congress Heights Denwl, HIV counseling, Medical, 3 MD ) NP 4 ILPN
Wad § Nutrition, OB/Gyn, Midwifery, 1 DDS 2MW 3NA
3720 MLK Avenue Pediatrics, Pharmacy and Social
Hours M, T, Th and Fr Services
8:15 am. wo 4:45 pam; Wednesday,
8:15 to 8:45 p.m., and Ssturday 9:00
to 1:00 p.m.
Health Services for Children with Developmental Evaluations, birth 22 MD 2.5
Special Needs (Ward 6) to three yeors, Orthopedio,
1900 Mass. Avenuc, Bldg. 10 Nutritional, Occupational And
Hours 8:15 @1n. wW 4:45 p.n. Physical Therapy, Ophthalmology,
Speech Therapy, Audiology, Social
Wr Services, SSVCBF
Hunt Place (Ward 7) Dental, Nurition,(WIC) OB/GYN, | 3.6MD 1 NF 4 4NA
4130 Hunt Place, NE Midwifery, Pediatrics, Pharmacy, 1 DDS MW
Hours, 7:30 a.m. to 4:45 p.m., M-F Socie! Services, Speech and
Hearing, Stock's nest
Southwest(Ward 2) Dental, Medical, Pediatrics, 3.0 MD .. MW 4 4NA
850 Deleware Avenue, SW OB/GYN, Podiatry, Social 1.1 DDS
Hours 7:30 arn. to 4:45 p.m. Services, Nutrition, Financial 1 POD
Counseling, HIV Counseling,
Pharmscy ;

Organizational Plan for Provision of Patient Care

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Organizational Pian for Provision of Patient Care

C) PBC Regulation No. 106.08
Walker Jones(Ward 2) Dental, Medical Pediatrics, 3MD 3 1 LPN 1
1100 First Street, NW OB/GYN, Nutrition, Social 2 DDS 2NA
M, W, F 8:)5a.m. to 4:45 pm. T, Services, Pharmacy, HIV
Th 7:30 a.m. to 7:30 p.m. and Sal 9 Counseling
am. to | p.m.
Woodridge (Ward 5) Mcdical, Pediatrics, OB/GYN, 3.4 MD 2MW 3.5 2NA 1
2146 24® Place, NE Social services, Nutrition (WIC)
Hours: M-F 8:15 a.m. to 4:45 p.m.

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APPENDIX E
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D.C. Health and Hospital Public Benefit Corporation

Patient's Visits
By
WARD/ZIP CODE
INPATIENTS
WARD ZIP CODE # of VISITS PERCENTAGE ( %)
1 20009 232
20010 216
Total 448 4.61%
2
20007 15
20001 440
20004 9
20024 236
Total 700 7.21%
3 20008 7
20015 4
20016 5
Total 16 0.16%
4 20011 257
20012 38
20017 99
20317 |—
Total 394 4.06%
5 20002 1587
20018 183
20017 99
Total 1869 19.24%
6 20003 1218
20020 1484
Total 2702 27.82%
7 20019 2730
Total 2730 28.11%
8 20032 854
Total 854 8.79%
TOTAL INPATIENTS 9713 100.00%

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OUTPATIENTS
WARD ZIP CODE
1 20009 4521
20010 3553
Total 8074 5.96%
2 20007 188
20001 8906
20004 25
20024 5345
Total 14464 10.67%
3 20008 121
20015 129
20016 82
Total 332 0.25%
4 20011 6538
20012 766
20017 1975
20317|—
Total 9279 6.85%
5 20002 19552
20018 3577
20017 1975
Total 25104 18.53%
6 20003 11363
20020 21839
Total 33202 24.50%
7 20019 26311
Total 26311 19.42%
8 20032 18744
Total 18744 13.83%
TOTAL OUTPATIENTS 135510 100.00%

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EMERGENCY SERVICES
WARD ziP CODE
1 20009 1132
20010 948
Total 2080 4.45%
2 20007 64
20001 2251
20004 29
20024 2324
Total 4668 9.99%
3 20008 63
20015 32
20016 28
Total 123 0.26%
4 20011 1613
20012 705
20017 466
20317 1
Total 2785 5.96%
5 20002 8786
20018 803
20017 466
Total 10055 21.52%
6 20003 5295
20020 6809
Total 12104 25.90%
7 20019 11575
Total 11575 24.77%
8 20032 3341
Total 3341 7.15%
TOTAL EMERGENCY 46731 100.00%

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APPENDIX F
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District of Columbia Hospital Association
Patient Data System
1999 Data
District of Columbia General Hospital

DCHA’s Patient Data System includes information on all patients discharged from 14 District
hospitals. D.C. General Hospital has submitted information for all of 1999. Unfortunately
because of some technical information system problems, not all discharges included a
diagnosis or DRG. These discharges did have the payer information; the vast majority of these
patients without diagnoses are uninsured. Of those patients with diagnoses coded, DCHA has
run aggregated information about the most common primary, secondary and tertiary
diagnoses. For all payers, the most common diagnoses are the following:

Number of Patients Diagnosis (Primary, Secondary, Tertiary)

1188 Nondependent Abuse of Drugs*

842 Disorders of Fluid, Electrolyte & Acid-Base Balance

785 Essential Hypertension+

563 Diabetes Mellitus+

542 General Symptoms (Hallucinations, Collapse, Coma, etc.)"

487 Heart Failure

466 Single Liveborn

420 Pneumonia+

380 Drug Dependence’

365 HIV

363 Asthma+

358 Other Disorders of the Urethra & Urinary Tract

291 Outcome of Delivery

273 Other & Unspecified Anemias

266 Alcohol Dependence Syndrome’

260 Hypertensive Renal Disease+

260 Cardiac Diarythmias

233 Other Current Conditions in the Mother (complicating pregnancy,
childbirth or the puerperium (diabetes, thyroid, etc.)

223 Other Diseases of the Lung (emphysema)

195 Septicemia

10/5/00
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When the uninsured are separated out (of those for whom DCHA has diagnoses), the top
O twenty diagnoses are the following:

Number of Patients Diagnosis (Primary, Secondary or Tertiary)
729 Nondependent Abuse of Drugs”
392 Essential Hypertension+
357 Disorders of Fluid, Electrolyte and Acid-Base Balance
274 Single Liveborn
232 Diabetes Mellitus+
204 General Symptoms (Hallucinations, Collapse, Coma, etc.)*
193 Asthma+
188 Outcome of Delivery
181 Pneumonia, Organism Unspecified+
179 Drug Dependence*
153 Other Disorders of Urethra, and Urinary Tract
139 Heart Failure
@ 133 Other Current Conditions in the Mother (complicating pregnancy,
childbirth or the puerperium (diabetes, thyroid, etc.)
132 Alcohol Dependence Syndrome*
131 HIV
124 Other Unspecified Anemias
106 Need for Prophylactic Vaccination and Inoculation against single
disease
99 Candidiasis
91 Hypertensive Renal Disease+
87 Cardiac Diarythmias

Source: DCHA Patient Data System - 1999

It is notable that four of the top twenty (on both charts — of all payers and of uninsured only) are
related to drug and/or alcohol abuse (marked with *), and even some others may have a causal
relationship to alcohol and/or drug abuse. It is also important to note that another group of the

most common diagnoses for DCGH inpatients are “ambulatory sensitive” (marked with +): they
respond well to timely primary care (including hypertension, diabetes, asthma, and pneumonia).

. DCHA also calculated the costs of patients who must be hospitalized with ambulatory sensitive
@ conditions. At DCGH, these patients have an average cost per case of $7,396 (or $6.2 million
for 845 cases for whom we have diagnoses, because of the information system problem, this
cost could be as much as doubled — or some $12 million). The average cost per case of these
patients at four other similar hospitals is $9,695 (or $52.8 million for 5,444 cases). 10/5/00
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%v'1/0S6 , gsnqy ploidde
%9'1/SE0 | djeos/a0e,] UOISNJUO)-
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APPENDIX G
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D. C. GENERAL HOSPITAL
Payor and DRG
January - June 2000 Discharges

MDC % of % of %of ICAID %of COMM “%of |PEND ‘of % of Cily %of

DRG'S TEXT TOTALS ‘%ofTL JSELF* ORG |CAID DRG [CARE ORG |MCO ORG |" DRG |MCO DRG |CORR DRG JfAgn. DRG

4 _|Dis & Disorders of the Respiratory System 551] 123% 153] 27 8% 118] 214% 102] 185% 98} 17 8% 35) 6 4% 14) 25% 15] 27% 16] 29%

5 — |Dis & Disorders of the Circulatory System 627] 117% 141] 268% 92] 175% 194] 368% 16) 30% 44) 83% 4) 08% x} = 57% 8 11%

14 |Pregnancy, Childbirth & Puerpernum 433 96% 131] 303% 100) 231% 2) 05% 175] 40 4% 7] 39% 5) 12% 3} (07% Ol 00%
AboholDrug Use and AlcoholDrug-induced Organic

20 | Mantel Disorders 406 90% 312) 768% 27| 67% 40] 25% 23) «57% 14] 34% 4) 10% 7] 17% 5) 22%
Newboms and Other Neonates with Condi-tians

15 | Oniginating in the Perinatal Penod 312 69% 61] 196% 101] 324% 3} 10% 136] 436% 5} 16% 5) 16% i] 03% do] =00%
Niseases & Disorders of ine Skin, subcutaneous

9 _ | Tissue and Breast 274 61% 450] 547% 31] 113% 22| 80% 17] 62% 27} 99% 1} 04% 19] 6.9% 7] 26%
Endocrine, Nulntional and Melapolc Diseases and

40 |Disordars 27 53% 93] 392% 28] 11 B% 73) 308% 11] 46% 12] 5 1% 21 08% 15) 6% 3] 13%

4 |Dis, & disorders of the nervous sysem 220 49% 55} 25 0% 38) 173% 56] 255% 23} 105% 26) 118% 3] 14% 14] 6.4% 5] 2.3%

6 | Dis. & Disorders of the Digestive System 212 47% B4] 39.5% 42| 198% 32) 151% 18] 85% 10] 47% 2) 09% 20} 94% 4] 19%
Diseases & Disorders of Ine Muscub-skeblal System &

8 | Connective Tissue 209 47% 6] 459% 18} 8 6% 23] 139% 23) 110% 23} 110% 2] 10% i] 5.3% 7} 33%

25 _|Human Immunodeficiency Virus Infections 163 36% 46] 28 2% 64] 393% 10} 61% 6} 37% 2 12% 6) 37% 2a] 160% 3 18%

3 |Diseases & Disorders of the Ear, Nose, Mouth & Throat 158 35% 82) 519% 18) 144% 5] 32% 32} 203% 7) 44% i} 06% i] 70% 2) «13%

41 |Diseases & Disorders of the Kidney and Urinary Tract 445 32% 2i} 145% 34] 23.4% 48) 33 1% 7] 117% 7] 48% 2 14% 15] 10.3% 1 07%
Tiseases © Disorders of ine Hepalobilary system and

7 ~— (| Pancreas 132 29% 65) 492% 25} 189% 12 91% 10 76% 4 30% t 08% 1) 114% 0 00%

24 |Injury, Poisoning &Toxic Effects of Drugs 121 27% 55] 45 5% 7] 140% WW] 91% 14] 116% Wf} 91% 2 17% 10] 83% 1] 08%
Dis & Disorders of Bibod, bbod-lorming organs & .

46 |Immunelagioal Disorders 78 17% 25] 32 1% 14) 179% 13} 167% 7] 90% 3] 38% 1 13% 1) 14 1% 4] 91%
Diseases & Dicsrdars ol the Femae Reproduclive |

13. |System 74 16% 41} 564% 6] 8 1% 4] 54% 15} 20.3% 3) 41% i) 41% 2) 27% 0} 00%

18 | Infectious and Parasitic Diseases 62 14% 15) 242% 17) 27 4% 15] 242% 1} 177% 2} 312% o| =00% 1 16% 1 16%

99 | Other DRGs Associated w Al MDCs 53 12% it] 208% 14] 264% 15} 283% 5 9 4% 7] 132% 0 0 0% 0 00% 1 19%

aralive Diseases & Diswrders, & Poorly ;

{7 | Differentiated Neoplasms B 0.8% 6) 17 1% 20) 571% 3] 88% cl «600% 1) 29% 1} 29% 4] 11.4% a] 00%

24 | Mullipla Significant Trauma 24 05% 10] 417% 3) 12.5% 2] 83% 2] 83% 4] 167% o} = 00% 0} 00% 3] 125%

42 Diseases & Disorders of the Male Reproductive System 20 04% 10} 500% 2} 100% 1 50% 6} = 0% a] 150% 2] 100% 2} 100% 0} «00%
Factors Influencing Heal Status and Other Contacts

23 |with Health Services 18 04% 3] 167% 5| 27 8% 2) 1 t% 2] 111% 2) 1b 1% 1} 56% 3] 167% uO} =—00%

19 | Mental Diseases and Disorders 16 04% 5} 313% 1 63% 6] 375% l 63% 3] 18 B% 0 00% 0 00% 0 00%

2 |Diseases and disorders of the eye 1 02% 5} 455% 1] 91% 1] 91% of] 00% 1) 91% o} = 0% 2] 182% 1] 9 1%

22 |Bums 2 00% 1] 500% 0} = 0% oO 600% 0} 00% a} = 00% 0] 00% 1] 500% a] = 00%
Total 4493 400%]  1677| 37.3% 836) 18.6% 671] 14.9% 662] 147% 273, «6 1% 62) 1.4% 238] 53% 74) 16%

* Includes Medical Charties discharges

DCGH DRGs 2000 Jan-Jun MDC descend sort 092600. xis; 9/27/00

“In s Blue Cross discharges
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D.C. GENERAL HOSPITAL

PAYOR AND DRG

Jan. - June 2000 Discharges

* Includes Medical Charties discharges
- "Se Blue Cross discharges

9/27/00; DCGH ORGs-2000 Jan-Jun- o> mt @

Final
MDC prc: _||DRG'S TEXT TOTALS SELF" |carD care [ED — |comm.*|PENP Icorr [CTY
1 001 [001 CRANIOTOMY W/O TRAUMA 6 3 1 0 0 1 = 0 1 = 0
i 002 [002 CRANIOTOMY W/TRAUMA 4 0 0 1 1 2 0 0 0 os
1 [007 [007 NERVE P,C,O WITH CC 3 1 1 0 0 0 1 0 o)
+ 008 [008 NERVE P,C,O WO CC i 1 0 0 0 0 0 0 0 z
1 009 {009 SPINAL DISORDERS & INJURIES 3 2 0 0 0 1 0 0 0 ~
1 010 010 NERV SYS NEO WITH CC 3 0 0 1 0 2 0 0 0 =
1 |012  |012 DEGEN NERVE SYS DISORDERS 5 0 1 2 1 0 0 1 0 .
1 013 [013 MULT SCLEROSIS & CEREB ATAX 1 0 1 0 0 0 0 0 0
1 014. [014 SPEC CEREBROVAS WI0 TIA 34 5 7 17 2 2 0 1 0
1 015 [015 TIA & PRECEREBRAL OCCLUSION 9 4 0 2 0 2 0 1 0
1 017. [017 NONSP CEREBROVAS W/O CG 2 2 0 0 0 0 0 0 0
1 018  |018 NERVE P,C WITHCC 5 4 1 0 0 0 0 0 0 wes
i 019. 019 NERVE P,C WIO CG 3 1 0 0 1 0 0 1 0
1 020 [020 NERVOUS INF EXCEPT VIR MEN 3 2 0 1 0 0 0 0 0 :
1 021 [021 VIRAL MENINGITIS 1 0 1 0 0 0 0 0 0 m
1 022 1022 HYPERTENSIVE ENCEPHALOPATHY 1 1 0 0 0 0 0 0 0 -
1 023 [023 NONTRAUMATIC STUPOR & COMA 3 0 0 1 1 1 0 0 0
1 024 1024 SEIZ, HEADACHE 18+ WITH CC 47 7 "1 15 3 5 1 2 3
1 025 [025 SEIZ, HEADACHE 18+ W/O CC 24 5 5 7 3 0 0 4 0
1 026 [026 SEIZ, HEADACHE 0-17 18 2 4 0 9 2 1 0 0
1 027 1027 STUPOR & COMA, COMA > 1 HR 9 1 1 1 1 1 0 2 2).
1 028 028 STUPOR & COMA, < 1 HR 18+ WICC 3 1 1 1 0 0 0 0 0 =
i 029 [029 STUPOR & COMA, <1 HR 18+ W/O CC 3 2 0 1 0 0 0 0 0 =
1 030 [030 STUPOR & COMA, < 1 HR 0-17 1 0 1 0 0 0 0 0 0 =i
1 031 [031 CONCUSSION 18+ WITH CC 8 3 0 1 1 3 0 0 Oo] ts
+1032 [032 CONCUSSION 18+ W/O CC 9 5 0 1 0 3 0 0 0 i
1 1033. |033 CONCUSSION 0-17 2 1 1 0 0 0 0 0 0 i
1 1034 [034 NERVE (OTHER) WITH CC 6 2 1 2 0 0 0 1 0 ;
1 035 1035 NERVE (OTHER) W/O CC 3 0 0 2 0 1 0 0]. 0
2 1039 [039 LENS PROCEDURES 1 0 1 0 0 0 0 0 0
21044 1044 ACUTE MAJOR EYE INFECTIONS 1 0 0 0 0 0 0 0 1
2 1045 [045 NEUROLOGICAL EYE DISORDERS 2 1 0 0 0 1 0 0 0 a
> 1046 1046 OTHER EYE DISORDERS 18+ WITH CC 5 3 0 1 0 0 0 1 0

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D. C. GENERAL HOSPITAL
PAYOR AND DRG

Jan. - June 2000 Discharges

Final

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2 [047 |047 OTHER EYE DISORDERS 18+ W/O CC 2 1 0 0 = 0 0 “ 0 =

3 [049 [049 MAJOR HEAD/NECK PROCEDURE 2 0 2 0 0 0 0 ; 3
3.1051 1051 SALIVARY GLAND PROC EXC SIAL 1 0 0 0 4 0 0 0 5
3 1053 |053 SINUS/MASTOID PROCEDURES 18+ 6 4 1 0 0 0 0 3
3 |055 [055 MISC EAR/NOSE/THROAT PROCEDURES 2 2 0 0 0 0 0 ;
3 1056 [056 RHINOPLASTY 3 2 0 0 0 0 0 ; 5
31057 [057 TRA EX TON &/OR ADEN ONLY 16* 3 2 0 0 1 0 0 0 5
3 1060 [060 TONSIL &/OR ADENOID 0-17 1 0 0 0 1 0 0 0 0
3 1061 [061 MYRING W/TUBE INSERT 18+ 1 1 0 0 0 0 0 0 0
3 1063 [063 OTHER EARINOSE/THROAT OR PROC 26 22 1 1 1 1 0 0 0
3 064 1064 EAR/NOSE/THROAT MALIGNANCY 11 3 6 1 0 0 0 1 0
3 1065 065 DYSEQUILIBRIUM 2 1 0 4 0 0 0 0 0
3 \067 [067 EPIGLOTTITIS 1 1 0 0 0 0 0 0 0
31068 068 OTITIS MEDIA & URI 18+ WITH CC 6 3 1 0 1 1 0 0 0
3 1069 [069 OTITIS MEDIA & URI 18+ W/O CC 16 10 0 0 3 0 0 3 0
31070 070 OTITIS MEDIA & URI 0-17 23 5 3 0 12 2 1 0 0
310711071 LARYNGOTRACHEITIS 7 0 1 0 6 0 0 0 0
31072 1072 NASAL TRAUMA & DEFORMITY 5 2 1 2 0 0 0 0 0
31073 1073 OTHER EARINOSE/THROAT DX 18+ 4 2 0 0 0 1 0 1 0
3 lo74. 1074 OTHER EARINOSE/THROAT Dx 0-17 2 1 0 0 1 0 0 0 0
31168 1168 MOUTH PROCEDURES WITH CC 1 1 0 0 0 0 0 0 0
31185 1185 DENTAL+ORAL EXC EXT+RESTOR 18+ 22 14 0 0 1 1 0 4 2)
3 1186 1186 DENTAL+ORAL EXC EXT+RESTOR 0-17 7 1 2 0 3 1 0 0 0
311871187 DENTAL EXTRACTIONS & RESTORATION 6 5 0 0 1 0 0 0 0
41075 1075 MAJOR CHEST PROCEDURES 3 2 1 0 0 0 0 0 0
41076 1076 OTHR RESP SYS OR PRO WITH CC 7 2 1 2 0 0 1 0 1
41077 1077 OTHR RESP SYS OR PRO W/O CG 3 1 2 0 0 0 0 0 0
4 lo78 1078 PULMONARY EMBOLISM 17 5 2 2 3 4 1 0 0
410791079 RESP INFECT & INFL 18+ WITH CC 16 3 3 6 1 0 0 2 1
4 loa0 1080 RESP INFECT & INFL 18+ W/O CC 3 1 1 0 0 0 0 of 1
410821082 RESPIRATORY NEOPLASMS 22 6 8 3 0 2 1 1 1
41083. 1083 MAJOR CHEST TRAUMA WITH CC 1 0 1 0 0 0 0 0 0
4 lo84 1084 MAJOR CHEST TRAUMA WIO CC 1 1 0 0 0 0 0 0 0
41085 1085 PLEURAL EFFUSION WITH CC 5 2 1 1 0 1 0 0 0

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Includes Medical Charties discharges
“e "Ss Blue Cross discharges

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D.C. GENERAL HOSPITAL

PAYOR AND DRG
Jan. - June 2000 Discharges

Final
MDC Hac. llores TEXT TOTALS |sELF* |caipD  |CARE i comm." PEND lcorg CITY
4 |087  |087 PULMONARY EDEMA & RESP FAIL 1 1 2 2 3 1 “ 0 2 =
4 |088  |088 CHRON OBSTRUC PULMONARY DISEASE 29 7 7 i 0 3 1 0 ;
4 |089  |089 SIMP PNEUM & PLEURISY 18+ WICC 107 39 18 32 3 3 1 5 6
4 |090 090 SIMP PNEUM & PLEURISY 18+ W/O CG 34 7 4 7 2 0 1 0 0
4 1091 [091 SIMP PNEUM & PLEURISY 0-17 59 6 "1 0 37 2 3 0 0
4 [092 (092 INTERSTITIAL LUNG DSE WITH CC 7 1 1 3 0 0 0 0 2
4 1093 [093 INTERSTITIAL LUNG DSE WO CC 3 2 0 1 0 0 0 0 0
4 [094 1094 PNEUMOTHORAX WITH CG 10 5 1 0 1 1 0 1 1
4 |095 1095 PNEUMOTHORAX W/O CC 9 6 1 0 0 1 0 1 0
4 1096 1096 BRONCHITIS & ASTHMA 16+ WITH CC 36 1 13 4 4 3 0 2 1
4 097 [097 BRONCHITIS & ASTHMA 18+ W/O CC 31 15 9 2 2 1 2 0 0
4 1098 [098 BRONCHITIS & ASTHMA 0-17 70 7 17 0 39 5 2 0 0
4 1099 [099 RESP SIGNS & SYMPTOMS WITH CC 3 1 2 0 0 0 0 0 0
4 1100 [100 RESP SIGNS & SYMPTOMS W/O CC 1 0 0 0 0 To 0 0
4 1101 [101 OTHER RESP DIAG WITH CC 16 6 4 3 0 0 0 1 2
4 (102 |102 OTHER RESP DIAG W/O CC 6 1 1 0 2 2 0 0 0
4.1475 1475 RESP SYS DIAG W VENTILAT SUPPORT 42 5 7 23 1 5 1 0 0
51110 1110 MAJ CARDIOVASC PROC WICC 1 1 0 0 0 0 0 0 0
5 11131113 AMPUT CIRC DS EXC UP LIMB & TOE 2 0 1 0 0 0 1 0 0
511141114 UP LIMB & TOE AMPUT FOR CIRC DIS 5 2 1 2 0 0 0 0 0
511161116 OTH PAGE IMP/PTCA W COR STENT 1 0 0 1 0 0 0 0 0
5 1120 1120 OTHER CIRC SYS OR PRO 10 2 1 4 0 1 0 2 |.
51121 1121 CIRC DIS W AMI&MAJ COMP LIVE 20 1 2 15 1 1 0 0 0
5 11221122 CIRC DIS W AMI W/O MAJ COMP LIVE 6 3 0 0 0 3 0 0 0
51123 1123 CIRC DIS W AMI EXPIRED 3 0 0 3 0 0 0 0 0
511241124 CIRC EXC AMI W CATH & CMPLX DG 59 15 14 21 1 5 0 3 0
51125 1125 CIRC EXC AMI W CATH W/O CMPLX DG 20 5 5 5 0 2 1 1 1
511271127 HEART FAILURE & SHOCK 126 29 24 51 4 9 1 7 1
3 1129 1129 CARDIAC ARREST, UNEXPLAINED 2 0 0 1 0 1 0 0 0
51130 1130 PERIPHERAL VASC DS WITH CC 20 10 2 6 0 0 0 ol 2
511311131 PERIPHERAL VASC DS W/O CC 7 3 0 1 1 1 0 1 0
511321132 ATHEROSCLEROSIS WITH CC 22 2 5 9 0 3 0 3 0
5 11331133 ATHEROSCLEROSIS W/O CC 2 1 0 0 0 0 0 1 0
31134 1134 HYPERTENSION 16 5 2 5 1 1 0 2 0

* Includes Medical Charties discharges
“ "eo Blue Cross discharges

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D.C. GENERAL HOSPITAL

PAYOR AND DRG

Jan. - June 2000 Discharges

final

MDC onc. llDRo's TEXT TOTALS |sELF* |cAID |CARE nico comm."* PEND |corn = CTY

5 135 135 CARD CONG & VALV 18+ WITH CC 2 1 0 1 0 0 = 0 0 = 0
5 136 136 CARD CONG & VALV 18+ W/O CC 2 0 0 0 1 1 0 0 0
5 138 138 CARD ARR & CONDUCT DIS WITH CC 38 9 7 18 0 3 0 0 1
5 139 139 CARD ARR & CONDUCT DIS W/O CG 8 3 1 3 0 1 0 0 0
5 140 140 ANGINA PECTORIS 49 17 9 17 1 4 0 1 0
s 141 141 SYNCOPE & COLLAPSE WITH CC 18 3 4 5 1 3 0 1 1
5 142 142 SYNCOPE & COLLAPSE W/O CC 20 4 1 9 2 3 0 1 0
5 143 143 CHEST PAIN 21 8 5 5 1 2 0 0 0
3 144 144 OTHR CIR DIAG WITH CG 24 7 7 7 1 0 0 2 0
5 145 145 OTHR CIR DIAG W/O CC 2 1 0 0 1 0 0 0 0
5 478 478 OTHER VASCULAR PROC W CC 17 5 1 5 0 0 1 5 0
5 479 |479 OTHER VASCULAR PROC W/O CC 4 4 0 0 0 0 0 0 0
6 148 148 MAJOR SM+LG BOWEL PR WITH CC 12 5 4 2 1 0 0 0 0
6 149. +1149 MAJOR SM+LG BOWEL PR W/O CC 6 2 1 0 0 2 0 0 1
6 150 150 PERITONEAL ADHESIOLYSIS WITH CC 2 1 0 0 0 0 0 1 0
6 151 151 PERITONEAL ADHESIOLYSIS W/O CC 1 1 0 0 0 0 0 0 0
6 152 152 MINOR BOWEL PR WITH CC 2 1 0 0 0 1 0 0 0
6 153 153 MINOR BOWEL PR W/O CC 2 1 0 0 0 0 0 1 0
6 154 154 STOM,ESPH,DUO PROC 18+ WITH CC 6 2 2 1 0 0 1 0 0
6 157 157 ANAL & STOMAL PROC WITH CC 2 1 0 0 0 0 0 1 0
6 158 158 ANAL & STOMAL PROC W/O CC 7 2 2 1 1 0 0 1 0
6 159 159 HERN PROC EX ING&FEM 18+ WITH CC 5 2 0 1 1 0 0 0 1]
2 160 160 HERN PROC EX ING&FEM 18+ W/O CC 8 4 0 0 0 0 0 4 0
6 161 161 ING&FEM HERN PROC 18+ WITH CC 4 1 1 0 0 0 0 0 2
6 162 162 ING&FEM HERN PROC 18+ W/O CC 6 4 1 0 0 0 0 1 0
6 165 165 APPEND W/COMP PR DIAG W/O CC 1 1 0 0 0 0 0 0 0
6 167 167 APPEND W/O COMP PR DIAG W/O CC 1 0 0 0 1 0 0 0 0
6 170 170 OTH DIGESTIVE SYS WITH CC 2 1 1 0 0 0 0 0 0
6 171 171 OTH DIGESTIVE SYS W/O CC 2 1 1 0 0 0 0 0 0
6 172 172 DIGESTIVE MALIG WITH CC 6 1 2 2 0 1 0 0 0
6 174 474 GI HEMORRHAGE WITH CC 31 15 3 9 1 2 0 1 0
6 175 175 GI HEMORRHAGE W/O CC 6 4 0 1 0 1 0 0 0
6 176 476 COMPLICATED PEPTIC ULCER 2 f 0 0 0 1 0 0 0
6 177 177 UNCOMP PEPTIC ULCER WITH CC 2 1 1 0 0 0 0 0 0

* Includes Medical Charties discharges
* "@ Blue Cross discharges

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PAYOR AND DRG
Jan. - June 2000 Discharges

Final
MDC Ina: |IDRG'S TEXT ToTaLs |seLF* |caip |care |CAID como.:* PEND. “|corr CITY
MCO CAID* AGEN

6 178 178 UNCOMP PEPTIC ULCER W/O CC 2 2 0 0 0 0 0 0 0
6 179 179 INFLAMMATORY BOWEL DISEASE 2 2 0 0 0 0 0 0 0
6 180 180 GI OBSTRUCTION WITH CC 4 2 0 2 0 0 0 0 0
6 181 181 Gl OBSTRUCTION W/O CC 3 2 0 1 0 0 0 0 0
6 182 182 ES,GAS+MI DG 18+ WITH CC 25 10 6 4 1 2 0 2

6 183 183 ES,GAS+MI DG 18+ W/O CC 15 7 3 1 2 0 1 1 ;
6 184 184 ES,GAS+MI DIGEST 0-17 17 2 6 0 9 0 0 0 0
a 188 188 OTH DIGEST SYS DIAG 18+ WITH CC 17 4 6 4 1 0 0 2 0
3 189 189 OTH DIGEST SYS DIAG 18+ W/O CC 11 1 2 3 0 0 0 5 0
7 191 191 PANCREAS/LIVER PROCEDURES W CC 4 2 2 0 0 0 0 0 0
7 193 193 BIL TR PROC EX ONLY CHOLEC WICC 1 1 0 0 0 0 0 0 0
7 197 197 CHOL W/O CDE WITH CC 3 1 0 0 1 1 0 0 0
7 200 1200 HEPATOBIL DIAG PROC NONMALIG 1 1 0 0 0 0 0 0 0
7 201 201 HEPATOBIL OR PANC O.R. PROC 1 1 0 0 0 0 0 0 0
7 202. 1202 CIRRHOSIS & ALCOHOL HEPATITIS 34 12 13 4 0 1 0 4 0
7 203. 1203 MALIG OF HEPAT SYS OR PANCREAS 4 2 0 1 0 0 0 1 0
7 204.1204 DIS OF PANCREAS EXC MALIG 46 29 7 3 1 1 0 5 0
7 205 ‘1205 DIS OF LIV EX MA,CR,HEP WITH CC 18 8 1 1 2 1 1 4 0
7 206 1206 DIS OF LIV EX MA,CR,HEP W/O CC 2 1 0 0 1 0 0 0 0
7 207. _~*|207 DIS BIL TRCT WITH CC 5 1 1 3 0 0 0 0 0
7 208 |208 DIS BIL TRCT W/O CC 3 0 1 0 2 0 0 0 0
7 493. 1493 LAPAROSCOPIC CHOL W/O CDE CC 5 5 0 0 0 0 0 0 0
: 494. 1494 LAPAROSCOPIC CHOL W/O CDE W/O CC 5 1 0 0 3 0 0 1 0
8 209 1209 MAJ JOINT+LIMB REATT RX LOW EXT 4 1 0 3 0 0 0 0 0
8 210. |210 HIP+FEM EX MAJ JNT 18+ WITH CC 11 3 1 3 1 1 0 1 1
8 211 211 HIP+FEM EX MAJ JNT 18+ W/O CC 14 7 1 1 2 3 0 0 0
8 213. +1213 AMP MUSCU & CONN TISSUE DIS 3 2 1 0 0 0 0 0 0
8 216 1216 BIOP MUSCUL SYS & CONN TISUE 1 0 1 0 0 0 0 0 0
8 217. 1217 DEBR+SKIN GRAFT EXCEPT HAND 7 2 2 2 1 0 0 0 0
8 [218 1218 LOW EXT EX HP,FT,FM 18+ WITH CC 1 6 0 0 1 2 0 0 2
8 219 |219 LOW EXT EX HP,FT,FE 18+ W/O CC 17 8 1 3 0 5 0 0 0
8 220. +|220 LOW EXT EX HP,FT,FE 0-17 1 0 0 0 1 0 0 0 0
8 223. 1223 MAJ SH/ELB PROC/OTH UP EXT W CC 2 1 0 0 0 0 0 0 1
8 224. |224 MAJ SH/ELB RX/OTH UP EXT W/O CC 8 5 0 0 3 0 0 0 0

* Includes Medical Charties discharges

“a "“@ Blue Cross discharges

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Case 1:01

D.C. GENERAL HOSPITAL
PAYOR AND DRG

Jan. - June 2000 Discharges

* Includes Medical Charties discharges
“ "oe Blue Cross discharges

Final ede
MDC llorc: _|[oRG'S TEXT Totats |seLFe |caip |carE [SD |comm.: | Icorr OS “Es
8 _|225 _ |225 FOOT PROCEDURES ; ; 7 - ; - fo
8 226 |226 SOFT TISSUE PROC WITH CG 2 0 0 2 0 0 0 0 0
8 227. ~+|227 SOFT TISSUE PROC W/O CC 4 3 0 0 0 0 0 1 0
8 228 [228 MA THIJNT RX/YOTH HND/WR PR WICC 2 2 0 0 0 0 0 0
8 229. |229 HAND PROC EXC MAJ JNT W/O CC 2 1 0 0 0 0 0 1 5
8 230 |230 LOC EXC&REM INT FX DEV HP&FEM 2 2 0 0 0 0 0 0 ;
8 231 231 LOC EXC&REM INT FX DEV EX HP&FEM 8 3 0 2 0 1 1 1 5
8 233. |233 MUSC&CONN TIS OR PROC WITH CC 1 1 0 0 0 0 0 0 0
8 234  |234 MUSC&CONN TIS OR PROC W/O CC 1 0 0 0 0 1 0 0 0
8 235. ~~ |235 FRACTURES OF FEMUR 4 1 1 0 1 0 0 1 0
8 236 |236 FRACTURES HIP & PELVIS 2 1 0 0 1 0 0 0 0
8 237. 1237 SPRN,STRN&DISLOC HIP,PELV, THIGH 1 1 0 0 0 0 0 0 0
8 238 (238 OSTEOMYELITIS 1 0 1 0 0 0 0 0 0 =
8 239 1239 PATH FRAC&MUSC&CONN TISSUE MALIG 3 1 1 1 0 0 0 0 0 -
8 240. |240 CONN TISSUE DIS WITH CC 2 1 0 1 0 0 0 0 0
8 241 241 CONN TISSUE DIS W/O CC 1 0 0 1 0 0 0 0 0
8 242 |242 SEPTIC ARTHRITIS 2 1 0 0 0 0 0 0 1
8 943. |243 MEDICAL BACK PROBLEMS 14 8 2 1 1 1 0 1 0
8 244. 1244 BONE DS&SPEC ARTHROPATH WITH CC 4 0 0 4 0 0 0 0 0
8 245 1245 BONE DS&SPEC ARTHROPATH W/O CC 1 0 0 1 0 0 0 0 0
8 2471247 SIGNS&SYMPTOMS MUSC&CONN TISSUE 9 5 0 0 2 2 0 0 0
8 248 [248 TENDONITIS, MYOSITIS & BURSITIS 6 1 1 1 0 1 0 2 o|
8 250 1250 FX/SPR/STRIDIS FRARM,HD,FT W/CC 5 3 0 0 0 2 0 0 0
8 251 251 FXISPR/STRIDIS FRARM,HD,FT WO CC 6 6 0 0 0 0 0 0 0 2:
8 252 252 FX/SPR/STR/DIS FRARM,HD,FT 0-17 1 0 0 0 0 1 0 0 0 =
8 253. 1253 FX/SP/STRIDIS UPAR,LOLG 18+ W CC 10 4 1 2 0 2 0 0 1 ne
8 254 1254 FX/SPR/STR UPAR,LOLG 18+ W/O CC 13 6 2 0 3 1 0 0 1
8 755. 1255 FX/SPR/STR UPAR,LOLG X FT 0-17 5 1 0 0 4 0 0 0 0
8 256 1256 OTHER MUSC & CONN TISSUE DIAG 6 5 0 1 0 0 0 0 0
8 1499 1499 BACK/NECK PROC EX SP FUS W CC 2 1 0 0 0 0 0 1 0
8 501 501 KNEE PROC W PDX INFEC W CC 2 0 1 0 0 0 1 0 0
8 503.1503 KNEE PROC W/O PDX INFEC 1 0 0 0 0 0 0 1 0
9 257. 1257 TOTAL MAST FOR MALIG WITH CC 5 1 3 1 0 0 0 0 0
9 358 1258 TOTAL MAST FOR MALIG W/O CC 4 4 0 0 0 0 0 0 0

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D. C. GENERAL HOSPITAL

PAYOR AND DRG

Jan. - June 2000 Discharges

Includes Medical Charties discharges
“e "Se Blue Cross discharges

9/27100; DCGH DRGs-2000 Jan-Jun- on. tpt

, Pinal
MDC |lprc: _||DRG'S TEXT TOTALS |sELF* |caID {CARE ae comm.** |FEND .Icorr = JOTY
9 259  |259 SUBTOTAL MAST FOR MALIG WITH CG 1 0 0 1 = 0 0 - 0 =
9 261 [261 BREAST NONMALIG EX BIO+LOC EX 1 1 0 0 0 0 0 ; ;
9 262 |262 BREAST BIO&LOC EX NON-MALIG 2 0 1 0 7 : 0 LE.
9 263 [263 SK GFT &/OR DEBR UL.CEL WITH CG 6 3 1 2 0 0 0 0 :
9 264 [264 SK GFT &/OR DEBR UL,CEL W/O CG 2 0 1 0 0 0 0 5 :
9 265  |265 SK GFT &/OR DEBR X ULICEL W CG 2 2 0 0 0 0 0 5 ;
9 266 |266 SK GFT &/OR DEBR X ULICEL W/O CG 5 3 1 0 0 1 0 0 ;
9 267 + |267 PERIANAL & PILONIDAL PROC 3 2 0 0 0 0 0 1 0 :
J 269  |269 OTH SK SBCT TIS&BST PRO WITH CC 4 2 1 0 0 0 0 0 1
9 270  |270 OTH SK SBCT TIS&BST PRO W/O CC 1" 6 1 0 0 4 0 0 0
9 2711271 SKIN ULCERS 13 7 1 3 0 0 0 1 1
9 272 |272 MAJ SKIN DISORDERS WITH CC 2 2 0 0 0 0 0 0 0
9 273. +1273 MAJ SKIN DISORDERS W/O CC 1 1 0 0 0 0 0 0 0
9 274. |274 MALIG BRST DISORDERS WITH CG 2 0 1 1 0 0 0 0 0
9 276 |276 NON-MALIGNANT BREAST DISORDERS 1 0 1 0 0 0 0 0 0
9 277‘ |277 CELLULITIS 18+ WITH CG 42 26 5 3 2 0 0 4 2
9 278 |278 CELLULITIS 18+ W/O CC 29 19 1 4 1 1 0 2 1
9 279 |279 CELLULITIS 0-17 8 2 3 0 1 1 0 1 0
9 280 1280 TRAUM SKIN/SBCT TI&BR 18+ W/CC a7 25 5 0 2 3 0 2 0
9 281 |281 TRAUM SKIN/SBCT TI&BR 18+ W/O CC 69 36 5 ry 3 13 0 4 1
9 282  |282 TRAUM SKIN/SBCT TI&BR 0-17 12 4 0 0 6 2 0 0 0
9 283 1283 MINOR SKIN DISORDERS WITH CC 4 1 0 0 0 0 1 2 Oo}
3 284. |284 MINOR SKIN DISORDERS W/O CC 8 3 0 0 2 2 0 0 1 =
10 ~©|285 285 AMP,LO LMB,END,NUT&MET DIS 1 1 0 0 0 0 0 0 0 a
10. [287 |287 GFT&DBD,ENDO,NUT&MET DIS 1 1 0 0 0 0 0 0 0
40.1290. |290 THYROID PROCEDURES 5 3 1 0 0 0 0 1 0
10 1294  |294 DIABETES 36+ 122 52 2 37 2 6 0 1 2
10. 1295 |295 DIABETES 0-35 8 7 0 0 0 1 0 0 0
10 _|296 _|296 NUT&META DISORDERS 18+ WITH CC 55 14 7 25 a 2 1 2 1 ;
10. 1297. |297 NUT&META DISORDERS 18+ W/O CC 24 8 6 8 0 1 1 0 0
10. |298  |298 NUT&META DISORDERS 0-17 10 2 1 1 4 2 0 0 0 i
10.1300. |300 ENDOCRINE DISORDERS WITH CC 7 4 1 1 1 0 0 0 0
10.1301 |301 ENDOCRINE DISORDERS W/O CC 4 1 0 1 1 0 0 1 0
11.1303  |303 KID,URETER&MAJ BLA PRO FOR NEO 2 1 0 1 0 0 0 0 0

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Case 1:01

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PAYOR AND DRG
Jan, - June 2000 Discharges
moc {Pn CAID
DRG: |lDRG'S TEXT TOTALS |SELF* |cAID CARE |“E0 — |[coMM."* can viGorr |CIEY. =

11 304 304 KID,URETER&MAJ BLA N-MAL W CC 1 1 0 0 0 0 = 0 0 = 0
11 305 305 KID, URETER&MAJ BLA N-MAL W/O CC 1 0 0 0 1 0 0 0 0
11 308 308 MINOR BLADDER PROC WITH CC 1 0 0 0 0 0 0 1 0
11 309 309 MINOR BLADDER PROC W/O CC 1 0 0 0 0 0 0 1
11 310 310 TRANSURETHRAL PROC WITH CC 1 0 0 0 0 0 0 1 S
11 315 315 KID+URIN TRACT O.R. PROCEDURES 12 0 5 1 2 1 0 3
11 316 316 RENAL FAILURE ‘49 7 14 13 2 5 0 7 1
14 320 320 KID&URIN TRACT INF 18+ WITH CC 44 2 10 27 3 0 1 1 0
i1 321 321 KID&URIN TRACT INF 18+ W/O CC 14 4 3 2 1 1 0 0 0
11 322 322 KID&URIN TRACT INF 0-17 12 3 1 0 8 0 0 0 0
11 323 323 URINARY STONE W CC &/OR ESWL 2 0 1 0 0 0 1 0 0
11 331 331 KID&URIN TRACT DIAG 18+ WITH CC 7 2 0 4 0 0 0 1 0
11 332 332 KID&URIN TRACT DIAG 18+ W/O CC 1 1 0 0 0 0 0 0 0
12 334 334 MAJ MALE PELV PROC WITH CC 1 1 0 0 0 0 0 0 0
12 335 335 MAJ MALE PELV PROC W/O CC 3 0 1 0 0 0 0 2 0
12 337 337 TRANSURETHR PROSTATECTOMY W/O CC 3 3 0 0 0 0 0 0 0
12 339 339 TESTES PROC NON-MALIG 18+ 1 0 0 1 0 0 0 0 0
12 341 341 PENIS PROCEDURES 2 1 0 0 0 1 0 0 0
12 345 345 MALE REPRO O.R. PROC NON-MALIG 1 0 1 0 0 0 0 0 0
12 346 346 MALIGNANCY, MALE REPRO WITH CC 2 0 0 0 0 0 2 0 0
12 347 347 MALIGNANCY, MALE REPRO W/O CC 1 1 0 0 0 0 0 0 0
12 350 350 INFLAMMATION OF MALE REPRO SYS 6 4 0 0 0 2 0 0 0}.

3 354 354 UTER,ADNEX PR FOR NON-MAL W CC 1 1 0 0 0 0 0 0 0
13 355 355 UTER,ADNEX PR FOR NON-MAL W/O CC 1 1 0 0 0 0 0 0 0
13 357 357 UTER,ADNEX PROC FOR MALIG 2 1 0 0 0 0 0 1 0
13 358 358 UTER,ADNEX NON-MALIG WITH CC 9 8 0 1 0 0 0 0 0
13 359 359 UTER,ADNEX NON-MALIG W/O CC 24 17 2 1 3 1 0 0 0
13 360 360 VAGINA,CERVIX&VULVA PROCEDURE 1 1 0 0 0 0 0 0 0
13 364 364 D+C, CONIZ EXCEPT MALIG 2 0 0 0 0 0 1 1 0
13 365 365 FEM REPRO SYS O.R. PROCEDURES 4 4 0 0 0 0 0 0 0
13 368 368 INFECT, FEMALE REPRO SYS 21 7 3 1 7 1 2 0 0
13 369 369 MENSTRUAL & OTHER FEM REPRO DIS 9 1 1 1 5 1 0 0 0
14 370 370 C SECTION WITH CC 24 6 9 0 7 1 0 1 0
14 371 371 C SECTION W/O CC 60 15 15 1 27 2 0 0 0

* Includes Medical Charties discharges

+ "oe Blue Cross discharges

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Case 1:01

D. C. GENERAL HOSPITAL

PAYOR AND DRG

Jan. - June 2000 Discharges

moc {fina . : CAID PEND
prc: |lprc's TEXT TOTALS |SELF* |CAID |CARE NCO COMM."*| 05 [CORR erry

14 -|372 372 VAGINAL DELIVERY W:COMP DIAG 34 7 1 0 15 0 1 0 “ 0
14 ~—«[373 373 VAGINAL DELIVERY W/O COMP DIAG 174 47 42 1 74 8 1 1 0
14—«|374 374 VAGINAL DELIVERY W STER &/OR D+G 24 7 4 0 13 0 0 0 0
14 [376 376 POSTPART & POSTABORT DIAG W/O PR 7 1 1 0 5 0 0 0 0
14 +«+(377 377 POSTPART & POSTABORT DIAG W OR 1 1 0 0 0 0 0 0 0
14-1378 378 ECTOPIC PREGNANCY 5 2 0 0 3 0 0 0 0
14 1379 379 THREATENED ABORTION 8 2 1 0 5 0 0 0 0
14/380 380 ABORTION W/O D&C 6 0 2 0 2 0 2 0 0
14: [381 381 ABORT W D&C, ASP CUR/HYSTEROTOMY 40 20 4 0 11 3 1 1 0
14 (382 382 FALSE LABOR 1 0 0 0 0 1 0 0 0
14 [383 383 ANTEPARTUM DIAG W MED COMPL 33 15 7 0 10 1 0 0 0
14 [384 384 ANTEPARTUM DIAG W/O MED COMPL 16 8 4 0 3 1 0 0 0
15 (385 385 NEONATES, DIED OR TRANSFERRED 8 3 4 0 1 0 0 0 0
15 |386 386 EXTR IMMATURITY OR RDS, NEONATE 16 4 5 0 7 0 0 0 0
15 |387 387 PREMATURITY W MAJ PROB 18 2 9 1 6 0 0 0 0
15 |388 388 PREMATURITY W/O MAJ PROB 13 3 5 0 5 0 0 0 0
15 |389 389 FULL TERM NEONATE W MAJ PROB 75 17 21 1 32 2 2 0 0
15 1390 390 NEONATE W OTHER SIGNIFICANT PROB 106 20 35 1 46 2 1 1 0
15 1391 391 NORMAL NEWBORN 75 12 22 0 38 1 2 0 0
15/470 470 UNGROUPABLE 1 0 0 0 1 0 0 0 0
16 ~—-[392 392 SPLENECTOMY 18+ 2 2 0 0 0 0 0 0 0
16 1394 394 OR PROC OF BLOOD&BLOOD FORM ORG 1 0 0 0 1 0 0 0 0}
“6 [395 395 RED BLD CELL DIS 18+ 52 18 13 8 2 2 0 7 2
16 |396 396 RED BLD CELL DIS 0-17 3 0 0 1 2 0 0 0 0
16 |397 397 COAGULATION DISORDERS 7 2 1 0 1 0 0 3 0
16 |398 398 RETICULO&IMMUNITY DIS WITH CC 9 1 0 4 0 1 1 1 1
16 (399 399 RETICULO&IMMUNITY DiS W/O CC 4 2 0 0 1 0 0 0 1
17 —«*(401 401 LYMPH/LEUK W O.R. PROC W CC 1 0 0 0 0 0 0 1 0
17. —-|403 403 LYMPH/LEUK WITH CC 3 1 1 0 0 0 0 1 0
17 ~—«([408 408 MYELO DIS W MIN O.R. PR 1 0 0 0 0 0 0 1 0
17 ~‘|409 409 RADIOTHERAPY 1 0 1 0 0 0 0 0 0
17.~—«*(410 410 CHEMO W/O AC LEUK AS SECON DX 25 5 17 3 0 0 0 0 0
17~—«(413 413 OTH MYELOPROLIF DIS WITH CC 2 0 1 0 0 0 0 1 0
17.—«(414 414 OTH MYELOPROLIF DIS W/O CC 1 0 0 0 0 0 1 0 0

includes Medical Charties discharges
ms " 6 Blue Cross discharges

9/27/00; OCGH DRGs-2000 Jan-Jun- oo: pl

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D. ©. GENERAL HOSPITAL

PAYOR AND DRG
Jan. - June 2000 Discharges

Final
MDC Iino. llores TEXT TOTALS |SELF* |CAID |CARE os COMM."* ba corr |Cl7¥
17 |473. 1473 ACUTE LEUK W/O MAJ OR PROC 18+ 1 0 0 0 0 1 0 0 = 0
18 [415 — |415 O.R. PROC INFECT & PARASIT DIS 7 4 2 1 0 0 0 0 0
18 |416 1416 SEPTICEMIA 18+ 27 5 8 2 0 1 0 1 0
18 417: [417 SEPTICEMIA 0-17 10 1 5 0 4 0 0 0 0
18 |418 1418 POST OP & POST-TRAUMA INFECT 3 2 1 0 0 0 0 0 0
18 |419 1419 FEVER UNKNOWN ORIG 18+ WITH CC 3 1 1 1 0 0 0 0 0
18 |420 [420 FEVER UNKNOWN ORIG 18+ W/O CC 1 0 0 0 0 1 0 0 0
18 |421 [421 VIRAL ILLNESS 18+ 2 0 0 1 1 0 0 0 0
18 [422  |422 VIRAL ILLNESS & FUO 0-17 5 0 0 0 5 0 0 0 Q
18 [423 |423 OTH INFECT & PARASIT DSE DIAG 4 2 0 0 1 0 0 0 1
19 |425 — |425 AC ADJ REACT&DIST OF PSYCH DYS 5 3 0 1 0 1 0 0 0
19 [429 1429 ORGANIC DISTURB & MENTAL RETARD 3 0 0 3 0 0 0 0 0
19 |430 [430 PSYCHOSES 7 2 1 2 0 2 0 0 0
19 [432 1432 OTHER MENTAL DISORDER DIAGNOSES 1 0 0 0 1 0 0 0 0
20 |433 [433 ALC/DRUG ABUSE/DEPEND, LEFT AMA / 42 33 2 1 3 2 0 0 1
20 |434 [434 ALC/DRUG ABUSE/DEPEND,DETOX W CC [ 55} \\_ 29 5 6 3 4 1 2 6
20 [435  |435 ALC/DRUG ABUS/DEPND,DETOX W/O CC { 34] |} 20 1 1 2 3 2 4 1
20 |436 |436 ALC/DRUG DEPEND W/REHAB THERAPY \ 1/7 0 0 0 0 0 0 1 0
20 |437 [437 ALC/DRUG DEPEND,COMB REHAB/DETOX Ne74a|¥_ 230 9 3 5 5 1 0 1
21. 1440  |440 WOUND DEBRIDEMENTS FOR INJURIES 3 2 0 0 1 0 0 0 0
21 (441 + [441 HAND PROCEDURES FOR INJURIES 2 0 1 0 0 0 0 1 0
21 (442 [442 OTHER O.R. PROC INJUR WITH CC 6 5 0 0 1 0 0 0 0] ,
27 [443 [443 OTHER O.R. PROC INJUR W/O CC 1 0 0 1 0 0 0 0 0
21 (444 + |444 TRAUMATIC INJURY 18+ WITH CC 7 5 1 1 0 0 0 0 0
21 |445  —|445 TRAUMATIC INJURY 18+ W/O CC 24 13 3 0 0 6 0 2 0
21. [446 [446 TRAUMATIC INJURY AGE 0-17 8 1 0 0 7 0 0 0 0
21. (447 ~~‘ |447 ALLERGIC REACTIONS 18+ 2 1 0 1 0 0 0 0 0
21 (449 [449 POISON&TOX EFF DRUGS 18+ W CC 45 19 7 7 2 5 1 4 0
21 (450 [450 POISON&TOX EFF DRUGS 18+ W/O CC 4 3 1 0 0 0 0 0 0
21. (451 |451 POISON&TOX EFF DRUGS 0-17 6 2 1 0 3 0 0 0 0
21. (452 [452 COMPLICATIONS OF TREAT WITH CC 2 0 0 0 0 0 0 2 0
21 |453 [453 COMPLICATIONS OF TREAT W/O CC 2 1 0 0 0 0 0 1 0
21 (454 [454 INJUR,POISON&TOX EFF WITH CC 5 2 2 0 0 0 1 0 0
21. 1455 [455 INJUR,POISON&TOX EFF W/O CC 4 1 1 1 0 0 0 0 1

Includes Medical Charties discharges
“ "@ Blue Cross discharges

9/27/00; DCGH DRGs-2000 Jan-Jun- eel. rl Cfo)

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Case 1:01-cv-00921-RWR Document 1

DP. C. GENERAL HOSPITAL

PAYOR AND DRG
Jan. - June 2000 Discharges

, Final

MDC Hoc. llorcs TEXT TOTALS |seLF* |cAID  |CARE Neo COMM."* a CORR cen
22 |509 [509 FT BURN WO GRAFT/INHL INJ WO CC 1 0 0 0 0 0 0 1 0
22. (511 [511 NONEXT BURN WO CC OR SIG TRAUMA 1 1 0 0 0 0 0 0 0
23. (463 [463 SIGNS & SYMPTOMS WITH CC 6 1 3 1 0 0 0 1 0
23. (464 (464 SIGNS & SYMPTOMS W/O CCG 1 0 0 ol 0 1 0 0 0
23 |466 [466 AFTERCARE W/O HX MAL SEC DX 3 0 0 1 0 0 0 2 0 5
23. (467 [467 OTHER FACTORS INFLU HLTH STAT 8 2 2 0 2 1 1 0 0
24 (485 [485 LIMB REATT,HIP/FEM RX MLT SIG TR 2 0 1 0 0 1 0 0 0
24 (486 [486 OTHER O.R. RX FOR MULT SIGN TR 7 9 2 0 1 3 0 0 2
24 |487 1487 OTHER MULTIPLE SIGN TRAUMA 5 1 0 2 1 0 0 0 1
25. (488  |488 HIV W EXTENSIVE OLR. RX 4 0 0 0 0 0 0 4 0
25 |489 [489 HIV W MAJOR RELATED CONDITION 125 35 53 9 5 0 5 15 3
25. 1490 [490 HIV W OR W/O OTHER RELATED COND 34 11 11 1 1 2 1 7 0 2
99. |468  |468 EXTENSIVE UNRELATED O.R. PROC 13 4 4 3 0 1 0 0 1 5!
99. |477  |477 UNRELATED NONEXTENSIVE PROCEDURE 6 4 0 0 2 0 0 0 0
99. |482 1482 TRACH FOR FACE,MOUTH,NECK DX 4 1 3 0 0 0 0 0 0
99. |483 |483 TRACH EXCEPT FACE,MOUTH,NECK DX 30 2 7 12 3 6 0 0 0

Total _ | Total 4,493| 1.677| 836| 671 662 273 62 238 74

*

Includes Medical Charties discharges

. "“~e Blue Cross discharges

9/27/00; DCGH ORGs-2000 Jan-Jun- wa mt @
00921-RWR. Document1. Filed 04/30/01 Page 154 of 224

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APPENDIX H
Filed 04/30/01

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Page, 46 9f\249 Job-277

From

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OCT-03-00

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t 6 INONADIA
2 aL Av39UNSLIIG
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Page 157 of 224

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T-373 P.13/32 Job-277

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From

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From

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Case 1:01-cv-00921-RWR Document 1

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OCT-03-00

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APPENDIX I
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Case 1:01-cv-00921-RWR Document 1

Pac
DC GENERAL

Fy00 CHC VISITS - ANNUALIZED

Anacostia
Anacosiia
Anacostia
Anaposiia
Anacosiia
Anacosila

Adams Morgan
Adams Morgan
Adams Morgan
Benning Heights
Benning Haights
Congress bHalphts
Coagress Heights
Congress Heights
Congress Heights
Congress Heighis
Hunt Place

Hunt Place

Hunt Place

Hunt Place

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HSCSN
Southwest
Bouttwest
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Southwest
Southwest
Southwest
Southwest
Southwest
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Watker Jones
Watker Jones
Walker Jones
Walker Jones
Woodridge
Woodridge
Woodridge

Senice
ACOENTAL
ACDENHYG
ACKED
ACOBGYH
ACPEDS
acsocs
AMDENTAL
AMWED
AMDEGYN
BRMED
BHREDS
CHDENTAL
CHMED
CHOBGYN
CHPEOS
CHPOO
HPAUDI
HPDENHYG
HPDENTAL
HPMED
HPOSGYN
HPPEDS
HPSPEECH
HSCSNAUDI
HSCSNBTVR
HSCSNDEVPEDS
HSCSNOCCTH
HSCSNOPTHAL
HSCSNORALSUR
HSCSNORTHO
HSCSNPHYTH
HSCSNSOCS
HSCSNSPEECH
HSCSNSSt
SY/DENHYG
S\WDENTAL
SWDERM
SWENT
SWwED
SwosaGYN
SWPEDB
SwProD
WJAUD!
WJBENTAL
WUNED
WJQBGYN
VUPEDS
WRMED
WROBGYN
WRPEDS

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12

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48

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0.1098

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2773
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12

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AIMCOs Tricare

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Annualization period adjusted based on month the CHC came ‘on-tine™.
2. Data isnot ‘sondrbod’.

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330
330

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1,197
1227

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112

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3,273 13.52%
2.71B (146%
3699 15.26%

3 001%

14 006%

2 120 050%
uw 014%

6 027%

12 O0S%

14539 636%

2,009 120%
1 59 024%
468 153%
ao 033%
1,004 415%
816 2.13%
1504 621%
3528 1457%
40 IAT
488 202%
15 04S%
4 A 135%
52 021%
4-H O8S%
120 050%
72 (12%
80 033%
B OD3%
148 061%
16 007%
5 002%
T32 -302%
2 ODI
2 oODt%
6.50 2502%
4,674 774%
2.3 11.13%
1,008 7.88%
4 002%
4 1612 656%
1.288 | 5.7356
854 357%
716 321%
2,456 10 19%
1,950 8 05%
2,524 1063%

2k 58,106 _)

0.04% 00.00%

2l:Pl = O0-£0-190

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id2-40f  ce/Pl d  EE-L
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Case 1:01-cv-00921-RWR Document 1

Pec
DC GENERAL

Fv00 CHC VISITS - 1/900 to 694/00

Anacostia
Anacostia
Ariacostia
Angoostia
Anacostia
Anecostia

Adams Morgan
Adams Morgan
Adams Morgan
Beanng Heights
Beanzy Height
Congress Helgtts
Congress Helptts
Congiess Helps
Congress Heigtts
Congiess Heilpits
Hunt Place

Hue! Place

Hunt Place

Hunt Place

Hunt Place

Hunt Place

Hunt Place
HSCSN

HSCSN

HSCEN

HSCSN

HSCSN

HSCSN

HSCSN

HSCSN

HSCSN

HSC&N

HSCSN
Southwest
Sovihwesi
Sovikeast
Sothwest
Southwest!
BSoutiweel
Southwest
Southwest
Walker Jones
Walker Jones
Walker Jones
Walker Jones
Walker Jones
Woodridge
Woodridge
Woodridge

Service
ACDENTAL
ACDENHYS
ACMED
ACOBGYN
ACPEDS
ACSOCS
AMDENTAL
ATAMED
AMOBGYN
BHMED
BHPEDS
CHDENTAL
CHMED
CHOB8GYN
CHPEDS
CHPOD
HPAUDI
HPDENHYG
HPDENTAL
HPMED
HPOBGYN
HPPEDS
HPSPEECH
HSCSNALDI
HSCSNBTHR
WSCSNDEVPEDS
HSCSNOCCTH
HSCSNOPTHAL
HSCSNORALSUR
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APPENDIX J
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PARTIAL LIST OF REPORTS

Report 1: Listing of Patients Served During Contract Period

a this report should list the names, unique ID numbers, addresses including zip codes (if available),

other demographic information pertaining to the individual patients, and gross charges for services
rendered to each patient

a by provider (i.e., particular hospital, clinic, etc.)
a by month and for the Contract Period

Report 2: Summary of Charges and Cost Values for Health Care Services Rendered to Uninsured Patients

B this report should provide the gross charges for health care services rendered by type of health acre
service (e.g., hospital inpatient, physician services, etc.) to patients
B by month and for the Contract Period

Report 3: Discharges, Days, AverageLength of Stay (ALOS), Gross Charges, Charge Per Discharge,
Charge Per Day and Cost Vale

= - by DRG by hospital and across all DRGs (i.e., in summary) and across all hospitals (i.e., in

summary)
a Note: Cost Value = Standard Rate x DRG Weight
B by month and for the Contract Penod

Report 4: Casemix Index

B by hospital and across hospitals
a by month and for the Contract Period

Report 5: Listing of Most Frequent Principal Diagnoses and Principal Procedures (Inpatient)

a show the most frequent inpatient principal diagnoses that account for at least 75% of all principal

diagnoses in rank order from most frequent to least frequent, show number and cumulative

frequency and percentage and cumulative percentage of all procedures

a show the most frequent inpatient principal procedures that account for at least 75% of all principal
procedures in rank order from most frequent to least frequent: show number and cumulative
frequency and percentage and cumulative percentage

B by hospital and across hospitals in total

a by month and for the Contract Penod

Report 6: Listing of Most Frequent Diagnoses (Outpatient)

a show the most frequent outpatient outpatient diagnoses that account for at least 75% of all
outpatient diagnoses in rank order from most frequent to least frequent; show number and
cumulative frequency and percentage and cumulative percentage of all procedures

a by hospital and by NHC and by physicians aggregated (i-e., across all physicians combined)
a by month and for the Contract Period

Report 7: Listing of Number of Occurrences by CPT-4 Code

a show the CPT-4 codes that occur most frequently and account for at least seventy-five percent
(75%) of all CPT-4 code occurrences
a show by NHC and for all physicians aggregated (i.e., across al] physicians combined)

a by month and for the Contract Period
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Report 8: Lisyting of High Cost Individuals

a show the 100 individuals (with their unique IDs) who had the highest total charges
a show their total charges

a present the listing in rank order from highest charges to lowest charges

SB by quarter and for the Contract Period

Report 8: Primary Care Affiliations

a list each person (with unique ID) who has been enrolled in the uninsured program , their zip code
of residence (if available) and their chief source of primary care (i.e., their primary care home) ’

S show the gross charges recorded for each person during the measurement perioed

a by month and for the Contract Period

Report 9: Disease Management

a list each person (with unique ID) who has been given a diagnosis of diabetes, heart disease,
hypertension, AIDS/HIV or other chronic disease, their address (including zip code) and telephone
number

a identify whether or not the person has been enrolled in a disease management program

a list the name of each person's chief primary care provider/site of primary care

8

provide the information above for each type of chronic disease (e.g., diabetes, heart disease,
hypertension or AIDS/HIV)
B by quarter and for the Contract Period
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APPENDIX K
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‘¢ FIRST SOURCE EMPLOYMENT AGREEXENT

Contract Number:

Contract Amount:

Project Name:

Project Address:

Ward:

This Employment Agreement, in accordance with D.C. Law 5-93 and
Mayor's Order 83-265 for recruitment, referral, and placement of
D.C. residents, is between the District of Columbia, Department
of Employment Services, hereinafter referred to as DOES, and

hereinafter, referred to as EMPLOYER. Under this Employment
Agreement, the EMPLOYER will use DOES as its first source for
recruitment, referral and placement of new hires or employees for
the new jobs created by this project and will hire 51% D.C.
residents for all new jobs created, as well, as 51% of

apprentices

employed in connection with the project shall be

District residents registered in programs approved by the
District of Columbia Apprenticeship Council.

I. General Terns

A.

The EMPLOYER will use DOES as its first source for

the recruitment, referral and: placement of
employees.

The EMPLOYER shall require all contractors and
subcontractors with contracts totaling $100,000 or

more to enter into a First Source Employment
Agreement with DOES.

DOES will provide recruitment, referral and
Placement services to the EMPLOYER subject to the
limitations set out in this Agreement.

DOES participation in this Agreement will be
carried out by the Office of the Director, with
the Office of Employer Services, which is
responsible for referral and placement of

employees, or such other offices or divisions
designated by DOES.
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II.

2 _
This Agreement shall take effect. when signed by
the parties below and shall be fully effective for
the duration of the contract and extension or
modifications to the contract.

‘This: Agreement shall not be construed as an

approval of the EMPLOYER'S bid package, bond

application, lease agreement; zoning application,
loan or contract/subcontract.’ -

DOES and the EMPLOYER agree that for purposes of
this Agreement, new hires and jobs created (both
union and nonunion) include all EMPLOYER'S job
openings and vacancies in the Washington
Metropolitan Area created aS @ result of internal
promotions, terminations and expansions of the
EMPLOYER'S workforce, as a result of this project,
including loans, lease agreements, zoning
applications, bonds, bids and contracts.

For purposes of this Agreement, apprentices as
defined in D.c. Law 2-156, are included.

The EMPLOYER shall register an apprenticeship
program with the D.c. Apprenticeship Council for
construction or renovation contracts or
subcontracts totaling $500,000 or more. This
includes any construction or renovation contract
or subcontract signed as the result of a loan,
bond, grant, Exclusive Right Agreement, street or
alley closing, or a leasing agreement of real
property for 1 year or more.

Recruitment

A.

The EMPLOYER will complete the attached Employment
Plan which will indicate the number of new jobs
projected, salary range, hiring dates and union
requirements. The EMPLOYER will notify DOES of

its specific need for new employees as soon as
that need is identified. .

Notification of specific needs, as set forth in
Section II.A., must be given to DOES at least
five (5) business days. (Monday - Friday) before
using any other referral source, and shall
include, but need not be limited to, the number of
employees needed by job title, qualification,
hiring date, rate of pay, hours of work, duration
of employment and work to be performed.
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IV.

VI.

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C. .« Job openings to be filled by internal promotion

from the EMPLOYERS'S current workforce need not be
referred to DOES for placement and referral.

The EMPLOYER will submit to DOES, prior to
starting work on the project, the names, and
social security numbers of all current employees,
including apprentices, trainees and laid off
workers who will be employed on the project.

Referral

A.

DOES will screen and refer applicants according to
the qualifications supplied by the EMPLOYER.

Placement

A.

DOES will notify the EMPLOYER, prior to the
anticipated hiring dates, of the number of
applicants DOES will refer as agreed. DOES will
make every reasonable effort to refer at least tw
qualified applicants for each job opening.

The EMPLOYER will make all decisions on hiring new
employees but will in good faith use reasonable
efforts to select its new hires or employees from
among the qualified persons referred by DOES.

In the event DOES cannot refer the qualified
personnel requested, within five (5) business days
(Monday ~- Friday) from. the date of notification,
the EMPLOYER will be free to directly fill
remaining positions for which no qualified
applicants have been referred. In this event, the
EMPLOYER will still be required to meet the 51%
goal.

After the EMPLOYER has selected its employees,
DOES will not be responsible for the employees'
actions and the EMPLOYER hereby releases DOES from
any liability for employees’ actions.

Training

A.

DOES and the EMPLOYER may agree to develop skills
training and on-the-job training programs; the
training specifications and cost for such training
will be mutually agreed upon by the EMPLOYER and
DOES and covered in a separate Training Agreement.

Controlling Regulations and Laws

If this Agreement conflicts with any labor laws or
governmental regulations, the laws or regulations
shall prevail.
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B. DOES will work within the terms of all collective .

bargaining agreements to which the EMPLOYER is a
party.

Cc. The EMPLOYER will provide DOES with written
documentation that the EMPLOYER has provided the
representative of any involved collective

‘bargaining unit with a copy of this Agreement ana

‘ has requested comments or objections. If the
representative has any comments or objections the
EMPLOYER will provide them to DOES.

VII. Agreement Modifications, Renewal, and Monitoring

A. If, during the term of this Agreement, the
EMPLOYER should transfer possession of all or a
portion of its business concerns affected by this
Agreement to any other party by lease, sales,
assignment or otherwise, the EMPLOYER as a
condition of transfer shall:

1. Notify the party taking possession of the
existence of the EMPLOYER'S Agreement.

2. Notify the party taking possession that full
compliance with this Agreement is required
in order to avoid termination of the project.

3. EMPLOYER shall, additionally, advise DOES
within seven (7) days of the transfer. This
advice will include the name of the party
taking possession and the name and telephone
of that party's representative.

B. DOES shall monitor EMPLOYER'S performance under
this Agreement. The EMPLOYER will cooperate in
DOES’ monitoring effort and will submit a Contract
Compliance Form to DOES monthly.

Cc. To assist DOES in the conduct of ‘the monitoring
review, the EMPLOYER will make available payroll

and employment records for the review period
indicated. . z

D. If additional information is needed during the

review, the EMPLOYER will provide the requested
information to DOES.
Dated this

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The EMPLOYER and DOES, or such other agent as DOES

may designate, may mutually agree to modify this
Agreement.

The project may be terminated because of the

EMPLOYER'S non-compliance with the provisions of:
this Agreement.

day of -: 19

Signed:

DEPARTMENT OF EMPLOYMENT SERVICES SIGNATURE OF EMPLOYER

NAME OF COMPANY

ADDRESS

TELEPHONE
Case 1:01-cv-00921-RWR Document1 Filed 04/30/01 Page 176 of 224

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“ EMPLOYMENT PLAN

Instructions:

° Submit original to the Department of Employment
Services (DOES) with First Source Employment Agreement.

° Upon approval of project by the originating agency,
DOES will contact Employer. a

NAME OF FIRM

ADDRESS
TELEPHONE NUMBER FEDERAL IDENTIFICATION NO.
CONTACT PERSON TITLE

TYPE OF BUSINESS

C) ORIGINATING DISTRICT AGENCY
TYPE OF PROJECT FUNDING AMOUNT
PROJECTED START DATE PROJECT DURATION

NEW JOB CREATION PROJECTIONS

(Attach additional sheets, as needed.) Please
indicate the new position(s)

your firm will create as a result of this project

JOB TITLE # OF JOBS SALARY | UNION MEMBERSHIP REQUIRED PROJECTED
F/T P/T RANGE NAME LOCAL# HIRE DATE

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CURRENT EMPLOYEES: Please list the names and social security
numbers of all current employees including apprentices and
trainees who will be employed on the project. Attach additional

sheets as needed.

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NAMB OF EMPLOYEB

SOCIAL SECURITY

Signature:

Date:

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Case 1:01-cv-00921-RWR Document1 Filed 04/30/01 Page 180 of 224
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ENROLLED ORIGINAL

A RESOLUTION
14-55
IN THE COUNCIL OF THE DISTRICT OF COLUMBIA

March 6, 2001

To declare, on an emergency basis, the sense of the Council with respect to its position on the
District of Columbia Health and Hospitals Public Benefit Corporation and the District of
Columbia General Hospital particularly.

RESOLVED, BY THE COUNCIL OF THE DISTRICT OF COLUMBIA, That this
resolution may be cited as the "Sense of the Council on the District of Columbia Health and

Hospitals Public Benefit Corporation and D.C. General Hospital Emergency Resolution of
2001".

Sec. 2. The Council finds that:
(1) The Mayor, the District of Columbia Financial Responsibility and
Management Assistance Authority ("Authority"), and Council agree that:
(A) There is a need to expand health insurance coverage to more District
residents;

(B) The District must ensure the provision of quality health services,
and

(C) The District of Columbia Health and Hospitals Public Benefit
Corporation ("PBC") cannot continue to function as it has in the past.

(2) The PBC is expected to exhaust its Fiscal Year 2001 appropriated subsidy by
mid-March.

(3) There exists an immediate need to address the health care and financial crisis
involving the PBC, particularly,D.C. General Hospital, and to ensure a safety net for the
District’s medically uninsured residents.

(4) The Council does not have the ability by law to initiate a reprogramming of
funds; the Council may only approve a reprogramming submitted by the Mayor.

(5) The District of Columbia Appropriations Act, 2001, permits the transfer of a
limited amount of non-federal funds for the purpose of restructuring the delivery of health
services in the District; provided, that (A) the transfer is pursuant to a plan approved by, the
Mayor, the Council, the Authority, and the Board of Directors of the PBC Cee Board"), and
(B) the plan is submitted to Congress.

(6) On December 5, 2000, the Authority adopted a resolution- comiainting
recommendations and orders concerning the PBC which recommended that the Council work

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ENROLLED ORIGINAL

with the Mayor to prepare and approve a plan to establish an alternative publicly-financed health
care delivery system that (A) is consistent with the current multi-year financial plan and budget
for the District, (B) provides for equivalent volumes and types of services currently provided by
the PBC to the uninsured, and (C) ensures that the services meet standards of quality and
accessibility.

(7) The Authority further recommended that the Council enact legislation or
approve regulations and reprogrammings, and undertake all other actions necessary to authorize
and implement the alternative health care delivery system.

(8) The Council, in collaboration with the Mayor, the Authority, and the PBC
Board issued a Request for Proposals ("RFP") to obtain, through a competitive process, a
qualified provider or team of providers to deliver comprehensive, integrated, and coordinated
health care services to the District’s uninsured residents.

(9) The goal of the Council was to obtain a number of proposals, and to build
partnerships between federal entities and local health care providers, to ensure that the health
needs of the District’s most vulnerable residents are met, preferably while retaining inpatient and
trauma services on the D.C. General Hospital campus.

(10) The RFP process resulted in the submission of 2 proposals, one of which
would maintain a hospital at D.C. General Hospital’s current location, and the other which
would maintain outpatient services on the hospital’s campus while providing inpatient services at
Greater Southeast Community Hospital and other facilities.

(11) The evaluators, selected to assist with the RFP process, recommended the
acceptance of Greater Southeast Community Hospital’s proposal. The negotiation of a letter
contract with Greater Southeast Community Hospital ("GSCH") is underway.

(12) The Council has expressed, and continues to voice, concerns regarding such
issues as:

(A) The resulting lack of trauma services in the eastern section of the
District given that D.C. General Hospital is the only Level I trauma center serving that location
and the high volume of cases it handles;

(B) The resulting lack of inpatient beds on the D.C. General Hospital site,
exacerbating an existing imbalance in the geographic location of hospitals;

(C) The need for detailed performance measures that were not a part of
the RFP but are imperative to determining the efficacy of the contract;

(D) The need to require a performance bond to ensure that monies are
available should the contractor fail to comply with the requirements of the contract;

(E) The need to conduct due diligence on the proposed contractor’s
experience, ability, and financial stability to meet the specifications of the contract; and

(F) The timeframe and resources needed for a transition.

(13) In an effort to have these concerns addressed, the Council has raised
questions at public hearings, in correspondence, and through representation on the Collaborative.

(14) The GSCH proposal, which contained a budgeted amount of at least $75
million, would cost more than the current appropriated subsidy, not including services now
provided by the PBC to the Department of Corrections and other District agencies.
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ENROLLED ORIGINAL

(15) The PBC subsidy of $45 million was under-budgeted and the Council is
prepared to increase the subsidy, for a streamlined hospital and an appropriate number of
community-based clinics, to no more than $100 million which appears consistent with the GSCH
proposal.

(16) The Council has great concern that the out-year costs of contracting for
services will increase and once the contractor begins performance, it will be too late and too
costly to re-establish D.C. General Hospital.

(17) Past experience has demonstrated that the District’s liberal social policies
attract persons from other jurisdictions and threaten the District’s ability to serve its citizens.

(18) The GSCH proposal has the potential to increase costs well beyond what is
fiscally responsible given the District’s limited tax base.

Sec. 3. It is the sense of the Council that significant concerns exist with the proposal
submitted by Greater Southeast Community Hospital based on the unresolved issues and other
considerations articulated in section 2, and that any alternative to the PBC, and D.C. General
Hospital particularly, must address those issues adequately. It is further the sense of the Council
that a streamlined version of the current health care system, appropriately funded, could provide
the necessary care at less than the cost of contracting for services.

Sec. 4. It is the sense of the Council that the Authority should respect Home Rule and
honor the decisions made by the elected officials of the District of Columbia and take no further
action on the future of D.C. General Hospital and the PBC.

Sec. 5. This resolution shall take effect immediately upon the first date of publication in
the D.C. Register.
Docket No.

Action &
Date

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PR14-95

Filed 04/30/01

COUNCIL OF THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

Council Period Fourteen

ADOPTED, 03-06-01

Resolution No.

RECORD OF OFFICIAL COUNCIL VOTE

R14-55

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[ ] Item on Consent Calendar

[x] ROLL CALL VOTE -Result PASSED ( 13-0-0-0 )
| Councilmember Aye | Nay | NV AB Councilmember Aye | Nay AB Councilmember Nay |NV_ |AB
Chmn. Cropp |X Chavous X Orange
Allen xX Evans xX Patterson
Ambrose Xx Fenty X Schwartz
Brazil xX Graham x
Catania xX Mendelson xX | 2
X - Indicate Vote AB — Absent NV —Present, Not Voting |
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District of Columbia Financial Responsibility
and Management Assistance Authority
Washington. D.C.

April 13, 2001

The Honorable Anthony A. Williams
Mayor of the District of Columbia
One Judiciary Square

441 Fourth Street, NW, 11 Floor
Washington, D.C. 20001

Dear Mr. Mayor:

In order to maintain funding for the District of Columbia’s publicly funded health
care system pursuant to Public Law 106-522, the District of Columbia Financial
Responsibility and Management Assistance Authority (“Authority”) hereby transmits to
the Office of the Mayor the contract developed pursuant to the proposal in response to
Solicitation No. DCFRA #00-R-039 for your consideration, and for your transmittal to
the Council of the District of Columbia for action.

Pursuant to Public Law 106-522, the Mayor, the District of Columbia Council
(‘the Council”), the Board of Directors of the Health and Hospitals Public Benefit
Corporation (“PBC”) and the Authority agreed to a plan to restructure health care
services provided by the PBC by contracting with a private health care provider on
December 17, 2000. Acknowledging actions by the District of Columbia Subcommittees
of the House and Senate Appropriations Committees, the Chairman of the Council and
the Office of the Mayor agreed that the Authority would use its procurement power under
Public Law 104-8 to solicit private bids from qualified providers.

The Authority issued the public solicitation on December 17, 2000. The
unanimous decision to select Greater Southeast Community Hospital Corporation
(“GSCH”) as a prime contractor followed separate “technical” and “price” evaluations by
two teams, including representatives of the Mayor, the Council and the Authonity, on
March 14, 2001. This process was the predicate for the selection of a contractor to
provide comprehensive, integrated and coordinated health care services to uninsured
residents of the District of Columbia. The Authority formally agreed in principle to the
proposed contract with GSCH on April 11, 2001.

The proposed contract is for an initial 5-year term with two 2-year option periods,
It includes an average increase in service volume of thirty-four percent (34%) over the
current PBC level of health care services and administration, at a base) cost of
$60,250,949 with an upper limit of $66,276,043. Other major contract costs include
$7,010,522 for the school health program, $3,715,858 for corrections, $1,399,525 for
trauma, $1,500,000 for program start-up, and $11,800,000 for one-time capital costs.

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This proposed contract results in a new health care network combining public
resources and administration with private management of the service delivery system.
The proposed contract will improve the District’s capacity to monitor the quality of
health care services, enhance access to a comprehensive network of qualified providers,
improve access to preventive services, and reduce reliance on expensive emergency and
inpatient health care services. As important, the proposed contract will provide your
office and the Council the information required to make future decisions necessary to
continually improve access to quality health care for uninsured residents. Specifically,
the proposed contract includes several provisions to improve the delivery system:

ag services for District residents without health insurance whose family income is at
or below 200 percent of the federal poverty level;

O a network comprised of three hospitals (inpatient, trauma care, specialties) and
two Medicaid HMOs (providing administrative services for the network,
management for existing public clinics and access to other providers) as well as
other practitioners for diagnostic and specialty care;

Q a requirement that the contractor and subcontractors maintain their current level
of services to uninsured District residents as a condition of receiving
compensation through the proposed contract,

Q aplan to monitor and evaluate the cultural appropriateness of outreach and health
care programs and

O a requirement to provide monthly, quarterly, and annual reports on volume,
utilization, quality and costs.

The proposed contract also includes significant protections for District taxpayers,
including requirements that:

Q the contractor maintain a performance bond,

Q payments are made only for services that have been provided based on the
submission of claims for patient or administrative services performed under the
contract; ‘

a funds allocated by the District for this contract will not be transferred to the prime
contractor but will instead be held, pending submission of a claim for
reimbursement for services, by a third party disbursement agent and

a the District retain the right to assign any part of the contract to another provider if
any party to the proposed agreement fails to perform.
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It is the Authority’s very strongly held view that this proposed contract will help
reform the public health care system in a manner that serves District residents. It will
also provide policy-makers with the right tools to manage this major new initiative
while continuing their long-term plans to improve access to health insurance coverage
for residents. Following many months of sometimes difficult but ultimately fruitful
joint effort, local elected officials now have an opportunity to ratify this important
new step in health care reform. The Authority, therefore, anticipates expeditious
consideration of this important matter by your office and the Council.

Sincerely,

Alice M. Rivlin
Chairman

Enclosures
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District of Columi.a Fin incial Responsibility
and Managem::nt Ass stance Authority
Wasiij igtor , D.C.

Aor1 18, 2001

The Honorable Anthony Williams
Mayor of the District of Columbia
One Judiciary Square

441 4® Street, N.W., Suite 1100-S
Washington, DC 20001

Dear Mayor Williams:

The District of Columbia Fina cial Re sponsibility and Management Assistance
Authority (“the Authority”) has transmi'‘e 4 to your office the proposed contract for health
care services for uninsured District iesident. for your consideration and for your
transmittal to the Council of the Distric : of Col ambia for action. It is essential that this
proposed contract and the enabling legis ation ais approved before May 1, 2001.

The Authority formally agreed i: prince to the proposed contract with Greater
Southeast Community Hospital Corpor.tim on April 11, 2001. The proposed contract

to do so will entail unacceptable financ'a. and >ther risks. Any delay in executing the
contract, which is the next phase of the restruci uring process, will unacceptably deplete
resources necessary to manage the trans} icn as} lanned under the proposed contract. For
example, any delay will risk depleting n. sources required to fully fund future placements
for the participants in the resident trair ‘ng pro, ram. Similarly, resources that may be
allocated for continued operations of thi hospite| and for assistance to eligible displaced
employees may not be available if there’ 3 wny delay.

It is in the best interests of the p tisnts that have been traditionally seryed by the
Public Benefit Corporation, the tax paye: s and H ome Rule that local elected officials take
the necessary steps to support the imp] mentation of the proposed contract as soon as
possible. The Authority strongly urges your 0 fice and the Council of the District of
Columbia to conclude consideration of 11e contract and the enabling legislation no later

than Monday, April 30, 2001. We look forward to a timely resolution of this important
matter.

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ANTHONY A, WILLIAMS
MAYOR

April 23, 2001

The Honorable Linda W. Cropp
Chairman

Council of the District of Colurnbia
441 4” Street, NW, Suite 704
Washington, DC 20001

Dear Chairman Cropp:

Enciceed is the finalized contract (and CFO Certification) with Greater Southeast Cormmunity
Hospital to establish the DC Healthcare Alliance. The Greater Southeast Community Hospital
proposal was selected as the superior option presented through an open RFP process that was
implemented under the direction of the PBC Collaborative. The contract is the culmination of a
negotiation that involved representatives of the Council, Mayor, District CFO, and the Financial
Authority.

I believe that the plan embodied in this contract presents the District with an unprecedented
opportunity to create a health care safety net that will truly serve our residents effectively. Under
the DC Alliance the District will finely be able to significantly reduce the city’s unacceptable
level of poor health, Every day that we delay this transition is costing the District valuable
resources that could be better used in improving our health status.

Therefore, pursuant to Alice Rivlin’s April 18, 2001 letter establishing the timeframes for
implementing the contract, I urge you to support the enclosed contract.

Sincerely,

Cua, C buldores
Anthony A. Williams |

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Enclosure (2)

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ANTHONY A. WILUAMS
MAYOR

April 23, 2001

The Honorable Linda W. Cropp
Chairman

Couneil of the District of Columbia
441 4° Street, NW, Suite 704
Washington, DC 20001

Dear Chairman Cropp:

On several occasions during the past two years, my administration and the Council have
participated in discussions and proposed actions that would dramatically transform the city’s
health care system. None of the earlier strategies presented the potential for tne far-reaching
change embodied in the enclosed “Health Care Privatization Emergency Amendment Act of
2001” and proposed contract with Greater Southeast Community Hospital for the DC Healthcare
Alliance. Included with the Emergency Amendment Act are identically worded temporary and
permanent bills and the corresponding emergency declaration resolution. If enacted, these bills
would do the following:

¢ Reorganize the Department of Health, transfer the functions of the PBC to DOH, and create a
new administration within DOH to oversee compliance of a private health care entity with a
contract for delivery of the health care services currently provided by the Public Benefit
Corporation (PBC).

¢ Repeal the Health and Hospitals Public Benefit Corporation Act of 1996 and abolish the PBC.

© Authorize the Mayor to ‘contract for the delivery of comprehensive community-centered
health care and medical services for the District’s uninsured residents.

Transfer the property and records of the PBC to the Department of Health.

e Temporarily exempt the contractor, the District government, and the PBC from certificate of
need requirgments regarding proposals to offer a: develop new institutional health services or
terminate health services pursuant to the contract.

The proposed legislation should be enacted on an emergency basis because the PBC is subject to
spending limits imposed by Congress pursuant to the District of Columbia Appropriations Act,
2001. The PBC has already expended its subsidy for FY 2001, and failure to provide an
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The proposed legislation, the "Health Care Privatization Emergency Amendment Act of 2001"
* + und the temporary and permanent versions thereof and corresponding contract with Greater _—

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The Honorable Linda W. Cropp
Page 2

alternative health care system will negatively affect the District's ability to provide comprehensive
health services to the city’s uninsured residents. Further, this legislation will enable fmalization of
the contract negotiated with Greater Southeast Community Hospital to provide comprehensive
health care services for the District's uninsured population under the DC Healthcare Alliance.

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Southeast Community Hospital, advances the District's efforts to restructure our health care
delivery safety net and carries out the actians approved by PBC Collaborative. I urge the Council
to pass this legislation and corresponding contract by April 30, 2001. This will provide sufficient
time for the May 1, 2001 contract implementation date stated in the enclased April 18, 2001 letter
from Alice Rivlin, chair of the District Financial Responsibility and Management Assistance
Authority.

Sincerely,

LO Whe,

Anthony A. jams
Mayor

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Enclosures (6)
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Chairman Lmda W. Cropp,
at the request of the Mayor

A PROPOSED RESOLUTION

IN THE COUNCIL OF THE DISTRICT OF COLUMBIA

To declare the existence of an emergency with respect to the need to privatize comprehensive
community-based health care for residents of the District and ta abolish the Public
Benefit Carporation.

RESOLVED, BY THE COUNCIL OF THE DISTRICT OF COLUMBIA, That this
resolution may be cited as the "Health Care Privatization Emergency Amendment Act of 2001
Emergency Declaration Resolution of 2001”.

Sec. 2. (a) There exists an immediate crisis regarding the provision and delivery of
comprehensive health care and medical treatment for residents of the District of Columbia.

(b) The District of Columbia Health and Hospitals Public Benefit Corporation ("Public
Benefit Corporation") has required subsidies from the General Fund since its creation pursuant to
the Health and Hospitals Public Benefit Corporation Act of 1996, effective April 9, 1997 (D.C.
Law 11-212: D.C. Code § 32-261.1 er seg.). The FY 2001 $45.3 million appropriated subsidy
from the General Fund to the Public Benefit Corporation has already been exhausted.

(¢) The District of Columbia Appropriations Act, 2001 (“Appropriations Act"), approved
November 22, 2000, Pub. L. 106-522, prohibits the District from using any additional
appropriated funds for the Public Benefit Corporation, except as part of implementation of a

health care restructuring plan that is approved by the Mayor, the Council, the Financial

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Responsibility and Management Assistance Authority (“Authority”), and the Board of Directors
of the Public Benefit Corporation. The Appropriations Act authorizes the District to transfer
fromm other non-federal funds up to $90 million for the purpose of carrymg out such an approved
plan to restructure health care delivery in the District. .

(4) On December 4, 2000, the Authority issued a Resolution, Recornmendations and
Orders under section 207 of the District of Columbia Financial Responsibility and Management
Assistance Act of 1995, approved April 17, 1995 (109 Stat. 116; D.C. Code § 47-392.7), for

repeal of Titles I and II of the Health and Hospitals Public Benefit Corporation Act of 1996 and

enactment of legislation and regulations and approval of Teprogrammings necessary to
implement an alternative publicly-financed health care delivery system.

(e) On December 15, 2000, in accordance with the requirements of the Appropriations
Act, the Mayor submitted a restructuring plan to Congress that was approved by the Mayor, the
Council, the Authority, and the Board of Directors of the Public Benefit Corporation.

(f) Because the Public Benefit Corporation's appropriated FY 2001 subsidy of $45.3
million has already been exhausted, health care restructuring is essential to permit access to the
$90 million of funding authorized in the Appropriations Act and to misintsin cantinuity of care
for the District's uninsured population.

(g) Enactment of the Health Care Privatization Emergency Amendment Act of 2001 will
assure access to the $90 million of fimding to implement a restructured health care delivery
system as recommended by the Authority m its Resolution, Recommendations and Orders of
December 4, 2000, and in accordance with the approved restructuring plan of December 15,
2000.

Sec. 3. The Council of the District of Columbia finds that the circumstances enumerated
in section 2 constitute emergency circumstances making it necessary that the Health Care
Privatization Emergency Amendment Act of 2001 be adopted after a single reading.

See. 4. This resolution shall take effect immediately.
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Chairman Linda W. Cropp,
at the request of the Mayor

A BILL

IN THE COUNCIL OF THE DISTRICT OF COLUMBIA

To reorganize, on an emergency basis, the Department of Health by establishing a Health Care

Safety Net Administration in the Department of Health and to transfer functions of the »
District of Columbia Public Benefit Corporation ("Public Benefit Corporation") to the
Department of Health; to authorize the Mayor to contract out any of the health care
functions of the Public Benefit Corporation; to exempt any contract to provide
comprehensive community-centered health care and medical services for District of
Colurnbia residents provided by the Public Benefit Corporation entered into by the Mayor
before the abolishment of the Public Benefit Corporation from certain provisions of ths
District of Colurnbia Procurement Procedures Act of 1985; to amend the Health Services
Planning Program Re-establishment Act of 1996 to establish authority for establishing
requirements for charity care and to exempt the District government, the Public Benefit
Corporation, and any contractor that provides services provided by the Public Benefit
Corporation pursuant to a health care privatization contract from certain provisions of the
Health Services Planning Program Re-establishment Act of 1996; and to repeal the
Health and Hospitals Public Benefit Corporation Act of 1996 and abolish the Public
Benefit Corporation.

BE IT ENACTED BY THE COUNCIL OF THE DISTRICT OF COLUMBIA, That this

act may be cited as the "Health Care Privatization Emergency Amendment Act of 2001”.

Sec. 2. Findings and purpose.
The Council finds and declares the following:
(1) The District of Columbia Health and Hospitals Public Benefit Corporation ("Public

Benefit Ccrporation") has operated with deficits for two consecutive fiscal years aud has

depleted its $45.3 million FY 2001 subsidy. —

(2) The District of Columbia Appropriations Act, 2001 (“Appropriations Act”), approved

November 22, 2000, Pub. L. 106-522, authorized the spending of non-Federal funds not to
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exceed $90 million for the purpose of restructuring health care delivery pursuant to a
restructuring plan approved by the Mayor, the Council, the District of Cobumbia Financial
Responsibility and Management Assistance Authority ("Authority"), and the Board of Directors
of the Public Benefit Corporation. ,

(3) On December 4, 2000, the Authority issued a Resolution, Recommendations and
Orders pursuant to Section 207 of the District of Columbia Financial Responsibility and
Management Assistance Act, approved April 17, 1995 (109 Stat. 133; D.C. Code § 47-392.7),
concerning the Public Benefit Corporatioz, that, among other things, required the following to
occur within 90 days of December 4, 2000:

(A) Repeal of Titles I and I of the Health and Hospitals Public Benefit
Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212; D.C. Code §§ 32-261.1-32+
262.20). .-

(B) Council enactment of legislation and regulations and approval of
reprogrammings necessary to authorize and implement an alternative publicly-financed health
care delivery system.

(4) On December 15, 2000, pursuant to the Appropriations Act, the Mayor submitted to
the Committes on Government Reform of the House of Representatives and the Committee on
Government Affairs of the Senate a health care delivery restructuring plan that was approved by
the Authority, the Mayor, the Council, and the Board of Directors of the Public Benefit
Corporation.

(5) The purpose of this act is to authorize implementation of an alternative publicly-
financed health care delivery system to replace the health care services formerly provided by the
Publie Benefit Corporation, as recommended by the Authority in its Resolution,

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Recommendations and Orders of December 4, 2000, and in accordance with the restructuring
plan of December 15, 2000.

Sec. 3. Health Care Safety Net Administration establishment.

(a) There is established within the Department of Health a Health Care Safety Net
Administration to administer and monitor compliance with any contract that the Mayor makes,
pursuant to section 7, or that the Authority makes, with a health care entity to provide any of the
health care functions provided by the Public Benefit Corporation pursuant to the Health and
Hospitals Fublic Benefit Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212;
D.C. Code § 32-262.7(a)).

(b) The Health Care Safety Net Adminisnation shall be reaponsible for all transition
activities that result from privatization of the functions of the Pubiic Benefit Corporation and that
remain to be completed. after abolishment of the Public Benefit Corporation pursuant to section
9, including the following:

(1) Termination and winding down of existing contracts of the Public Benefit
Corporation;

(2) Completion of administrative proceedings and court litigation previously handled by
the Office of the General Counsel of the Public Benefit Corporation or by private counsel
retained by the Public Benefit Corporation;

(3) Coordination of court litigation involving the Public Benefit Corporation that is being
handled by the Office of the Corporation Counsel;

(4) Assessment of outstanding claims against the Public Benefit Corporation; and

(5) Arranging for payment of lawful obligations of the Public Benefit Corporation that
are assumed by the District of Columbia pursuant to section 5. -

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(c) The Health Care Safety Net Administration shall exercise oversight of the services
contracted by the Mayor pursuant to section 7, or by the District of Columbia Financial
Responsibility and Management Assistance Authority, to ensure that the health of the population
is maintained and that the financial viability of the health care entity providing services exempted
pursuant to section 8 are addressed.

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(a) The functions, real or personal property, personnel, unexpended balances of
2ppropriatians, and records of the Public Benefit Corporation shall be transferred to the
Department of Health.

(b) Any monies remaining in the Health and Hospitals Public Benefit Corporation Fund
after the effective date of this act shall revert to the General Fund to the credit of the Department
of Health.

(c) The Department of Health shall recognize collective bargaining representatives that
have been duly certified by the District of Columbia Public Employees Relations Board and shall
assume and be bound by all existing collective bargaining agreements entered into by the Public
Benefit Corporation.

(d) Every employee of the Public Benefit Corporation shall be transferred to the
Department of Health. All employees sa transferred shall be under the direction and control of
the Director of the Department of Health or that director’s designee or designees. Transferred
employees shall retain the same rights and privileges that they had as employees of the Public
Benefit Corporation before the effective date of this act and shall not obtain any additional rights
or privileges as a result of the transfer. They shall have all the duties and responsibilities that
they had as employees af ths Public Benefit Corporation in addition to whatever duties and

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responsibilities they acquire as employees of the Department of Health. Transferred employees
shall constitute a separate competitive area within the Department of Health for purposes of
reductions in force only pursuant to section 2408 of the District of Columbia Government
Comprehensive Merit Personnel Act of 1978, effective March 3, 1979, D.C. Law 2-139, DC.
Code § 1-625.7, and Chapter 24 of the District of Calumbia Personnel Manual. Lesser
compctitive areas may be established by the pessonral authority for these employees. The
Mayor shall be the personnel authority for all employees of the Public Benefit Corporation who:
are transferred to the Department of Health, except that the personnel authority for accounting,
budget, and financial management personne) who are transferred shall continue to be the Chief
Financial Officer of the District of Columbia.

Sec. 5. Liabilities cf the Public Benefit Corporation.

All liabilities of the Public Benefit Corporation shall be assumed by the District of
Columbia.

Sec. 6. Health Care Safety Net Fund and Appropriations.

(a) There is established the Health Care Safety Net Fund ("Fund") as a nonlapsing,
revolving fund, to be administered by the Mayor as an agency fund as defined in section
373(2)@) of Title 47 of the District of Columbia Code, to be used exclusively for the purposes
stated in section 3. Revenues deposited into the Fund shall not revert to the General Fund at the
end of any fiscal yoar or at any other time but shall be contmually available to the Department of
Health for the uses and purposes set forth in this act, subject to authorization by Congress in an
appropriations act,

(b) The Fund shall be financed through appropriations, the accounts receivable of the
Public Benefit Corporation, and gifts or donations.

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(c) The Fund shall be accounted for under precsines established pursuant to subchapter
V of Chapter 3 of Title 47 of the District of Columbia Code.

(d) There are authorized to be appropriated from the general revenues of the District of
Columbia finds necessary Lo carry out the purposes of this act.

Sec. 7. Authorization to contract for comprehensive health care services.

(a) The Mayor is authorized to provide by contract or by other means any of the
comprehensive community-centered health care and medical services for residents of the District
of Columbia provided by the Public Benefit Corporation pursuant to the Health and Hospitals
Public Benefit Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212; D.C. Cade §
32-261.1 et seq.).

(b) A contract entered into pursuant to subsection (a) of this section before or
simultaneously with the abolishment of the Public Benefit Corporation pursuant to section 9
shall be exempt from the requirements of the District of Columbia Procurement Practices Act of
1985, effective February 21, 1986 (D.C. Law 6-85; D.C. Code § 1-1181.1 et seg.), except that the
contract shall be subject to section 105a of that act.

Sec, 8. Health services planning program amendments.

The Health Services Planning Program Re-establishment Act of 1996, effective April 9,
1997 (D.C. Law 11-191; D.C. Code § 32-351 ef seg.), is amended as follows:

(1) Section 2 (D.C. Coda § 32-351) is amended by adding a new paragraph (3A) to read
as follaws:

"(3A) "Charity care" means the physician and hospital medical services provided to
persons who are unable to pay for the cost of services, especially those persons who are low-
income, uninsured and underinsured, but excluding those services determined to be caused by, or

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categorized as, bad debt.".

(2) Section 3(b) (D.C. Code § 32-352(b)) is amended as follows:

(A) Pategraph (3) is amended by striking the ward “and" at the end.

(B) Paragraph (4) is amended by striking the period at the end and inserting the phrase ";
and" in its place.

(C) Ara paragraph (5) is added to read as follows:

"(5) Establishing, determining, and developing, in accordance with section 22,
requirements and standards for the implementation of unremnbursed charity care by all health
care facilities that receive a certificate of need, mcluding an annual mechanism for monitoring
the provision of that charity care by the health care facilities.”.

(3) Section 8 (D.C. Code § 32-357) is amended by adding new subsections (e), (f), and
(g) to read as follows:

"(e) Any proposal to offer or develop a new institutional health service, obligate a new
capital expenditure, or reduce or terminate a health service that would otherwise be subject to
certificate of need requirements, by a health care entity that has contracted with the District of
Columbia Financial Responsibility Management Assistance-Authority, or with the Mayor
pursuant to section 7 of the Health Care Privatization Emergency Amendment Act of 2001, to
provide new health care services shall be exempt from certificate of need requirements only for
the purpose of maintaining the same level of care and services provided by the District of
Columbia Health and Haspitals Public Benefit Corporation (“Public Benefit Corporation"),

"(f) The Administrator of the Health Care Safety Net Administration (“Administrator’),
established pursuant to section 3 of the Health Care Privatization Emergency Amendment Act of
2001, shall determine which new institutional health services, capital expenditures, and

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1 reductions or terminations of health services qualify as health care services being taken over

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from the Public Benefit Corporation.
3 “(g) The District government and the Public Benefit Corporation are exempt from
4 certificate of need requirements for any changes in health care service that may result from the
5 abolishment of the Public Benefit Corporation.”.
6° - Sec. 9, Repealers.
7 (a) The Health and Hospitals Public Benefit Corporation Act of 1996, effective April 9,
8 1997(D.C. Law 11-212; D.C. Code § 32-261.1 et seq.), is repealed, and the Public Benefit
9 Corporation is abolished. .
10 (bY Section 851(1)() of the District of Columbia Government Comprehensive Merit
ll Personnel Act of 1978, effective April 20, 1999 (D.C. Law 12-260; D.C. Code § 1-
12 609.51(1)@)), is repealed.
13 (c) Section 2(e)(9) of the Confirmation Act of 1978, effective March 3, 1979 (D.C. Law
14 2-142; D.C. Code § 1-633.7(e)(9)), is repealed.
15 (d) Section 320(k) of the District of Columbia Procurement Practices Act of 1985,
16 effective Apnil 15, 1997 (D.C. Law 11-259; D.C. Code § 1-1183.20(k)), is repealed.
17 _ Sec. 10. Fiscal impact statement.
18 The Council adopts the forthcoming fiscal impact statement of the Chief Financial
19 Officer as the fiscal impact Statement required by section 602(c)(3) of the District of Columbia
20 Home Rule Act, approved December 24, 1573 (87 Stat. §13; D.C. Code § 1-233(c)(3)).
21 Sec. 11. Effective date.
22 This act shall take effect following approval by the Mayor (or in the event of velo by the
23 Mayor, action by the Council to override the veto) and approval by the District of Columbia

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Financial Responsibility and Management Assistance Authority as provided in section 203(a) of
the District of Columbia Financial Responsibility and Management Assistance Act of 1995,
approved April 17, 1995 (109 Stat. 116; D.C. Cade § 47-392.3 (a)), and shall remain in effect for
{ no longer than 90 days, as provided for emergency acts of the Council of the District of
» Columbia in section 412(a) of the District of Columbia Home Rule Act, approved December 24,

6 1973 (87 Stat. 788; D.C. Code § 1-229(a)).
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Chairman Linda W. Cropp,
at the request of the Mayor

A BILL

IN THE COUNCIL OF THE DISTRICT OF COLUMBIA

To reorganize, on an temporary basis, the Department of Health by establishing a Health Care

Safety Net Administration in the Department of Health and to transfer functions of the
District of Columbia Public Benefit Corporation (“Public Benefit Corporation") to the
Department of Health; to authorize the Mayor to contract out any of the health care
functions of the Public Benefit Corporation; to exempt any contract to provide
comprehensive community-centered health care and medical services for District of
Columbia residents provided by the Public Benefit Corporation entered into by the Mayor
before the abolishment of the Public Benefit Corporation from certain provisions of the
District of Columbia Procurement Procedures Act of 1985; to amend the Health Services
Planning Program Re-establishment Act of 1996 to establish authority for establishing
requirements for charity care and to exempt the District government, the Public Benefit
Corporation, and any contractor that provides services provided by the Public Benefit
Corporation pursuant to a health care privatization contract from certain provisions of the
Health Services Plannmg Program Re-establishment Act of 1996; and to repeal the
Health and Hospitals Public Benefit Corporation Act of 1996 and abolish the Public
Benefit Carporation.

BE IT ENACTED BY THE COUNCIL OF THE DISTRICT OF COLUMBIA, That this

act may be cited as the "Health Care Privatization Temporary Amendment Act of 2001".

Sec. 2. Findings and purpose.
The Council finds and declares the following:
(1) The District of Columbia Health and Hospitals Public Benefit Corporation (“Public

Benefit Corporation") has operated with deficits for two consecutive fiscal years and has

depleted its $45.3 million FY 2001 subsidy.

(2) The District of Columbia Appropriations Act, 2001 (“Appropriations Act”), approved

November 22, 2000, Pub. L. 106-522, authorized the spending of non-Federal funds nat to

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1 exceed $90 million for the purpose of restructuring health care delivery pursuant to a
2 restructuring plan approved by the Mayor, the Council, the District of Columbia Financial
3 Responsibility and Management Assistance Authority ("Authority"), and the Board of Directors
4 of the Public Benefit Corporation. .
5 (3) On December 4, 2000, the Authority issued a Resolution, Recommendations and
6 Orders pursuant to Section 207 of the District of Columbia Financial Responsibility and
4 Management Assistance Act, approved April 17, 1995 (109 Stat. 133; D.C. Code § 47-392.7),
8 concerning the Public Benefit Corporation, that, among other things, required the following to
9 occur within 90 days of December 4, 2000:
10 (A) Repeal of Titles I and II of the Health and Hospitals Public Benefit
11 Corporation Act of 1996, effective April 9,'1997 (@.C. Law 11-212; D.C. Code §§ 32-261.1-32-
12 26220).
13 (B) Council enactment of legislation and regulations and approval of
14 repro grammings necessary to authorize and implement an alternative publicly-financed health
15 care delivery system.
16 (4) On December 15, 2000, pursuant to the Appropriations Act, the Mayor submitted to
17 the Committee on Government Reform of the House of Representatives and the Committee on
18 Government Affairs of the Serate a health care delivery restructuring plan that was approved by
19 the Authority, the Mayor, the Council, and the Board of Directors of the Public Benefit
20 Corporation.
21 (5S) The purpose of this act is to authorize implementation of an alternative publicly-
22 financed health care delivery system to replace the health care services formerly provided by the
23. Public Benefit Corporation, as recommended by the Authority in its Resolution,

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1 Recommendations and Orders of December 4, 2000, and in accordance with the restructuring
2 plan of December 15, 2000. .
3 Sec. 3. Health Care Safety Net Administration establishment.
4 (a) There is established within the Department of Health a Health Care Safoty Net
5 Administration to administer and monitor compliance with any contract that the Mayor makes,
6 pursuant to section 7, or that the District of Columbia Financial Responsibility Management
7 Assistance Authority makes, with a health care entity to provide any of the health care functions:
8 provided by the Public Benefit Corporation pursuant to the Health and Hospitals Public Benefit
9 Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212; D.C. Code § 32-262.7(a)).
10 (b) The Health Care Safety Net Administration shall be responsible for all transition
11 activities that result from privatization of the functions of the Public Benefit Corporation and that
12 _ remain to be completed after abolishment of the Public Benefit Corporation pursuant to section
13 9, including the following:
14 (1) Termination and winding down of existing contracts of the Public Benefit
15 Corporation;
16 (2) Completion of administrative proceedings and court litigation previously handled by
17 the Office of the General Counsel of the Public Benefit Corporation or by private counsel
18 retained by the Public Benefit Corporation:
19 (3) Coordination of court litigation involving the Public Benefit Corporation that is beng
20 handled by the Office of the Corporation Counsel;
21 (4) Assessment of outstanding claims against the Public Benefit Corporation; and
22 (5S) Arranging for payment of lawful obligations of the Public Benefit Corporation that
23 are assumed by the District of Columbia pursuant to section 5, .

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(c) The Health Care Safety Net Administration shall exercise oversight of the services
2 contracted by the Mayor pursuant to section 7, or by the District of Columbia Financial
3 Responsibility and Management Assistance Authority, to ensure that the health of the population
4 is maintained and tbat the financial viability of the health care entity providing juries: exempted
5 pursuant to section 8 are addressed.
6 Sec. 4. Transfers.
7 (a) The functions, real or personal property, personnel, unexpended balances of
8 appropriations, and records of the Public Benefit Corporation shall be transferred to the
9 Department of Health.
10 (b) Any monies remaining in the Health and Hospitals Public Benefit Corporation Fund
11 after the effective date of this act shall revert to the General Fimd to the credit of the Department
12 = of Health.
13 (c) The Department of Health shall recognize collective bargaining representatives that
14 have been duly certified by the District of Columbia Public Employees Relations Board and shall
15 assume and be bound by all existing collective bargaining agreements entered into by the Public
16 Benefit Corporation.
17 (d) Every enrployee of the Public Benefit Corporation shall be transferred to the
18 Department of Health All employees so transferred shall be under the direction and control of
19 the Director of ihe Department of Health or that director’s designee or designees. Transferred
20 employees shall retain the same rights and privileges that they had as employees of the Public
21 Benefit Corporation before the effective date of this act and shall not obtain any additional rights
22 or privileges as a result of the wansfer. They shall bave all the duties and responsibilities that
23 = they had as employees of the Public Benefit Corporation in addition to whatever duties and

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1 _ responsibilities they acquire as employees of the Department of Health. Transferred employees
2 shall constitute a separate competitive area within the Department of Health for purposes of

3 reductions in force only pursuant to section 2408 of the District of Columbia Government

4 Comprehensive Merit Personnel Act of 1978, effective March 3, 1979, D.C. Law 2-139, D.c.

S Code § 1-625.7, and Chapter 24 of the District of Columbia Personnel Manual, Lesser

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6 competitive areas may be established by the personel authority for these employees, The

7 Mayor shall be the personne] authority for all employees of the Public Benefit Corporation who -
8 are transferied to the Department of Health, except that the personnel authority for accounting,

9 budget, and financial management persomel who are transferred shall continue to be the Chief

10 __— Financial Officer of the District of Columbia

11 Sec. 5. Liabilities of the Public Benefit Corporation.

12 All liabilities of the Public Benefit Corporation shall be assumed by the District of
13) Columbia

14 Sec. 6. Health Care Safety Net Fund and Appropriations.

15 (a) There is established the Health Care Safety Net Fund ("Fund") as a nonlapsing,

16 revolving fund, to be administered by the Mayor as an agency fund as defined in section

17 = 373(2)() of Title 47 of the District of Columbia Code, to be used exclusively for the purposes

18 stated in section 3. Revenues deposited into the Fund shall not revert to the General Fund at the
19 end of any fiscal year or at any other time but shall be continually available to the Department of
20 Health for the uses and purposes set forth in this act, subject to authorization by Congress in an
21 appropriations act.

22 (b) The Fund shal) be financed through appropriations, the accounts receivable of the

23. ~=— Public Benefit Corporation, and gifts or donations. 7

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(c) The Fund shall be accounted for under procedures established pursuant to subchapter
V of Chapter 3 of Title 47 of the District of Columbia Code.

(d) Theres are authorized to be appropriated from the general revenues of the District of
Columbia funds necessary to carry out the purposes of this act. ,

Sec. 7, Authorization to cantract for comprehensive health care services.

(a) The Mayor is authorized to provide by contract or by other Means any of the
comprehensive community-centered health care and medical services for residents of the District
of Columbia provided by the Public Benefit Corporation pursuant to the Health and Hospitals
Public Benefit Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212; D.C. Code §
32-261.1 ef seq.).

(b) A contract entered into pursuant to subsection (a) of this section before or
simultaneously with the abolishment of the Public Benefit Corporation pursuant to section 9
shall be exempt from the requirements of the District of Columbia Procurement Practices Act of
1985, effective February 21, 1986 (D.C. Law 6-85; D.C. Code § 1-1181.1 et seg.), except that the
contract shall be subject to section ]0Sa of that act

Sec. 8. Health services planning program amendments.

The Health Services Planning Program Re-establishment Act of 1996, effective Apmil 9,
1997 (D.C. Law 11-191; D.C, Code § 32-351 et seq.), is amended as follaws:

(1) Section 2 (D.C. Code § 32-351) is amended by adding a new paragraph (3A) to read
as follows:

“(A) "Cherity care" means the physician and hospital medical services provided to
persons who are unable to pay for the cost of services, especially thase persons who are low-
income, uninsured and underinsured, but excluding those services determined to be caused by, or

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1 categorized as, bad debt.".

2 (2) Section 3(b) (D.C. Code § 32-352(b)) is amended as follows:
3 (A) Paragraph (3) is amended by striking the word "and" at the end.
4 (B) Paragraph (4) is amended by striking the period at the end and inserting the phrase ";

5 and" im its place.

6 (C) A new paragraph (5) is added to read as follows:

7 "(5) Establishing, determining, and developing, in accordance with section 22,

8 requirements and standards for the implementation of umreimbursed charity care by all health

9 care facilities that receive a certificate of need, including an annual mechanism for monitoring
10 ‘the provision of that charity care by the health care facilities.".
ll (3) Section 8 (D.C. Code § 32-357) is amended by adding new subsections (e), (f), and
12 (g) to read as follows:
13 "(¢) Any proposal to offer or develop a new institutional health service, obligate a new
14 capital expenditure, or reduce or terminate a health service that would otherwise be subject to
15 _ certificate of need requirements, by a health care entity that has contracted with the District of
16 Columbia Financial Responsibility Management Assistance Authority, or with the Mayor
17 pursuant to section 7 of the Health Care Privatization Temporary Amendment Act of 2001, to
18 provide new health care services shall be exempt from certificate of need requirements only for
19 the purpose of maintaining the same level of care and services provided by the District of
20 Columbia Health and Hospitals Public Benefit Corporation (“Public Benefit Corporation").

21 “(f) The Administrator of the Health Care Safcty Net Administration ("Administrator"),

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established pursuant to section 3 of the Health Care Privatization Temporary Amendment Act of

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2001, shall determine which new institutional health services, capital expenditures, and

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1 reductions or terminations of health services qualify as health care services being taken over
2 fom the Public Beuefit Corporation.
3 "(g) The District government and the Public Benefit Corporation are exempt from
4 certificate of need requirements for any changes in health care service that may result from the
5 abolishment of the Public Benefit Corporation.”.
6 Sec, 9. Repealers.
7 (a) The Health and Hospitals Public Benefit Corporation Act of 1996, effective April 9,-
& 1997 (D.C. Law 11-212; D.C. Code § 32-261.1 er seg.), is repealed, and the Public Benefit
9 Corporation is abolished.
10 (b) Section 851(1)(D) of the District of Columbia Government Comprehensive Merit
lL Personnel Act of 1978, effective April 20, 1999 (D.C. Law 12-260; D.C. Code § 1-
12 609.51(1)(D)), is repealed,
13 (c) Section 2(e)(9) of the Confirmation Act of 1978, effective March 3, 1979 (D.C, Law
14 2-142; D.C. Code § 1-633.7(e)(9)), is repealed.
15 (d) Section 320(k) of the District of Columbia Procurement Practices Act of 1985,
16 — effective April 15, 1997 (D.C. Law 11-259; D.C. Code § 1-1183.20(k)), is repealed.
17 Sec. 10. Fiscal impact statement.
18 The Council adopts the forthcoming fiscal impact statement of the Chief Financial
19 Officer as the fiscal impact statement required by section 602(c)(3) of the District of Columbia
20 Home Rule Act, approved December 24, 1973 (87 Stat, 813; D.C. Code'§ 1-233(c)(3)).
21 ' Sec. 11. Effective date.
22 - (a) This act shall take effect following approval by the Mayor (or in the event of veto by
23 ‘the Mayor, action by the Council to override the veto) and approval by the Financial _
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1 Responsibility and Management Assistance Authority as provided in section 203(a) of the

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District of Columbia Financial Responsibility and Management Assistance Act of 1995,

3 approved April 17, 1995 (109 Stat. 116; D.C. Code § 47-392,3(a)), a 30-day period of

4 Congressional review as provided in section 602(c)(1) of the District of Columbia Home Rule

5 Act, approved December 24, 1973 (87 Stat, 813; D.C. Code § 1-233(c)(1)),and publication in the
6 = District of Columbia Register.

7 (b) This act shall expire after 225 days of its having taken effect or upon the

8 effective date of the Health Care Privatization Amendment Act of 2001, whichever occurs first.
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Chairman Linda W. Cropp,
at the request of the Mayor

A BILL

IN THE COUNCIL OF THE DISTRICT OF COLUMBIA

To reorganize the Department of Health by establishing a Health Care Safety Net Administration
in the Department of Health and to transfer functions of the District of Columbia Public.
Benefit Corporation ("Public Benefit Corporation") to the Department of Health; to
authorize the Mayor to contract out any of the health care functions of the Public Benefit
Corporation; to exempt any contract to provide comprehensive community-centered
health care and medical services for District of Columbia residents provided by the Public
Benefit Corporation entered into by the Mayor before the abolishment of the Public
Benefit Corporation from certain provisions of the District of Columbia Procurement
Procedures Act of 1985; to amend the Health Services Planing Program Re-
establishment Act of 1996 to establish authority for establishing requirements for charity
care and to exempt the District government, the Public Benefit Corporation, and any
contractor that provides services provided by the Public Benefit Corporation pursuant to a
health cars privatization contract from certain provisions of the Health Services Planning
Program Re-establishment Act of 1996; and to repeal the Health and Hospitals Public
Benefit Corporation Act of 1996 and abolish the Public Benefit Corporation.

BE IT ENACTED BY THE COUNCIL OF THE DISTRICT OF COLUMBIA, That this

act may be cited as the Health Care Privatization Amendment Act of 2001".
Sec. 2. Findings and purpose.

The Council finds and declares the following:

(1) The District of Columbia Health and Hospitals Public Benefit Corporation ("Public
Benefit Corporation") has operated with deficits for two consecutive fiscal years and has
depleted its $45.3 million FY 2001 subsidy.

(2) The District of Columbia Appropriations Act, 2001 (“Appropriations Act”), approved

November 22, 2000, Pub. L. 106-522, authorized the spending of non-Federal funds not to
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1 exceed $90 million for the purpose of restructuring health care delivery pursuant to a
2 restructuring plan approved by the Mayor, the Council, the District of Columbia Financial
3 Responsibility and Management Assistance Authority (“Authority"), and the Board of Directors
4 of the Public Benefit Corporation.
5 (3) On December 4, 2000, the Authority issued a Resolution, Recommendations and
6 Orders pursuant to Section 207 of the District of Columbia Financial Responsibility and
7 Management Assistance Act, approved April 17, 1995 (109 Stat. 133: D.C. Code § 47-392.7),
8  couceming the Public Benefit Corporation, that, among other things, required the following <o
9 occur within 90 days of December 4, 2000:
10 (A) Repeal of Titles I and I of the Health and Hospitals Public Benefit
11 Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212; D.C. Code §§ 32-261.1-32-
12 262.20).
13 (B) Council enactment of legislation and regulations and approval of
14 reprogrammings necessary ta authorize and implement an alternative publicly-financed health
15 care delivery system.
16 (4) On December 15, 2000, pursuant to the Appropriations Act, the Mayor submitted to
17 the Committee on Government Reform of the House of Representatives and the Committee on
18 Government Affairs of the Senate a health care delivery restructuring plan that was approved by
19 the Authority, the Mayor, the Council, and the Board of Directors of the Public Benefit
20 Corporation.
21 (S) The purpose of this act is to authorize implementation of an altemative publicly-
financed health care delivery system to replace the health care services formerly provided by the

22
23 Public Benefit Corporation, as recommended by the Authority in its Resolution,

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Recommendations and Orders of December 4, 2000, and in accardance with the restructuring
plan of December 15, 2000.

Sec. 3. Health Care Safety Net Administration establishment.

(a) There is established within the Department of Health a Health Care Safety Net
Administration to administer and monitor compliance with any contract that the Mayor makes,
pursuant to section 7, or that the District of Columbia Financial Responsibility Management
Assistance Authority makes, with a health care entity to provide any of the health care fimctions
provided by the Public Benefit Corporation pursuant to the Health and Hospitals Public Benefit
Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212; D.C. Code § 32-262.7(a)).

(b) The Health Care Safety Net Administration shall be responsible for all transition
activities that result from privatization of the fimetions of the Public Benefit Corporation and that
remain to be completed after abolishment of the Public Benefit Corporation pursuant to section
9, including the following:

(1) Termination and winding down of existing contracts of the Public Benefit
Corporation;

(2) Completion of administrative proceedings and court litigation previously handled by
the Office of the General Counsel of the Public Benefit Corporation or by private counsel
retained by the Public Benefit Corporation;

(3) Coordination of court litigation involving the Public Benefit Corporation that is being
handled by the Office of the Corporation Counsel;

(4) Assessment of outstanding claims against the Public Benefit Corporation: and

(5) Arranging for payment of lawful obligations of the Public Benefit Corporation that

are assumed by the District of Columbia pursuant to section S. .

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(c) The Health Care Safety Net Administration shall exercise oversight of the services
contracted by the Mayor pursuant to section 7, or by the District of Columbia Financial
Responsibility and Management Assistance Authority, to ensure that the health of the population
is maintained and that the financial viability of the health care entity providing services exempted
pursuant to section 8 are addressed.

Sec. 4, Transfers,

(a) The functions, real or personal property, personnel, unexpended balances of
appropnations, and records of the Public Benefit Corporation shall be transferred to the
Department of Health.

(6) Any monies remaining in the Health and Hospitals Public Benefit Corporation Fund
after the effective date of this act shall revert to the General Fund to the credit of the Department
of Health.

(c) The Department of Health shall recognize collective bargaining representatives that
have been duly certified by the District of Columbia Public Employees Relations Board and shall
assume and be bound by all existing collective bargaining agreements entered into by the Public
Benefit Corporation.

(d) Every employee of the Public Benefit Corporation shall be transferred to the
Department of Health. All employees so transferred shall be under the direction and control of
the Director of the Department of Health or that director’s designee or designees. Transferred
employees shall retain the same rights and privileges that they had as employees of the Public
Benefit Corporation before the effective date of this act and shall not obtain any additional nghts
or privileges as a result of the tranafer. They shall have all the duties and tesponsibilities that

they had as employees of the Public Benefit Corporation in addition to whatever duties and

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1 responsibilities they acquire as employees of the Department of Health. Transferred employees
2 shall constitute a separate competitive area within the Department of Health for purposes of

3 reductions in force only pursuant to section 2408 of the District of Columbia Government

4 Comprehensive Merit Personnel Act of 1978, effective March 3, 1979, D.C. Lew 2-139, D.C.

5 Code § 1-625,7, and Chapter 24 of the District of Columbia Personnel Manual. Lesser

6 competitive areas may be established by the personnel authority for these employees. The

7 Mayor shall be the personnel authority for all employees of the Public Benefit Corporation who
8 are transferred to the Department of Health, except that the personnel authority for accounting,
9 budget, and financial management personnel who are transferred shall continue to be the Chief

10 Financial Officer of the District of Columbia.

11 Sec. 5. Liabilities of the Public Benefit Corporation.

12 All liabilities of the Public Benefit Corporation shall be assumed by the District of
13 Columbia.

14 - Sec. 6. Health Care Safety Net Fund and Appropriations.

15 (a) There is established the Health Care Safety Net Fund ("Fumd”) as a nonlapsing,

16 revolving fund, to be administered by the Mayor as an agency fund as defined in section

17 373(2)(1) of Title 47 of the District of Columbia Code, to be used exclusively for the purposes

18 stated in section 3, Revenues deposited into the Fund shall not revert to the General Fund at the
19 end of any fiscal year or at any other time but shall be continually available to the Department of
20 Health for the uses and purposes set forth in this act, subject to authorization by Congress in an
21 appropriations act.

22 (b) The Fund shall be financed through appropriations, the accounts receivable of the

23 Public Benefit Corporation, and gifts or donations. -

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i (c) The Fund shall be accounted for under procedures established pursuant to subchapter
2 Vof Chapter 3 of Title 47 of the District of Columbia Code.
3 (ad) There are authorized to be appropriated fram the general revenues of the District of
4 Columbia funds necessary to carry out the purposes of this act. )
5 Sec. 7. Authorization to contract for comprehensive health care services.
6 (a) The Mayor is authorized to provide by contract or by other means any of the —
7 comprehensive community-centered health care and medical services for residents of the District
8 of Columbia provided by the Public Benefit Corporation pursuant to the Health and Hospitals
9 Public Benefit Corporation Act of 1996, effective April 9, 1997 (D.C. Law 11-212; D.C. Code §
10 32-261.1 et seq.).
11 (b) A contract entered into pursuant to subsection (a) of this section before or
12 simultaneously with the abolishment of the Public Benefit Corporation pursuant to section 9
13 __ shall be exempt from the requirements of the District of Columbia Procurement Practices Act of
14 1985, effective February 21, 1986 (D.C. Law 6-85; D.C. Code § 1-1181.1 ef seg.), exoept that the
15 _ contract shall be subject to section 105a of that act.
16 Sec. 8. Health services planning program amendments.
17 The Health Services Planning Program Re-establishment Act of 1996, effective April 9,
18 1997 (D.C. Law 11-191; D.C. Code § 32-351 et seq.), is amended as follows:
19 (1) Section 2 (D.C. Code § 32-351) is amended by adding a new paragraph (3A) to read
20 as follows:
21 “(3A) “Charity care“ means the physician and hospital medical services provided to
22 ‘persons who are unable to pay for the cost of services, especially those persons who are low-

23 income, uninsured and underinsured, but excluding those services determined to be caysed by, or

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1 categorized as, bad debt.".

2 (2) Section 3(b) (D.C. Code § 32-352(b)) is amended as follows:
3 (A) Paragraph (3) is amended by striking the ward "and" at the end.
4 (8) Paragraph (4) is amended by striking the period at the end and inserting the phrase ";

5 and" in its place.

6 (C) A new paragraph (5) is added to read as follows:

7 "(5) Establishing, determining, and developing, in accordance with section 22,

8 requirements and standards for the implementation of unreimbursed charity care by all health

9 care facilities that receive a certificate of need, including an annual mechanism for monitoring
10 ‘the provision of that charity care by the health care facilities.”.
11 (3) Section 8 (D.C. Code § 32-357) is amended by adding new subsections (0), (f), and
12 = (g) to read as follows:
13 "(e) Any proposal to offer or develop a new institutional health service, obligate a new
14 capital expenditure, or reduce or terminate a health service that would otherwise be subject to
15 certificate of need requirements, by a health care entity that has contracted with the District of
16 Colurabia Financial Responsibility Management Assistance Authority, or with the Mayor
17 pursuant to section 7 of the Health Care Privatization Amendment Act of 2001, to provide new
18 health care services shall be exernpt from certificate of need requirements only for the purpose
19 of maintaining the same level of care and services provided by the District of Columbia Health
20 and Hospitals Public Benefit Corporation (“Public Benefit Corporation"). The exemptions
21 granted by this subsection shall be for a period of 225 days from the effective date of the Health
22 Care Privatization Amendmeat Act of 2001, except that proposals to develop trauma I capability

23 to match the levels existing at D.C. General Hospital as of January 1, 2001, shall be exernpt from

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1 certificate of need requirements for a period of 1 year from the effective date of the Health Care
2 Privatization Amendment Act of 2001.
3 "(f) The Administrator of the Health Care Safety Net Administration ("Administrator"),
4 — established pursuant to section 3 of the Health Care Privatization Amendment Act of 2001, shall
5S determine which new institutional health services, capital expenditures, and reductions or
6 terminations of health services qualify as health Sapetsecvices being taken over from the Public
7 ~~ Benefit Corporation. The Administrator's authority to make determinations and the exemptions
8 from certificate of need review pursuant to subsection (e) shall expire | year after the date the
9 first contract for health care services entered into pursuant to section 7 of the Health Care

10 = Privatization Amendment Act of 2001 is signed.

11 "(g) The District government and the Public Benefit Corporation are exempt from

12 certificate of need requirements for any changes in health care service that may result from the

13 abolishment of the Public Benefit Corporation.”.

1¢ ' Sec. 9. Repealers.

1S (a) The Health and Hospitals Public Benefit Corporation Act of 1996, effective April 9,

16 1997 (D.C. Law 11-212; D.C. Code § 32-261.1 ef seq.), is repealed, and the Public Benefit

17 Corporation is abolished.

18 (b) Section 851(1)(D) ofthe District of Columbia Government Comprehensive Merit

19 ‘Personne! Act of 1978, effective ApriJ 20, 1999 (D.C. Law 12-260; D.C. Code § 1-

20 609.51(1)(@)), is repealed.

21 (c) Section 2(e)(9) of the Confirmation Act of 1978, effective March 3, 1979 (D.C. Law

22 2-142; D.C. Code § 1-633.7(e)(9)), is repealed.

23 (d) Section 320(k) of the District of Columbia Procurement Practices Act of 1985,
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effective April 15, 1997 (D.C. Law 11-259; D.C. Code § 1-1183.20(k)), is repealed.

Sec. 10. Fiscal impact statement.

The Council adopts the forthcoming fiscal impact statement of the Chief Financial
Oficer as the fiscal impact statement required by section 602(c)(3) of the District of Columbia
Home Rule Act, approved December 24, 1973 (87 Stat. 813; D.C. Code § 1-233(c)(3)).

Sec, 1). Effective date.

This act shall take effect following approval by the Mayor (or in the event of veto by the -
Mayor, action by the Council ta override the veto) and approval by the Financial Responsibility
and Management Assistance Authority as provided in section 203(a) of the District of Columbia
Financial Responsibility and Management Assistance Act of 1995, approved April 17, 1995 (109
Stat. 116; D.C. Cade § 47-392.3(a)), a 30-day period of Congressional review as provided in
section 602(c)(1) of the District of Columbia Home Rule Act, approved Decermber 24, 1973 (87
Stat. 813; D.C. Code § 1-233(c)(1)), and publication in the District of Columbia Register.
